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                                             No. 23-4052


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH COURT
                                     _______________

                              UNITED STATES OF AMERICA,
                                             Plaintiff/Appellee,

                                                  v.

                                  STUART CLAY MCDONALD,
                                                 Defendant/Appellant.
                                       _______________

                        On Appeal From the United States District Court
                              for the Eastern District of Virginia
                        Alexandria Division (The Hon. Claude M. Hilton)
                                       _______________

                                         JOINT APPENDIX

                                    VOLUME I of I (pages 1 - end)
                                        _______________




         JESSICA D. ABER                                         GEREMY C. KAMENS
         United States Attorney                                  Federal Public Defender

         Kevin Hudson                  Patricia Haynes           Ann Mason Rigby
         U.S. Attorney’s Office        Annie Zanobini            Federal Public Defender Office
         Counsel for Appellee          U.S. Attorney’s Office    Counsel for Appellant
         721 Lakefront Commons         Counsel for Appellee      1650 King Street
           Suite 300                   2100 Jamieson Avenue        Suite 500
         Newport News, VA 23606        Alexandria, VA 22314      Alexandria, VA 22314
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                                                                                     APPEAL,CLOSED,JURY
                                  U.S. District Court
                       Eastern District of Virginia − (Alexandria)
            CRIMINAL DOCKET FOR CASE #: 1:22−cr−00051−CMH All Defendants

        Case title: USA v. McDonald
        Magistrate judge case number: 1:21−mj−00397−JFA

        Date Filed: 03/16/2022
        Date Terminated: 08/19/2022

        Assigned to: District Judge Claude
        M. Hilton
        Appeals court case number:
        23−4052 4th CCA, case manager
        Emily Borneisen

        Defendant (1)
        Stuart Clay McDonald                  represented by Ann Mason Rigby
        TERMINATED: 08/19/2022                               Office of the Federal Public Defender (Alexandria)
                                                             1650 King St
                                                             Suite 500
                                                             Alexandria, VA 22314
                                                             703−600−0800
                                                             Fax: 703−600−0880
                                                             Email: ann_rigby@fd.org
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Public Defender

        Pending Counts                                       Disposition
                                                             72 Months BP as to Counts 1 and 3 to run
        18:2252(a)(2) Receipt of Child                       concurrently; 10 Yr SR Term w/ Conditions as to
        Pornography FORFEITURE                               Counts 1 and 3 to run concurrently; $100 SA per
        (1)                                                  Count
        18:2252(a)(4)(B) Possession of
        Child Pornography FORFEITURE                         DISMISSED on Gov't Motion
        (2)
        18:2252(a)(4)(B) Possession of                       72 Months BP as to Counts 1 and 3 to run
        Child Pornography                                    concurrently; 10 Yr SR Term w/ Conditions as to
        FOREFEITURE                                          Counts 1 and 3 to run concurrently; $100 SA per
        (3)                                                  Count

        Highest Offense Level (Opening)
        Felony

        Terminated Counts                                    Disposition
        None

        Highest Offense Level
        (Terminated)
        None

        Complaints                                           Disposition

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        18:2252(a)(2) Receipt of Child
        Pornography


        Plaintiff
        USA                                             represented by Annie Zanobini
                                                                       DOJ−USAO
                                                                       United States Attorney's Office
                                                                       Eastern District of Virginia
                                                                       2100 Jamieson Avenue
                                                                       Alexandria, VA 22314
                                                                       703−299−3700
                                                                       Email: annie.zanobini2@usdoj.gov
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: US Attorney

                                                                        Patricia M. Haynes
                                                                        United States Attorney's Office
                                                                        2100 Jamieson Ave
                                                                        Alexandria, VA 22314
                                                                        (703)299−3700
                                                                        Email: patricia.haynes@usdoj.gov
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED
                                                                        Designation: US Attorney

         Date Filed     #   Docket Text
         12/10/2021      1 COMPLAINT as to Stuart Clay McDonald. (kgall) [1:21−mj−00397−JFA] (Entered:
                           12/10/2021)
         12/10/2021      2 AFFIDAVIT by USA as to Stuart Clay McDonald in re 1 Complaint. (kgall)
                           [1:21−mj−00397−JFA] (Entered: 12/10/2021)
         12/10/2021      4 Redacted Criminal Case Cover Sheet. (kgall) [1:21−mj−00397−JFA] (Entered:
                           12/10/2021)
         12/10/2021      5 Arrest Warrant Issued by Magistrate Judge Ivan D. Davis in case as to Stuart Clay
                           McDonald. (kgall) [1:21−mj−00397−JFA] (Entered: 12/10/2021)
         12/10/2021      6 MOTION to Seal Complaint by USA as to Stuart Clay McDonald. (kgall)
                           [1:21−mj−00397−JFA] (Entered: 12/10/2021)
         12/10/2021      7 ORDER granting 6 Motion to Seal Complaint as to Stuart Clay McDonald. Signed by
                           Magistrate Judge Ivan D. Davis on 12/10/2021. (kgall) [1:21−mj−00397−JFA]
                           (Entered: 12/10/2021)
         12/15/2021         Arrest of Stuart Clay McDonald (tfitz, ) [1:21−mj−00397−JFA] (Entered: 12/15/2021)
         12/15/2021         Case unsealed as to Stuart Clay McDonald. (tfitz, ) [1:21−mj−00397−JFA] (Entered:
                            12/15/2021)
         12/15/2021      8 Minute Entry for proceedings held before Magistrate Judge Theresa Carroll
                           Buchanan:Initial Appearance as to Stuart Clay McDonald held on 12/15/2021. USA
                           appeared through Annie Zanobini. Deft appeared w/o counsel. Deft informed of rights,
                           charges and penalties. Deft thinks he has retained counsel. Matter set for a Status
                           Conference on 12/16/2021 at 02:30 PM in Alexandria Courtroom 500 before
                           Magistrate Judge Theresa Carroll Buchanan to confirm whether deft has retained
                           counsel. Deft remanded to the custody of the USMS.(Tape #FTR.)(tfitz, )
                           [1:21−mj−00397−JFA] (Entered: 12/15/2021)
         12/15/2021      9 Temporary Detention Order as to Stuart Clay McDonald. Signed by Magistrate Judge
                           Theresa Carroll Buchanan on 12/15/21. (tfitz, ) [1:21−mj−00397−JFA] (Entered:
                           12/15/2021)

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         12/15/2021   10 Arrest Warrant Returned Executed on 12/14/2021 in case as to Stuart Clay McDonald.
                         (kgall) [1:21−mj−00397−JFA] (Entered: 12/16/2021)
         12/16/2021   11 Minute Entry for proceedings held before Magistrate Judge Theresa Carroll
                         Buchanan:Status Conference as to Stuart Clay McDonald held on 12/16/2021. USA
                         appeared through Rachel Rothberg. Deft appeared w/o counsel. Court to appoint FPD
                         as counsel at this time due to deft's uncertainty to retain counsel.
                         Preliminary/Detention Hearing set for 12/17/2021 at 02:00 PM in Alexandria
                         Courtroom 500 before Magistrate Judge Theresa Carroll Buchanan. Deft remanded to
                         the USMS custody.(Tape #FTR.)(tfitz, ) [1:21−mj−00397−JFA] (Entered: 12/16/2021)
         12/16/2021   12 Temporary Detention Order as to Stuart Clay McDonald. Signed by Magistrate Judge
                         Theresa Carroll Buchanan on 12/16/21. (tfitz, ) [1:21−mj−00397−JFA] (Entered:
                         12/16/2021)
         12/16/2021       ORAL ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Stuart Clay
                          McDonald; Ann Mason Rigby for Stuart Clay McDonald appointed. Ordered by
                          Magistrate Judge Theresa Carroll Buchanan on 12/16/21. (tfitz, )
                          [1:21−mj−00397−JFA] (Entered: 12/17/2021)
         12/17/2021   13 Pretrial Services Bond REPORT (Initial Pretrial Services Bond Report) (SEALED −
                         government and defense counsel) as to Stuart Clay McDonald. (Brewer, Nicole)
                         [1:21−mj−00397−JFA] (Entered: 12/17/2021)
         12/17/2021   14 Minute Entry for proceedings held before Magistrate Judge Theresa Carroll Buchanan:
                         Matter came on for a Preliminary/Detention Hearing−not held. USA appeared through
                         Patricia Haynes. Deft appeared w/counsel Whitney Minter. Status Conference as to
                         Stuart Clay McDonald held on 12/17/2021. Deft requests a continuance to confirm
                         retained counsel−Granted. Preliminary/Detention Hearing reset for 12/21/2021 at
                         02:00 PM in Alexandria Courtroom 501 before Magistrate Judge John F. Anderson.
                         Deft remanded.(Tape #FTR.)(tfitz, ) [1:21−mj−00397−JFA] (Entered: 12/17/2021)
         12/17/2021   15 Temporary Detention Order as to Stuart Clay McDonald. Signed by Magistrate Judge
                         Theresa Carroll Buchanan on 12/17/21. (tfitz, ) [1:21−mj−00397−JFA] (Entered:
                         12/17/2021)
         12/21/2021   16 Minute Entry for proceedings held before Magistrate Judge John F.
                         Anderson:Preliminary Hearing as to Stuart Clay McDonald held on 12/21/2021. US
                         appeared through: Patricia Haynes. Deft appeared with counsel: Ann Mason Rigby.
                         Counsel for the parties and the defendant were orally advised of the disclosure
                         obligations set forth in Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Gov't
                         adduced evidence and rests. Affidavit admitted into evidence as gov't exhibit no. 1.
                         Court finds PC. Matter continued for further proceedings before the Grand Jury.
                         Detention Hearing as to Stuart Clay McDonald held on 12/21/2021. Gov't is seeking
                         detention. Deft does not contest detention at this time. Deft remanded. (Tape
                         #FTR.)(wgar, ) [1:21−mj−00397−JFA] (Entered: 12/21/2021)
         12/21/2021   17 ORDER − This matter comes before the Court on its own initiative. Pursuant to
                         Federal Rule of Criminal Procedure 5(f) and the Due Process Protections Act, the
                         Court ORDERS the United States to adhere to the disclosure obligations set forth in
                         Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Brady v. Maryland instructs
                         that the suppression by the prosecution of evidence favorable to an accused violates
                         due process where the evidence is material either to guilt or to punishment,
                         irrespective of the good faith or bad faith of the prosecution. 373 U.S. at 87. Failure to
                         adhere to this requirement may result in serious consequences, up to and including
                         exclusion of evidence, adverse jury instructions, dismissal of charges, contempt
                         proceedings, disciplinary action, or sanctions by the court. Having given counsel the
                         oral admonition required by the Due Process Protections Act, this Order serves as the
                         reminder of prosecutorial obligation and duties in accordance with Rule 5(f) and the
                         Eastern District of Virginia Standing Order concerning the same as to Stuart Clay
                         McDonald. Signed by Magistrate Judge John F. Anderson on 12/21/2021. (wgar, )
                         [1:21−mj−00397−JFA] (Entered: 12/21/2021)
         12/21/2021   18 ORDER OF DETENTION as to Stuart Clay McDonald. Signed by Magistrate Judge
                         John F. Anderson on 12/21/2021. (wgar, ) [1:21−mj−00397−JFA] (Entered:
                         12/21/2021)


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         01/10/2022   19 Consent Motion for Extension of Time to Indict by USA as to Stuart Clay McDonald.
                         (Attachments: # 1 Proposed Order)(kgall) [1:21−mj−00397−JFA] (Entered:
                         01/10/2022)
         01/10/2022   20 ORDER granting 19 Motion for Extension of Time to Indictment as to Stuart Clay
                         McDonald. ORDERED that the time period in which an indictment must be filed in
                         the instant matter is extended to February 17, 2022. The Court specifically finds that
                         the period of delay from January 17, 2022 to February 17, 2022 shall be excluded in
                         computing the time within which an indictment must be filed. Signed by District Judge
                         Leonie M. Brinkema on 1/10/2022. (kgall) [1:21−mj−00397−JFA] (Entered:
                         01/10/2022)
         01/21/2022   21 Consent MOTION for Protective Order by USA as to Stuart Clay McDonald.
                         (Attachments: # 1 Proposed Order)(Zanobini, Annie) [1:21−mj−00397−JFA] (Entered:
                         01/21/2022)
         01/21/2022   22 Joint MOTION for Protective Order Child Victim and Witness Privacy by USA as to
                         Stuart Clay McDonald. (Attachments: # 1 Proposed Order)(Zanobini, Annie)
                         [1:21−mj−00397−JFA] (Entered: 01/21/2022)
         01/21/2022   23 Protective Order. Signed by Magistrate Judge John F. Anderson on 01/21/2022. (wgar,
                         ) [1:21−mj−00397−JFA] (Entered: 01/21/2022)
         01/21/2022   24 Protective Order CONCERNING CHILD VICTIM AND WITNESS PRIVACY.
                         Signed by Magistrate Judge John F. Anderson on 01/21/2022. (wgar, )
                         [1:21−mj−00397−JFA] (Entered: 01/21/2022)
         02/10/2022   25 Second MOTION for Extension of Time to Indict by USA as to Stuart Clay
                         McDonald. (Attachments: # 1 Proposed Order)(Zanobini, Annie)
                         [1:21−mj−00397−JFA] (Entered: 02/10/2022)
         02/10/2022   26 ORDERED that the time period for indicting the defendant be and is hereby extended
                         up to and including March 17, 2022. Accordingly, the delay resulting from the pending
                         motion for extension shall be excluded in computing the time within which an
                         indictment must be filed as to Stuart Clay McDonald. No further extension will be
                         granted. Signed by District Judge Leonie M. Brinkema on 02/10/2022. (dvanm)
                         [1:21−mj−00397−JFA] (Entered: 02/10/2022)
         03/16/2022   27 INDICTMENT as to Stuart Clay McDonald (1) count(s) 1, 2. (shea) (Entered:
                         03/16/2022)
         03/16/2022   30 Redacted Criminal Case Cover Sheet (shea) (Main Document 30 replaced on
                         3/17/2022) (shea, ). (Entered: 03/16/2022)
         03/16/2022       Set/Reset Hearings as to Stuart Clay McDonald: Arraignment set for 3/25/2022 at
                          09:00 AM in Alexandria Courtroom 900 before District Judge T. S. Ellis III. (shea)
                          (Entered: 03/16/2022)
         03/17/2022       Counts added: Stuart Clay McDonald (1) count(s) 3 (shea) (Entered: 03/17/2022)
         03/23/2022       Case as to Stuart Clay McDonald Reassigned to District Judge Patricia Tolliver Giles.
                          District Judge T. S. Ellis, III no longer assigned to the case. (jlan) (Entered:
                          03/23/2022)
         03/24/2022       Reset Hearings as to Stuart Clay McDonald: Arraignment set for 3/31/2022 at 09:00
                          AM in Alexandria Courtroom 801 before District Judge Patricia Tolliver Giles. (jlan)
                          (Entered: 03/24/2022)
         03/24/2022       Case as to Stuart Clay McDonald Reassigned to District Judge Claude M. Hilton.
                          District Judge Patricia Tolliver Giles no longer assigned to the case. (jlan) (Entered:
                          03/24/2022)
         03/24/2022       Reset Hearing as to Stuart Clay McDonald: Arraignment set for 4/8/2022 at 10:00 AM
                          in Alexandria Courtroom 800 before District Judge Claude M. Hilton. (jlan) (Entered:
                          03/24/2022)
         04/08/2022   31 Minute Entry for proceedings held before District Judge Claude M. Hilton:
                         Arraignment as to Stuart Clay McDonald Count 1,2,3 held on 4/8/2022. US appeared
                         through Patrica Haynes. Deft appeared w/ counsel Brittany Haynes. Deft through

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                          counsel WFA, PNG and demanded a jury trial. Motions to be filed within 20 days.
                          Discovery Order filed and entered. Motion Hearing set for 5/23/2022 at 10:00 AM in
                          Alexandria Courtroom 800 before District Judge Claude M. Hilton. Jury Trial set for
                          6/7/2022 at 10:00 AM in Alexandria Courtroom 800 before District Judge Claude M.
                          Hilton. Defendant remanded. (Court Reporter J. Egal)(kgall) (Entered: 04/08/2022)
         04/08/2022   32 Discovery Order as to Stuart Clay McDonald. Signed by District Judge Claude M.
                         Hilton on 4/8/2022. (kgall) (Entered: 04/08/2022)
         04/28/2022   33 MOTION to Continue DEADLINE FOR FILING OF MOTIONS FROM APRIL 28 TO
                         MAY 4 − Unopposed, by Stuart Clay McDonald. (Attachments: # 1 Proposed
                         Order)(Rigby, Ann) (Entered: 04/28/2022)
         04/29/2022   34 ORDER granting 33 Motion to Continue Deadline for Filing Motions. ORDERED that
                         the parties shall file any pretrial motions on or before May 4, 2022. Signed by District
                         Judge Claude M. Hilton on 4/29/2022. (kgall) (Entered: 05/03/2022)
         05/10/2022   35 Sealed Document. (kgall) (Entered: 05/10/2022)
         05/16/2022       Set Hearings as to Stuart Clay McDonald: Change of Plea Hearing set for 5/19/2022
                          10:00 AM in Alexandria Courtroom 800 before District Judge Claude M. Hilton.
                          (kgall) (Entered: 05/16/2022)
         05/19/2022   36 Minute Entry for proceedings held before District Judge Claude M. Hilton: Change of
                         Plea Hearing as to Stuart Clay McDonald held on 5/19/2022. US appeared through
                         Annie Zanobini and Patricia Haynes. Deft appeared with counsel Ann Rigby. Deft PG
                         to Counts 1 and 3 of the Indictment. Gov't Motion to Dismiss Count 2; Granted and
                         Order entered. Deft referred to PO for PSIR. Sentencing set for 8/12/2022 at 10:00
                         AM in Alexandria Courtroom 800 before District Judge Claude M. Hilton. Deft
                         remanded. (Court Reporter J. Egal)(kgall) (Entered: 05/19/2022)
         05/19/2022       Terminate Hearings as to Stuart Clay McDonald: Motion hearing set for 5/23/2022 and
                          Jury Trial set for 6/7/2022. (kgall) (Entered: 05/19/2022)
         05/19/2022   37 Statement of Facts as to Stuart Clay McDonald. (kgall) (Entered: 05/19/2022)
         05/19/2022   38 MOTION to Dismiss Remaining Count of the Indictment by USA as to Stuart Clay
                         McDonald. (kgall) (Entered: 05/19/2022)
         05/19/2022   39 ORDER granting 38 Motion to Dismiss Remaining Count of the Indictment as to
                         Stuart Clay McDonald. Signed by District Judge Claude M. Hilton on 5/19/2022.
                         (kgall) (Entered: 05/19/2022)
         07/08/2022   40 PRESENTENCE INVESTIGATION REPORT (Disclosed Presentence Investigation
                         Report) (SEALED − government and defense counsel) as to Stuart Clay McDonald.
                         Objections to PSI due 07/25/2022. (hudnall, vicki) (Entered: 07/08/2022)
         08/02/2022       Reset Hearings as to Stuart Clay McDonald: Sentencing set for 8/19/2022 at 10:00 AM
                          in Alexandria Courtroom 800 before District Judge Claude M. Hilton. (kgall) (Entered:
                          08/02/2022)
         08/08/2022   41 PRESENTENCE INVESTIGATION REPORT (Sentencing Presentence Investigation
                         Report) (SEALED − government and defense counsel) as to Stuart Clay McDonald.
                         (Attachments: # 1 Letter DF 178 Noting changes to PSR)(hudnall, vicki) (Entered:
                         08/08/2022)
         08/10/2022   43 Incorrect document was attached for this filing. The electronic document has been
                         removed. The filing user has been notified to refile the PRESENTENCE
                         INVESTIGATION REPORT (Sentencing Presentence Investigation Report)
                         (SEALED − government and defense counsel) as to Stuart Clay McDonald. Victim
                         Impact Statement attached. (hudnall, vickie) (Main Document 43 replaced on
                         8/10/2022) (ldab, ) (Entered: 08/10/2022)
         08/10/2022   44 PRESENTENCE INVESTIGATION REPORT (Sentencing Presentence Investigation
                         Report) (SEALED − government and defense counsel) as to Stuart Clay McDonald.
                         Attached to the Presentence Investigation Report are 5 Victim Impact
                         Statements.(hudnall, vickie) (Entered: 08/10/2022)


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         08/12/2022   45 Position on Sentencing by USA as to Stuart Clay McDonald (Zanobini, Annie)
                         (Entered: 08/12/2022)
         08/15/2022   46 SENTENCING MEMORANDUM by Stuart Clay McDonald (Attachments: # 1
                         Exhibit Placeholder for sealed exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Rigby, Ann)
                         (Entered: 08/15/2022)
         08/15/2022   47 MOTION to Seal Unredacted Copy of Sentencing Memo, and Exhibit 1 Thereto, by
                         Stuart Clay McDonald. (Attachments: # 1 Proposed Order)(Rigby, Ann) (Entered:
                         08/15/2022)
         08/15/2022   48 NOTICE of Filing Documents Proposed to be Sealed, by Stuart Clay McDonald
                         (Rigby, Ann) (Entered: 08/15/2022)
         08/15/2022   49 Sealed Document 46 Sentencing Memorandum filed by Stuart Clay McDonald.
                         (Attachments: # 1 Exhibit)(show) (Entered: 08/17/2022)
         08/19/2022   50 Minute Entry for proceedings held before District Judge Claude M. Hilton: Sentencing
                         held on 8/19/2022 for Stuart Clay McDonald as to Counts 1 and 3. US appeared
                         through Annie Zanobini and Patricia Haynes. Deft appeared w/counsel Ann Rigby.
                         Court finds the guidelines to be properly assessed at a range of 97 to 121 months as to
                         Count 1 and Count 3. Considering the factors under § 3553, and the Court finds that a
                         sentence below the guideline range is appropriate. 72 Months imprisonment as to
                         Counts 1 and 3 to run concurrently; 10 Yrs supervised release as to Counts 1 and 3 to
                         run concurrently with conditions; $ 100 SA per Count. Court recommends that the deft
                         be incarcerated in a facility where he can receive drug treatment. Court recommends
                         that the deft be incarcerated at FCI Fort Dix. Deft remanded. Restitution and Forfeiture
                         Hearing set for 11/7/2022 at 10:00 AM in Alexandria Courtroom 800 before District
                         Judge Claude M. Hilton. (Court Reporter J. Egal)(kgall) (Entered: 08/19/2022)
         08/19/2022   51 JUDGMENT as to Stuart Clay McDonald, Counts 1 and 3, 72 Months BP as to Counts
                         1 and 3 to run concurrently; 10 Yr SR Term w/ Conditions as to Counts 1 and 3 to run
                         concurrently; $100 SA per Count; Count 2, DISMISSED on Gov't Motion. Signed by
                         District Judge Claude M. Hilton on 8/18/2022. (kgall) (Entered: 08/19/2022)
         08/19/2022   52 Sealed Statement of Reasons as to Stuart Clay McDonald. (kgall) (Entered:
                         08/19/2022)
         11/01/2022   53 Joint MOTION to Continue Forfeiture and Restitution Hearing by USA as to Stuart
                         Clay McDonald. (Attachments: # 1 Proposed Order)(Zanobini, Annie) (Entered:
                         11/01/2022)
         11/03/2022   54 ORDER granting 53 MOTION to Continue and this matter is hereby rescheduled from
                         November 7, 2022, to December 12, 2022 at 10:00; Forfeiture/Restitution Hearing
                         reset for 12/12/2022 at 10:00 AM in Alexandria Courtroom 800 before District Judge
                         Claude M. Hilton. Signed by District Judge Claude M. Hilton on 11/2/2022. (tarm)
                         (Entered: 11/03/2022)
         11/14/2022   55 MOTION for Forfeiture of Property −−Entry of Preliminary Order of Forfeiture by
                         USA as to Stuart Clay McDonald. (Attachments: # 1 Exhibit, # 2 Proposed
                         Order)(Zanobini, Annie) (Entered: 11/14/2022)
         11/16/2022   56 Notice of Hearing Date set for 12/12/2022 re 55 MOTION for Forfeiture of Property
                         −−Entry of Preliminary Order of Forfeiture by USA (Zanobini, Annie) (Entered:
                         11/16/2022)
         11/17/2022       Set Deadline in case as to Stuart Clay McDonald 55 MOTION for Forfeiture of
                          Property−−Entry of Preliminary Order of Forfeiture. Motion Hearing set for
                          12/12/2022 at 10:00 AM in Alexandria Courtroom 800 before District Judge Claude
                          M. Hilton. (wgar, ) (Entered: 11/17/2022)
         11/28/2022   57 Opposition by Stuart Clay McDonald re 55 MOTION for Forfeiture of Property
                         −−Entry of Preliminary Order of Forfeiture (Attachments: # 1 Proposed
                         Order)(Rigby, Ann) (Entered: 11/28/2022)
         12/01/2022   58 REPLY TO RESPONSE to USA as to Stuart Clay McDonald re 57 Opposition
                         (Zanobini, Annie) (Entered: 12/01/2022)


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         12/08/2022   59 Supplemental Memorandum by Stuart Clay McDonald re 55 MOTION for Forfeiture
                         of Property −−Entry of Preliminary Order of Forfeiture (Rigby, Ann) (Entered:
                         12/08/2022)
         12/12/2022       Terminate Deadlines and Hearings as to Stuart Clay McDonald: Forfeiture Hearing set
                          for 12/12/22 to be reset per CMH's chambers (tarm) (Entered: 12/12/2022)
         12/13/2022       Set/Reset Hearings as to Stuart Clay McDonald: Forfeiture Hearing reset for 1/20/2023
                          at 10:00 AM in Alexandria Courtroom 800 before District Judge Claude M. Hilton.
                          (Per CMH's Chambers) (tarm) (Entered: 12/13/2022)
         12/15/2022   60 MOTION for Leave to be Absent from Forfeiture Hearing, by Stuart Clay McDonald.
                         (Attachments: # 1 Exhibit − Waiver, # 2 Proposed Order)(Rigby, Ann) (Entered:
                         12/15/2022)
         12/16/2022   61 ORDER granting 60 MOTION for Leave to be Absent from Forfeiture Hearing as to
                         Stuart Clay McDonald. ORDERED that Mr. McDonald is excused from appearing at
                         the forfeiture hearing in this matter; and it is further ORDERED that the government
                         shall not request that the U.S. Marshals Service transport Mr. McDonald to Alexandria
                         for the hearing. Signed by District Judge Claude M. Hilton on 12/16/2022. (show)
                         (Entered: 12/19/2022)
         01/20/2023   62 Minute Entry for proceedings held before District Judge Claude M. Hilton: Forfeiture
                         Hearing as to Stuart Clay McDonald held on 1/20/2023. US appeared through: Annie
                         Zanobini and Patricia Haynes. Deft appeared through counsel Ann Rigby. Matter on
                         for Restitution/Forfeiture hearing. Counsel indicated that restitution has been resolved.
                         Restitution Order filed in open court.US' Motion for Forfeiture − Argued and Granted,
                         Forfeiture Order previously submitted to be entered by the Court. (Court Reporter: J.
                         Egal)(tarm) (Entered: 01/20/2023)
         01/20/2023   63 Restitution Order as to Stuart Clay McDonald in the amount of $15,000.00. Signed by
                         District Judge Claude M. Hilton on 1/20/2023. (tarm) (Additional attachment(s) added
                         on 1/20/2023: # 1 Sealed Attachment A) (tarm, ). (Entered: 01/20/2023)
         01/20/2023   64 PRELIMINARY ORDER OF FORFEITURE as to Stuart Clay McDonald. Signed by
                         District Judge Claude M. Hilton on 1/20/2023. (tarm, ) (Entered: 01/20/2023)
         01/26/2023   65 NOTICE OF APPEAL of Preliminary Order of Forfeiture, by Stuart Clay McDonald
                         (Rigby, Ann) (Entered: 01/26/2023)
         01/30/2023   66 Transmission of Notice of Appeal to 4CCA as to Stuart Clay McDonald to US Court
                         of Appeals re 65 Notice of Appeal (All case opening forms, plus the transcript
                         guidelines, may be obtained from the Fourth Circuit's website at
                         www.ca4.uscourts.gov) (swil) (Entered: 01/30/2023)
         01/30/2023   67 USCA Case Number 23−4052 4th CCA, case manager Emily Borneisen, for 65 Notice
                         of Appeal filed by Stuart Clay McDonald. (dvanm) (Entered: 01/31/2023)
         01/30/2023   68 ORDER of USCA as to Stuart Clay McDonald re 65 Notice of Appeal. The court
                         appoints the Federal Defender for the Eastern District of Virginia to represent Stuart
                         Clay McDonald in this case. (dvanm) (Entered: 01/31/2023)
         02/13/2023   69 TRANSCRIPT REQUEST by Stuart Clay McDonald for proceedings held on May 19,
                         2022 (plea); Aug. 19, 2022 (sentencing); Jan. 20, 2023 (forfeiture) before Judge
                         Hilton, (Pratt, Frances) (Entered: 02/13/2023)
         02/14/2023   70 Transcript Order Acknowledgment from USCA re 65 Notice of Appeal: Court
                         Reporter Julie Egal. (show) (Entered: 02/14/2023)
         03/15/2023   71 Letter to Court filed by Stuart Clay McDonald. (Attachments: # 1 Envelope) (show)
                         (Entered: 03/20/2023)
         03/23/2023   72 TRANSCRIPT of Forfeiture Hearing as to Stuart Clay McDonald for dates of January
                         20, 2023 before Judge Claude M. Hilton, re 65 Notice of Appeal Court
                         Reporter/Transcriber Julie Goodwin, Telephone number 571−970−3191. NOTICE
                         RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                         to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                         no such Notice is filed, the transcript will be made remotely electronically
                         available to the public without redaction after 90 calendar days. The policy is
                                             J.A. 007
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                          located on our website at www.vaed.uscourts.gov Does this satisfy all appellate
                          orders for this reporter? n Transcript may be viewed at the court public terminal
                          or purchased through the court reporter/transcriber before the deadline for
                          Release of Transcript Restriction. After that date it may be obtained through
                          PACER Redaction Request due 4/24/2023. Redacted Transcript Deadline set for
                          5/23/2023. Release of Transcript Restriction set for 6/21/2023.(egal, julie)
                          (Entered: 03/23/2023)
         03/28/2023   73 TRANSCRIPT of Plea as to Stuart Clay McDonald for dates of May 19, 2022 before
                         Judge Claude M. Hilton, re 65 Notice of Appeal Court Reporter/Transcriber Julie
                         Goodwin, Telephone number 571−970−3191. NOTICE RE REDACTION OF
                         TRANSCRIPTS:The parties have thirty(30) calendar days to file with the Court
                         a Notice of Intent to Request Redaction of this transcript. If no such Notice is
                         filed, the transcript will be made remotely electronically available to the public
                         without redaction after 90 calendar days. The policy is located on our website at
                         www.vaed.uscourts.gov Does this satisfy all appellate orders for this reporter? n
                         Transcript may be viewed at the court public terminal or purchased through the
                         court reporter/transcriber before the deadline for Release of Transcript
                         Restriction. After that date it may be obtained through PACER Redaction
                         Request due 4/27/2023. Redacted Transcript Deadline set for 5/30/2023. Release
                         of Transcript Restriction set for 6/26/2023.(egal, julie) (Entered: 03/28/2023)
         03/28/2023   74 TRANSCRIPT of Sentencing as to Stuart Clay McDonald for dates of August 19,
                         2022 before Judge Claude M. Hilton, re 65 Notice of Appeal Court
                         Reporter/Transcriber Julie Goodwin, Telephone number 571−970−3191. NOTICE
                         RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                         to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                         no such Notice is filed, the transcript will be made remotely electronically
                         available to the public without redaction after 90 calendar days. The policy is
                         located on our website at www.vaed.uscourts.gov Does this satisfy all appellate
                         orders for this reporter? y Transcript may be viewed at the court public terminal
                         or purchased through the court reporter/transcriber before the deadline for
                         Release of Transcript Restriction. After that date it may be obtained through
                         PACER Redaction Request due 4/27/2023. Redacted Transcript Deadline set for
                         5/30/2023. Release of Transcript Restriction set for 6/26/2023.(egal, julie)
                         (Entered: 03/28/2023)




                                            J.A. 008
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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRlCT OF VIRGINIA
                                 ALEXANDRIA DIVISION


 UNITED STATES OF AMERICA                           Case No. 1:22-CR-51

                v.                                  Count 1: 18 U.S.C. § ·2252(a)(2)
                                                    (Receipt of ~hild Pornography)
 STUART CLAY MCDONALD,
                                                    Counts 2 and 3: 18 U.S.C. § 2252(a)(4)(B)
                Defendant.                          (Possession of Child Pornography)

                                                    Forfeiture Notice



                                         INDICTMENT

                             March 2022 Term- at Alexandria, Virginia

                                            Count One

                                 (Receipt of Child Pornography)

THE GRAND JURY CHARGES THAT:
                                     .                                                         .
       F!om in arid around May 2020, through in and around Ma~ 2021, the defendant, STUART
                     !       .                                                 I
CLAY MCDONALD, within the Eastern District of Virginia and elsewhere, did knowingly

receive visual depictions using any means and facility of interstate and foreign coinmerce, that had

been shipped and transported in and affecting interstate and foreign c~mmerce, and which .

contained materials which had been mailed and so shipped and transported, by any means

including by computer, and the production of such visual depiction involved the use of minors

engaging in sexually explicit conduct and the visual depiction is of-such conduct.

           (In violation of Title 18, United States Code, Section 2252(a)(2) & (b)(l)).




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                                         J.A. 009
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                                           Count Two

                              (Possession of Child Pornography)

THE GRAND JURY FURTHER CHARGES THAT:

       From in and. around
                     .
                           May 2020, through in .and around July 2021, ' STUART CLAY
                                                       '                       ~ '




MCDONALD, within the Eastern District of Virginia, did knowingly possess a matter, that is, a

Dell Ultrabook Latitude E7470, Service Tag 2YX9KC2, which contained visual depictions which

had been mailed and shipped and transported using any means and facility of interstate and foreign

commerce, and which were produced using materials which had been mailed and shipped and

transported in and affecting interstate and foreign commerce, by any means including by computer,

the production of which involved the use of a minor engaged in sexually explicit conduct and the

visual depiction was of such conduct.

          (In violation of Title 18, United States Code, Section 2252(a)(4)(B) & (b)(2)).




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                                        J.A. 010
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                                          Count Three

                              (Possession of Child Pornography)

THE GRAND JURY FURTHER CHARGES THAT:

       On or about September 9, 2021, the defendant, STUART CLAY MCDONALD, within the

Eastern District of Virginia, did knowingly possess a matter, that is, a Seagate hard drive, serial

number NA0SHSFZ, which contained visual depictions which had been mailed and shipped and

transported using any means and facility of interstate and foreign commerce and which were

produced using materials which have been mailed and shipped and transported in and affecting

interstate and foreign commerce, by any means including by computer, the production of which

involved the use of a minor engaged in sexually explicit conduct and the visual depiction was of

such conduct.

          (In violation of Title 18, United States Code, Section 2252(a)(4)(B) & (b)(2)):




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                                        J.A. 011
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                                    FORFEITURE NOTICE

        The Grand Jury finds that there is probable cause that the property described in this

NOTICE OF FORFEITURE is subject to forfeiture pursuant to the statutes described herein.

       Defendant STUART CLAY MCDONALD is hereby notified, pursuant to Federal Rule of

Criminal Procedure 32.2(a), that upon conviction of any of the Counts alleged in this Indictment,

he shall forfeit to the United States, pursuant to 18 U.S.C. § 2253(a): (1) any,and all matters that

contain visual depictions of minors engaged in sexually explicit conduct in violation of the

charged offense; (2) any property real or personal, constituting or traceable to gross profits or

other proceeds obtained from such offense; and (3) any property, real or personal, used or

intended to be used to commit or to promote the commission of such offense or any property

traceable to such property.

       The property subject to forfeiture includes, but is not limited to, the following:

               a. A Seagate hard drive, serial number NA0SHSFZ; and

               b. A Dell Ultrabook Latitude E74 70, Service Tag 2YX9KC2.

       Pursuant to 21 U.S.C. § 853~), defendant shall forfeit substitute property, if, by any act or

omission of defendant's, the property referenced above cannot be located upon the exercise of due

diligence; has been transferred, sold to, or-deposited with a third party; has been placed beyond

the jurisdiction of the Court; has been substantially diminished in value; or has been commingled

with other property which cannot be divided without difficulty.

   (Pursuant to Title 18, United States Code, Sections· 2253(a), and Federal Rules of Criminal

                                          Procedure 32.2)




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                                         J.A. 012
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                                                                        A TRUE BILL

                                                                           Pursuant to the E-Govemment Act,
                                                                        /cfi~polr'3' of this page I1as been filed
                                                                             un er seal inthe Clerk's Office




      Respectfully submitted,

      Jessica D. Aber
      United States Attorney
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                          C::'.'.        ,,.{'       .   -
By:     , I/~     / ,,/        ?y,/ ___-
       nni~anobinj_,,./
                '----~
      Assistant United States Attorney
      Patricia Haynes
      Assistant United States Attorney




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                                                             J.A. 013
                                                              Filed: 05/09/2023          Doc: 16      USCA4 Appeal: 23-4052
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                                                                                         1

            1                       UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
            2                            ALEXANDRIA DIVISION
            3

            4   UNITED STATES OF AMERICA       )
                                               )
            5                                  )
                     VS.                       ) 1:22-CR-51 CMH
            6                                  )
                                               ) ALEXANDRIA, VIRGINIA
            7                                  )   MAY 19, 2022
                                               )
            8   STUART CLAY MCDONALD           )
                _______________________________)
            9

           10

           11

           12

           13
                _______________________________________________________________
           14
                                        TRANSCRIPT OF PLEA
           15                  BEFORE THE HONORABLE CLAUDE M. HILTON
                                   UNITED STATES DISTRICT JUDGE
           16   _______________________________________________________________
           17

           18

           19

           20

           21

           22

           23

           24   Proceedings reported by stenotype, transcript produced by
           25   Julie A. Goodwin.


                                                                 Julie A. Goodwin, CSR, RPR

                                    J.A. 014
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                                                                                       2

            1                         A P P E A R A N C E S
            2

            3   FOR THE PLAINTIFF:
                      UNITED STATES ATTORNEY'S OFFICE
            4         By: MS. ANNIE ZANOBINI
                      MS. PATRICIA M. HAYNES
            5         Assistant U.S. Attorneys
                      2100 Jamieson Avenue
            6         Alexandria, Virginia 22314
                      703.299.3700
            7         annie.zanobini2@usdoj.gov
                      patricia.haynes@usdoj.gov
            8

            9

           10
                FOR THE DEFENDANT:
           11         OFFICE OF THE FEDERAL PUBLIC DEFENDER
                      By: MS. ANN MASON RIGBY
           12         Assistant Federal Public Defender
                      1650 King Street
           13         Suite 500
                      Alexandria, Virginia 22314
           14         703.600.0800
                      ann_rigby@fd.org
           15

           16

           17
                OFFICIAL U.S. COURT REPORTER:
           18         MS. JULIE A. GOODWIN, RPR
                      United States District Court
           19         401 Courthouse Square
                      Eighth Floor
           20         Alexandria, Virginia 22314
           21

           22

           23

           24

           25


                                                               Julie A. Goodwin, CSR, RPR

                                  J.A. 015
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                                                                                           3

            1   (MAY 19, 2022, 10:04 A.M., OPEN COURT.)
            2              THE COURTROOM DEPUTY:         Criminal Number 22-51, United
            3   States of America versus Stuart Clay McDonald.
            4                 Will counsel please note your appearance for the
            5   record.
            6              MS. HAYNES:    Patricia Haynes and Annie Zanobini on
            7   behalf of the United States.        Good morning, Your Honor.
            8              THE COURT:    Good morning.
            9              MS. RIGBY:    Good morning, Your Honor.        Ann Mason Rigby
           10   on behalf of Mr. McDonald, who is present.
           11              THE COURT:    All right.      Good morning.
           12              MS. HAYNES:    Oh, Your Honor, if I may?
           13                 The defendant is going to be pleading guilty to
           14   counts one and three of the indictment.           And because the
           15   defendant is pleading to those counts and because count two is
           16   a lesser included offense of count one of the indictment, at
           17   the conclusion of the hearing the government will move to
           18   dismiss count two.
           19              THE COURT:    All right.      Do you have a copy of the
           20   indictment?
           21              MS. HAYNES:    Yes, we do, Your Honor.
           22              THE COURT:    What are the maximum penalties of the
           23   offense?
           24              MS. HAYNES:    Your Honor, count one contains -- has a
           25   five-year mandatory minimum and a 20-year maximum.             And count


                                                                   Julie A. Goodwin, CSR, RPR

                                     J.A. 016     5/19/22
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            1   three has a 20-year maximum.
            2               THE COURT:    Is there a specific fine that's set in the
            3   supervised release?
            4               MS. HAYNES:    I believe the supervised release is up to
            5   three years, and I believe the -- there's a $5,000 fine per
            6   count.
            7               THE COURT:    5,000?
            8               MS. HAYNES:    5,000 I believe per count, because of the
            9   nature of the offense.       Oh, I'm sorry, the special assessment.
           10   I'm sorry.      The fine, I believe, is $250,000 per count.
           11               THE COURT:    250?
           12               MS. HAYNES:    Yeah, I'm sorry.
           13               THE COURT:    All right.      Let the defendant be sworn.
           14               MS. RIGBY:    Your Honor, just to add to that.         If I'm
           15   not mistaken, for count one there's a period of supervised
           16   release of five years.       I don't think the government listed
           17   that during count one.
           18               THE COURT:    I believe that's correct.       Five years to
           19   life, isn't it?
           20               MS. RIGBY:    Correct, Your Honor.
           21               THE COURT:    All right.
           22               THE COURT SECURITY OFFICER:        Place your left hand on
           23   the Bible.      Raise your right hand.
           24           (THE OATH WAS ADMINISTERED TO THE DEFENDANT.)
           25               THE COURT:    Mr. McDonald, you've now been placed under


                                                                   Julie A. Goodwin, CSR, RPR

                                      J.A. 017     5/19/22
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            1   oath.   I'm going to ask you certain questions concerning the
            2   plea and the offense itself.
            3                 You understand if you give any false answers to any
            4   of these questions you could subject yourself to a charge of
            5   perjury?
            6              THE DEFENDANT:      Yes, sir.
            7              THE COURT:   Would you state your full name.
            8              THE DEFENDANT:      Stuart Clay McDonald.
            9              THE COURT:   And how old are you?
           10              THE DEFENDANT:      53.
           11              THE COURT:   And what is the extent of your education?
           12              THE DEFENDANT:      I've had some college.
           13              THE COURT:   All right.       Now, have you received a copy
           14   of this indictment and gone over it with your attorney?
           15              THE DEFENDANT:      Yes, I have.
           16              THE COURT:   You understand that count one of this
           17   indictment charges that you did knowingly receive visual
           18   depictions of minors that have been transferred in interstate
           19   commerce, and showing those minors engaged in sexual activity?
           20              THE DEFENDANT:      Yes, sir.
           21              THE COURT:   You understand that in order to convict
           22   you of this offense the government would have to prove beyond a
           23   reasonable doubt that you did receive explicit sexual pictures
           24   of minors depicting sexual conduct, and that you did so
           25   knowingly, willfully, and intentionally?


                                                                   Julie A. Goodwin, CSR, RPR

                                    J.A. 018         5/19/22
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            1             THE DEFENDANT:       Yes, sir.
            2             THE COURT:   All right.       Now, count three charges you
            3   with possessing child pornography again, and that you did so
            4   knowingly, willfully, and intentionally.
            5             THE DEFENDANT:       Yes, sir.
            6             THE COURT:   Now -- and again, in order to -- the
            7   government would have to prove beyond a reasonable doubt that
            8   you did receive that material, and you received it knowingly,
            9   willful, and intentionally.
           10             THE DEFENDANT:       Yes, sir.
           11             THE COURT:   All right.
           12                 Now, have you told your attorney all the facts
           13   about the case that you know?
           14             THE DEFENDANT:       Yes, sir.
           15             THE COURT:   Do you feel you've had a sufficient length
           16   of time to confer with your attorney in order to fully
           17   understand the case?
           18             THE DEFENDANT:       Yes, Your Honor.
           19             THE COURT:   Are you satisfied with the representation
           20   your attorney has given you?
           21             THE DEFENDANT:       I am, Your Honor.
           22             THE COURT:   Now, you understand that if your plea is
           23   accepted as to count one you could be imprisoned from five up
           24   to 20 years, pay a fine of up to $250,000, serve a term of
           25   supervised release from five years up to life?


                                                                  Julie A. Goodwin, CSR, RPR

                                    J.A. 019      5/19/22
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            1             THE DEFENDANT:      I understand.
            2             THE COURT:   And that is in addition to paying a
            3   special assessment fine of $100?
            4             THE DEFENDANT:      Yes, sir.
            5             THE COURT:   Now, as to count three, you understand you
            6   could be imprisoned up to 20 years, pay a fine of up to
            7   $250,000, serve up to three years of supervised release, in
            8   addition to paying a special assessment fine of $100?
            9             THE DEFENDANT:      I understand.
           10             THE COURT:   You also understand that any sentence that
           11   may be imposed will be affected by the Sentencing Guidelines,
           12   and if you violate any of the terms and conditions of your
           13   supervised release, you would have to serve that period of
           14   time?
           15             THE DEFENDANT:      I understand.
           16             THE COURT:   Now, do you also understand you have an
           17   absolute right to plead not guilty?
           18             THE DEFENDANT:      I do, Your Honor.
           19             THE COURT:   And you understand that if you did plead
           20   not guilty, you have certain constitutional guarantees:           That
           21   is the right to a speedy and public trial of a jury, if you
           22   want a jury; the right not to testify and to remain silent,
           23   unless you want to testify; the right to see, hear, and
           24   cross-examine all witnesses against you; the right to use the
           25   process of this court to compel the production of evidence and


                                                                Julie A. Goodwin, CSR, RPR

                                   J.A. 020      5/19/22
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            1   attendance of witnesses in your behalf; and the right to the
            2   assistance of a lawyer at all stages of the proceedings?
            3                 You understand that by pleading guilty you're
            4   giving up these constitutional guarantees?
            5             THE DEFENDANT:       I understand, Your Honor.
            6             THE COURT:    You understand that by pleading guilty the
            7   Court may impose the same punishment as if you had been tried
            8   and convicted by a Court or by a jury?
            9             THE DEFENDANT:       Yes, Your Honor.
           10             THE COURT:    Now, has anyone made any promise or threat
           11   to induce you to plead guilty?
           12             THE DEFENDANT:       No, Your Honor.
           13             THE COURT:    All right.
           14                 Now, along with this indictment was filed and
           15   handed to me a statement of facts.          Have you reviewed this
           16   statement of facts?
           17             THE DEFENDANT:       I have, Your Honor.
           18             THE COURT:    Have you reviewed it with your attorney?
           19             THE DEFENDANT:       Yes, Your Honor.
           20             THE COURT:    Do you disagree in any particular with
           21   this statement of facts?
           22             THE DEFENDANT:       No, Your Honor.
           23             THE COURT:    Is what this statement says happened in
           24   fact what did happen?
           25             THE DEFENDANT:       Yes, Your Honor.


                                                                  Julie A. Goodwin, CSR, RPR

                                    J.A. 021      5/19/22
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            1             THE COURT:   Now, you understand that once you've pled
            2   guilty you cannot refuse to testify against any confederates,
            3   accomplices, or co-defendants who may now or hereafter be
            4   charged with the same or associated crime?
            5             THE DEFENDANT:       I understand.
            6             THE COURT:   And you understand that by pleading guilty
            7   you waive the right to object to any question concerning the
            8   legality of the admission or seizure of any evidence in
            9   connection with this charge?
           10             THE DEFENDANT:       I understand.
           11             THE COURT:   And you understand that if your plea is
           12   accepted now, there will be no further trial of any kind, and
           13   you'll be found guilty?
           14             THE DEFENDANT:       Yes, Your Honor.
           15             THE COURT:   All right.
           16                 Do you make any claim that you are innocent of the
           17   charges contained in counts one and three of this indictment?
           18             THE DEFENDANT:       No, Your Honor.
           19             THE COURT:   How do you plead to count one?
           20             THE DEFENDANT:       Guilty, Your Honor.
           21             THE COURT:   And count three?
           22             THE DEFENDANT:       Guilty.
           23             THE COURT:   The Court finds the plea is voluntarily
           24   and intelligently entered.       There's a factual basis to support
           25   the plea; finds the defendant guilty of the charge contained in


                                                                  Julie A. Goodwin, CSR, RPR

                                    J.A. 022      5/19/22
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            1   counts one and three of this indictment.
            2                   August 12 be a good day for sentencing?
            3               MS. HAYNES:       Yes, Your Honor.
            4               MS. RIGBY:      Your Honor, I am so sorry.           I didn't bring
            5   my calendar, but I think it is.
            6               THE COURT:      Case be continued to August the 12th at
            7   10:00 a.m. for sentencing.           It's referred to the probation
            8   office for preparation of a presentence report.
            9               MS. HAYNES:       Thank you, Your Honor.          I do have a
           10   motion to dismiss the remaining count, count two.
           11               THE COURT:      All right.       If you'll hand that up, I'll
           12   enter it at this time.
           13           (BRIEF PAUSE.)
           14               THE COURT:      All right.       That's been entered.
           15                   That takes care of our business.              We'll adjourn
           16   until tomorrow morning at 10:00 o'clock.
           17               MS. HAYNES:       Thank you, Your Honor.
           18               THE LAW CLERK:       All rise.
           19                 (PROCEEDINGS CONCLUDED AT 10:13 A.M.)
           20                                         -oOo-
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                                                                       Julie A. Goodwin, CSR, RPR

                                      J.A. 023        5/19/22
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                                                                                        11

            1   UNITED STATES DISTRICT COURT        )
            2   EASTERN DISTRICT OF VIRGINIA        )
            3

            4                 I, JULIE A. GOODWIN, Official Court Reporter for
            5   the United States District Court, Eastern District of Virginia,
            6   do hereby certify that the foregoing is a correct transcript
            7   from the record of proceedings in the above matter, to the best
            8   of my ability.
            9                 I further certify that I am neither counsel for,
           10   related to, nor employed by any of the parties to the action in
           11   which this proceeding was taken, and further that I am not
           12   financially nor otherwise interested in the outcome of the
           13   action.
           14                 Certified to by me this 28TH day of MARCH, 2023.
           15

           16

           17

           18                                     __/s/___________________________
                                                  JULIE A. GOODWIN, RPR
           19                                     Official U.S. Court Reporter
                                                  401 Courthouse Square
           20                                     Eighth Floor
                                                  Alexandria, Virginia 22314
           21

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           24

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                                                                 Julie A. Goodwin, CSR, RPR

                                    J.A. 024     5/19/22
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                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                     EASTERN DISTRICT OF VIRGINIA
                                            ALEXANDRIA DIVISION

         UNITED STATES OF AMERICA
                                                                         j/l--- cv-i;   \
                V.                                            Case No. -i~              r-----...,r=iL.,,..,ED,------,
                                                                                                  IN OPEN COURT
         ST UART CLAY MCDONALD,
                                                                                               MAY I 9 20??
                Defendant.
                                                                                             CLERK, U.S. DISTRICT COURT
                                                                                                ALEXANDRIA, VIRGINIA

                                            STATEMENT OF FACTS

               The United States and the defendant, STUART CLAY MCDONALD (hereinafter, "the

        defendant"), agree that the fo llowing facts arc true and correct, and that had this matter gone to

        trial, the United States would have proven t he fo llowing facts beyond a reasonable doubt with

        admissible and credible evidence:

               1.      From approximately November 20 17 to as recently as May 28, 202 1, in the Eastern

        District of Virginia and e lsewhere, the defendant knowingly received and attempted to receive a

        visual depiction using any means or facility of interstate or foreign commerce, and that had been

        shipped and transported in or affecting interstate and foreign commerce, by any means includ ing

        by computer, the producing of which visua l depiction involved the use of a minor engaging in

        sexually explicit conduct, and which visual depiction was of such conduct.

               2.      On or aboutJuly 15, 2021 , Special Agents with the Federal Bureau oflnvestigation

        ("FBI") executed a search warrant at the defendant's residence located in Manassas, Virginia.

        Pursuant to the warrant, agents seized a number of elech·onic devices, including a Del l Ultrabook

        Latitude E7470 (here inafter Dell Laptop Computer), Service Tag 2YX9KC2, which had been

        manufactured outside the Commonwealth of V irginia, and was located on a desk in a room utilized

        by the defendant as an office.



                                              J.A. 025
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               3.      The defendant's employer at the time, Bates White LLC, confirmed the Dell Laptop

        Computer had been issued to the defendant. During an examination of the Dell Laptop, FBI

        computer analysts determined that the login credentials used to log onto the computer listed the

        usemame as "clay" and that upon selecting to log off from the "clay" credentials, the profile name

        was listed as "clay mcdonald." Email accounts located within the user credentials n~ed "clay"

        include: stuart.mcdonald@bateswhite.com, MCDONALD's company email address from Bates

        White LLC; and "claysql@gmail.com, which has a usemame listed as Clay McDonald. Subscriber

        information provided by Google indicate that the subscriber name for email address

        claysgl@gmail.com is Clay McDonald. Found within the user credentials named "clay" are

        multiple "selfie" style photographs identified as the defendant as well as photographs of checks

        made out to the defendant.

               4.      On or about July 15, 2020, user credentials named "clay' visited a URL where a

        file was downloaded. The user of the "clay" credentials saved this file onto the Dell laptop. A

        review of the contents of this file revealed a 3 minute and 20 second video which depicts what

        appears to be a pre-pubescent female. During the video, the female child is depicted naked,

        displaying her chest and genitalia. She is at times bound. The video depicts the child being raped

        by an unknown male, and also depicts the commission of other sadistic and masochistic acts

        against the child.

                5.      Located on the laptop were approximately 197 images and 22 videos of

        unencrypted files, and 175 images and 86 videos of encrypted files, which depicted prepubescent

        and pubescent minors engaged in sexually explicit conduct, including, but not limited to, sexual

        intercourse, digital penetration of genitalia, penetration of genitalia with objects, lascivious

        exhibition of the genitals, sexually explicit conduct involving toddlers, and images of bondage




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                                               J.A. 026
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        and bestiality. The forensic evidence on the device established that the defendant knowingly

        received these images and videos depicting minors engaged in sexually explicit conduct using

        the internet and saved them in "downloads" folders under the usemame "clay".

               6.       On September 9, 2021, the defendant was arrested in Prince William County by

        FBI Special Agents and the Prince William County Police Department. Located within a

        backpack carried by the defendant was a Seagate hard drive bearing serial number NA05H5FZ,

        which was manufactured outside the Commonwealth of Virginia. Among other items, the hard

        drive contained pictures of McDonald, Bates White documents bearing McDonald's name, and a

        bank statement addressed to McDonald. The Seagate hard drive contained approximately 156

        videos and images which depicted prepubescent and pubescent minors engaged in sexually

        explicit conduct, including, but not limited to, sexual intercourse, digital penetration of genitalia,

        naked toddlers exposing genitalia, and bondage, all of which were saved to the Seagate hard

        drive on November 15, 2017.

               7.      This statement of facts includes those facts necessary to support the defendant's

        guilty plea. It does not include each and every fact known to the defendant or to the United

        States, and it is not intended to be a full enumeration of all of the facts surrounding the

        defendant's case. The actions of the defendant, as recounted above, were in all respects knowing

        and deliberate, and were not committed by mistake, accident, or other innocent reason.




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                                               J.A. 027
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                                                          Respectfully submitted,

                                                          Jessica D. Aber
                                                          Acting Uni ted States Attorney


                                                 By:
                                                          Patricia Haynes
                                                          Assistant United States Attorney
                                                          Anni e Zanobini
                                                          Assistant United States Attorney


               After consulting with my attorney, I hereby stipul ate that the above Statement of Facts is

        h·ue and accurate, and that had the matter proceeded to trial, the United States would have proved

        the same beyond a reasonable doubt.




                                                         sfi'.,art CI! y McDonald
                                                         Defendant


               I am the attorney for the Defendant in this case, Stuart Clay McDonald. I have carefl.illy

        reviewed the above Statement of Facts with him . To my knowledge, his decision to stipulate to

        these facts is an infonn ed and voluntary one.



                                                       ~~~~
                                                         ~ Rigby
                                                         Counsel for the Defendant




                                                            4
                                              J.A. 028
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                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                    EASTERN DISTRICT OF VIRGINIA
                                          ALEXANDRIA DIVISION

         UNITED STATES OF AMERICA

                v.                                         Case No. I :22-CR-5 l

         STUART CLAY MCDONALD,

                Defendant.


                                                   ORDER

               Upon Motion of the United States to Dismiss Count 2 of the Indictment (Docket Entry

        27) and good cause being shown, it is hereby

               ORDERED that Count 2 of the Indictment (Docket Entry 27) in the above-captioned case

        is dismissed.




        May 19, 2022
        Alexandria, Virginia




                                             J.A. 029
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            1                       UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
            2                            ALEXANDRIA DIVISION
            3

            4   UNITED STATES OF AMERICA       )
                                               )
            5                                  )
                     VS.                       ) 1:22-CR-51 CMH
            6                                  )
                                               ) ALEXANDRIA, VIRGINIA
            7                                  )   AUGUST 19, 2022
                                               )
            8   STUART CLAY MCDONALD           )
                _______________________________)
            9

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                _______________________________________________________________
           14
                                     TRANSCRIPT OF SENTENCING
           15                  BEFORE THE HONORABLE CLAUDE M. HILTON
                                   UNITED STATES DISTRICT JUDGE
           16   _______________________________________________________________
           17

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           24   Proceedings reported by stenotype, transcript produced by
           25   Julie A. Goodwin.


                                                                 Julie A. Goodwin, CSR, RPR

                                    J.A. 030
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                                                                                       2

            1                         A P P E A R A N C E S
            2

            3   FOR THE PLAINTIFF:
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                      MS. PATRICIA M. HAYNES
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            7         annie.zanobini2@usdoj.gov
                      patricia.haynes@usdoj.gov
            8

            9

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                FOR THE DEFENDANT:
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           12         Assistant Federal Public Defender
                      1650 King Street
           13         Suite 500
                      Alexandria, Virginia 22314
           14         703.600.0800
                      ann_rigby@fd.org
           15

           16

           17
                OFFICIAL U.S. COURT REPORTER:
           18         MS. JULIE A. GOODWIN, RPR
                      United States District Court
           19         401 Courthouse Square
                      Eighth Floor
           20         Alexandria, Virginia 22314
           21

           22

           23

           24

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                                                               Julie A. Goodwin, CSR, RPR

                                  J.A. 031
USCA4 Appeal: 23-4052     Doc: 16     Filed: 05/09/2023    Pg: 36 of 160


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            1   (AUGUST 19, 2022, 10:00 A.M., OPEN COURT.)
            2               THE COURTROOM DEPUTY:         Criminal Number 22-51, United
            3   States of America versus Stuart Clay McDonald.
            4                   Will Counsel please identify themselves for the
            5   record.
            6               MS. ZANOBINI:    Good morning, Your Honor.         Annie
            7   Zanobini and Patricia Haynes on behalf of the United States.
            8               THE COURT:   Good morning.
            9               MS. RIGBY:   Good morning, Your Honor.         Ann Mason Rigby
           10   on behalf of Mr. McDonald.
           11               THE COURT:   All right.       Good morning.
           12                   Why we don't we call the other case.
           13               MS. RIGBY:   I hear jingling.        It might be him, Your
           14   Honor.
           15               THE COURT:   Oh, all right.
           16               MS. RIGBY:   Apologies for interrupting the Court.
           17           (DEFENDANT NOW PRESENT IN COURTROOM.)
           18               MS. RIGBY:   Your Honor, for the record, Mr. McDonald
           19   is present.
           20               THE COURT:   All right.
           21                   Have you and your client reviewed this presentence
           22   report?
           23               MS. RIGBY:   Yes, Your Honor.
           24               THE COURT:   Any corrections you wish to make to it?
           25               MS. RIGBY:   No, Your Honor.


                                                                    Julie A. Goodwin, CSR, RPR

                                      J.A. 032     8/19/22
USCA4 Appeal: 23-4052    Doc: 16       Filed: 05/09/2023   Pg: 37 of 160


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            1               THE COURT:    Anything you want to say at this time?
            2               MS. RIGBY:    Your Honor, does the Court prefer to hear
            3   from the government first?
            4               THE COURT:    No.
            5               MS. RIGBY:    Your Honor, the government, of course, is
            6   recommending a sentence within the guideline range.              And I know
            7   the Court has reviewed the papers we submitted requesting that
            8   the Court impose no more than 60 months in this case.              That is
            9   the mandatory minimum, Your Honor, and that is sufficient and
           10   not greater than necessary to satisfy the factors and the goals
           11   of sentencing in 3553.
           12                  The government's argument, to some extent,
           13   understandably focuses on harm caused by viewing child
           14   pornography.       And we don't take any issue with that, Your
           15   Honor.
           16                  Mr. McDonald has read the victim statements in the
           17   PSR.    He understands that viewing this material causes
           18   additional harms to the victims of child abuse reflected in the
           19   videos.    And he sympathizes with those victims, especially
           20   given his own experience growing up with just that kind of
           21   abuse.
           22                  But, you know, the government, I think, is focusing
           23   on this element as a proxy for two factors that the Court must
           24   consider:    What's proper punishment and what's necessary to
           25   deter him.     But not only are there many other factors focusing


                                                                    Julie A. Goodwin, CSR, RPR

                                       J.A. 033     8/19/22
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            1   on harm alone, and looking at the U.S. Sentencing Guidelines as
            2   a means to address that harm doesn't even fully and
            3   appropriately address those factors of punishment and
            4   deterrence.
            5                  Turning to punishment, what the Court has to
            6   consider is what will be just punishment.           And looking again at
            7   the guidelines as a proxy for that is -- is not -- is not just.
            8   The guidelines are not just they were designed to correlate
            9   with mandatory minimums that Congress essentially picked out of
           10   thin air, and they -- they recommended enhancing sentences in
           11   cases of simple possession or receipt, like this case, on
           12   grounds that turn up in just about every case.
           13                  I cited to the Court statistics.          And I'm sure the
           14   Court is familiar with about how often these enhancements
           15   apply, and they no longer actually reflect different or
           16   differentiation among child pornography on defendants.             This is
           17   why courts vary widely from -- I cited to the court statistics
           18   again.    I'm sure the Court is familiar courts all over the
           19   country vary from these guidelines downward all the time, and
           20   most defendants get very large variances.           And that is what
           21   we're asking for here.
           22                  Your Honor knows I know that the Court -- that this
           23   division is -- is no different than -- than the nationwide
           24   statistics or the nationwide courts that I've cited to the
           25   Court.    In this district, possession and receipt cases result


                                                                  Julie A. Goodwin, CSR, RPR

                                     J.A. 034     8/19/22
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            1   in sentences of 60 months regularly.
            2                  As far as deterrence, Your Honor, the law
            3   enforcement tool that works best for deterring people is
            4   catching them and making them believe that they will be caught.
            5   Mr. McDonald gets perfectly well that he can get caught.             He's
            6   been through it.    He understands that, Your Honor.
            7                  He also knows that no matter how much jail time or
            8   prison time the Court imposes he will be on supervision.             He
            9   will also be tracked as a sex offender.          He understands fully
           10   that he will not get away with this in the -- in the future if
           11   he's ever tempted to look at these kinds of images again.
           12                  On the other hand, the Court really hasn't --
           13   excuse me -- the government hasn't cited anything suggesting
           14   that more than five years in prison will make a difference to
           15   either his individual deterrence or to general deterrence, Your
           16   Honor.
           17                  The government notes that these images seem to be
           18   in never-ending circulation, and there's something -- nothing
           19   before the Court suggesting that imposing more than five years
           20   on this man is going to make a significant difference to
           21   anybody else contemplating this.         Again, what will make a
           22   difference is catching -- catching people.
           23                  Your Honor, in addition, the Court hasn't responded
           24   to evidence that more than five years will create unwarranted
           25   disparity.     Hasn't explained how more than five years will


                                                                  Julie A. Goodwin, CSR, RPR

                                     J.A. 035     8/19/22
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            1   satisfy the other goals of sentencing such as ensuring that the
            2   victims are able to recover some restitution.
            3                 In this case, Mr. McDonald will be in his late 50s
            4   when he's released, but he does have a lot of skills and he has
            5   a long history of overcoming challenges working in various
            6   different fields.   So he does have the capacity when he comes
            7   out to actually work, and the longer he's in on the other hand
            8   the less likely that's going to be.        And if the goal is making
            9   sure the victims receive restitution, which it should be more
           10   than five years in prison, contravenes that.
           11                 Your Honor, finally, you know, there are other
           12   things that are going to help deter Mr. McDonald.           As we
           13   suggested with our expert report, drug treatment would be very
           14   important here.   The combination of drug treatment,
           15   supervision, sex offender registration, and five years in
           16   prison for a man who has never served a day before this arrest
           17   is going to be sufficient to achieve the goals of sentencing.
           18                 And the last thing I'll say, Your Honor, is -- is
           19   Mr. McDonald's own remorse and shame is going to go a long way
           20   to deterring him and ensuring that this doesn't happen in the
           21   past.
           22                 The Court's, I hope, read Mr. McDonald's letter,
           23   and it reflects that he has spent time thinking about this.
           24   He's -- time thinking about the victims.          He is deeply ashamed.
           25   He's, you know, ruptured relationships with his family.


                                                                 Julie A. Goodwin, CSR, RPR

                                    J.A. 036     8/19/22
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            1   There's nothing more needed in this case, Your Honor, than 60
            2   months.
            3               THE COURT:   All right.
            4                 Anything the government wants to add?
            5               MS. ZANOBINI:   Yes, Your Honor.
            6                 Your Honor, the government outlines --
            7               THE COURT:   You can take your mask off while you're
            8   speaking.
            9               MS. ZANOBINI:   Sorry, Your Honor.
           10                 Your Honor, the government outlined its position in
           11   its paper, but just briefly.
           12                 First, the government highlights the serious nature
           13   of the defendant's crime.       Children depicted in child
           14   pornography are harmed by the continuing dissemination and
           15   possession of those images and videos.          The victim impact
           16   statements submitted here are instructive.
           17                 One victim wrote:      I am still having emotional and
           18   psychological problems due to knowing that the images of me
           19   being abused as a child are circulated freely on the Internet.
           20                 One victim's husband describes having been plagued
           21   by stalker after stalker calling themselves "fans" and being
           22   oblivious to the damage they are causing his wife.
           23                 Victims of this crime continue to be traumatized by
           24   the circulation of these images.         And some victims continue to
           25   be stalked and harassed by so-called fans years late -- later.


                                                                  Julie A. Goodwin, CSR, RPR

                                     J.A. 037     8/19/22
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            1                 The harm is substantial, and for that reason the
            2   United States recommends a guideline sentence in order to deter
            3   this defendant from engaging in this type of conduct in the
            4   future.   The United States submits that such sentence is
            5   sufficient, but not greater than necessary to address the
            6   Section 3553(a) sentencing factors.
            7                 Furthermore, Your Honor, I would like to also just
            8   address restitution and forfeiture in this matter.
            9                 The United States would just like to bring to the
           10   Court's attention we are still waiting for restitution requests
           11   from victims.     Pursuant to Title 18, United States Code,
           12   Section 3664(d)(5), the Court may defer the imposition of
           13   restitution until after the sentencing for 90 days.
           14                 In light of the ongoing discussions, the Court
           15   asks -- the government asks that the Court defer the imposition
           16   of restitution and allow the parties to work towards resolving
           17   this matter and schedule the matter for a restitution hearing
           18   in approximately 90 days.       As to forfeiture, the United States
           19   would like to bring to the Court's attention that the parties
           20   are in disagreement over the forfeiture of the electronic
           21   devices in this case.
           22                 There's a Fourth Circuit case called Martin,
           23   although I do not have the cite on me, that permits the Court
           24   jurisdiction, if you state during the sentencing hearing that
           25   you would like to have a separate, you know, forfeiture


                                                                  Julie A. Goodwin, CSR, RPR

                                     J.A. 038     8/19/22
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            1   hearing.    And hopefully the parties, you know, can come to an
            2   agreement on that.      And if we can't, you know, we can -- would
            3   ask that we -- you state on the record that you retain
            4   jurisdiction to decide the forfeiture at a later date so that
            5   we can, you know, provide the Court with briefing, if -- if we
            6   cannot come to an agreement.
            7                  Thank you.
            8              THE COURT:    All right.      Do you have any problem with
            9   doing that?
           10              MS. RIGBY:    I have no objection to either suggestion,
           11   Your Honor.
           12              THE COURT:    All right.      Well, I'll grant that motion.
           13   And let's pick a date.
           14                  What would something very short of 90 days be?
           15              MS. ZANOBINI:    It would be sometime the first or
           16   second week of November.        That short 90 days would be about
           17   November 7th to 11th.
           18              THE COURT:    November 7th be a good day, or that last
           19   Friday in October?
           20              MS. ZANOBINI:    That works for the United States, Your
           21   Honor.
           22              MS. RIGBY:    That's fine, Your Honor.
           23              THE COURT:    The 7th, or you want the last weekend in
           24   October?
           25              MS. RIGBY:    The last of October would be fine.         I


                                                                  Julie A. Goodwin, CSR, RPR

                                     J.A. 039     8/19/22
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            1   don't have a preference, Your Honor.
            2               MS. ZANOBINI:    Your Honor, the government's not
            3   available October 28th, but is available November 7th.
            4               THE COURT:   November 7th you're available?
            5               MS. ZANOBINI:    Correct, Your Honor.
            6               THE COURT:   All right.       Well, then the matter of
            7   restitution and forfeiture will be continued to November the
            8   7th.     Hopefully you-all can agree on something in the meantime.
            9                   Mr. McDonald, would you come to the podium.
           10           (DEFENDANT COMPLIES.)
           11               THE COURT:   Is there anything you want to say at this
           12   time?
           13               THE DEFENDANT:       Yes, Your Honor.
           14                   I'm extremely sorry for the harm that I've caused
           15   in doing this crime.      This -- this event has changed me
           16   forever, and I believe it's given my life a new purpose.
           17                   I will do better.     I will not commit this crime or
           18   any crime in the future, and I'm sorry.
           19               THE COURT:   All right.       Well, Mr. McDonald, I find the
           20   guideline factors here to be properly assessed at a range of 97
           21   to 121 months.      That because of your financial condition, the
           22   imposition of any fine or cost is not warranted.
           23                   In considering the factors, which I must under
           24   Section 3553, considering the nature of this offense, your
           25   prior record, and your present circumstances, I find that a


                                                                    Julie A. Goodwin, CSR, RPR

                                      J.A. 040      8/19/22
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            1   sentence somewhat below the guideline range would be
            2   appropriate.
            3                 It will be the sentence of the Court that as to
            4   each counts one and three you'll be committed to the custody of
            5   the Attorney General to serve a term of 72 months, a ten-year
            6   period of supervised release, pay a special assessment fine of
            7   $100 as to each count.
            8                 Now, your supervised release will be subject to the
            9   standard provisions of probation which have been set out here
           10   in the presentence report.
           11                 And in addition, you will be required to
           12   participate in any program for substance abuse that may be
           13   required by your probation officer.
           14                 That you undergo any polygraph testing that may be
           15   required by your probation officer; any mental health treatment
           16   or program that may be required by probation.
           17                 And that you should not engage in any employment or
           18   volunteer services that allow access to minors or computers
           19   without approval of your probation officer.
           20                 That you not purchase or possess any sexually
           21   explicit material; that you should have no contact with minors
           22   unless supervised by a competent adult; that you should not use
           23   any sex-related telephone services or websites; that you
           24   register pursuant to the Adam Walsh Child Protection and Safety
           25   Act of 2006, and that pursuant to that Adam Walsh Act, that you


                                                                 Julie A. Goodwin, CSR, RPR

                                    J.A. 041     8/19/22
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                                                                                              13

            1   submit to any search of your person, property or residence by
            2   your probation officer at any time that they feel that is
            3   necessary.
            4                   All right?
            5               MS. RIGBY:      Court's indulgence.
            6           (BRIEF PAUSE.)
            7               MS. RIGBY:      Your Honor, I would ask the Court to
            8   include in the judgment a recommendation that Mr. McDonald be
            9   designated to Fort Dix, and also that you would recommend that
           10   he be placed into the RDAP treatment, the residential drug
           11   abuse program.
           12               THE COURT:      All right.       I will recommend the facility
           13   at Fort Dix and also recommend the drug treatment program.
           14               MS. RIGBY:      Thank you, Your Honor.
           15                 (PROCEEDINGS CONCLUDED AT 10:15 A.M.)
           16                                         -oOo-
           17

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                                                                       Julie A. Goodwin, CSR, RPR

                                      J.A. 042        8/19/22
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                                                                                        14

            1   UNITED STATES DISTRICT COURT        )
            2   EASTERN DISTRICT OF VIRGINIA        )
            3

            4                 I, JULIE A. GOODWIN, Official Court Reporter for
            5   the United States District Court, Eastern District of Virginia,
            6   do hereby certify that the foregoing is a correct transcript
            7   from the record of proceedings in the above matter, to the best
            8   of my ability.
            9                 I further certify that I am neither counsel for,
           10   related to, nor employed by any of the parties to the action in
           11   which this proceeding was taken, and further that I am not
           12   financially nor otherwise interested in the outcome of the
           13   action.
           14                 Certified to by me this 28TH day of MARCH, 2023.
           15

           16

           17

           18                                     __/s/___________________________
                                                  JULIE A. GOODWIN, RPR
           19                                     Official U.S. Court Reporter
                                                  401 Courthouse Square
           20                                     Eighth Floor
                                                  Alexandria, Virginia 22314
           21

           22

           23

           24

           25


                                                                 Julie A. Goodwin, CSR, RPR

                                    J.A. 043     8/19/22
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  AO 2458 (Rev.09/19) (VAE 01/22) Judgment in a Criminal Case
                                  Sheet I


                                           UNITED STATES DISTRICT COURT
                                               Eastern District of Virginia
                                                   Alexandria Division
               UNITED STATES OF AMERICA                                 )     JUDGMENT IN A CRIMINAL CASE
                                                                        )
                                   v.                                   )     Case Number:           I :22-cr-00051
                                                                        )
                 STUART CLAY MCDONALD                                         USM Number: 78735-509
                                                                        )
                                                                        )     Ann Rigby, Esquire
                                                                              Defendant's Attorney
                                                                        )
                                                                        )
  The defendant pleaded guilty to Count I and 3 of the Indictment.
  The defendant is adjudged guilty of these offenses:

   Title and Section                    Nature of Offense                                                Offense Ended

   I 8 U.S.C. § 2252(a)(2)              Receipt of Child Pornography                                        05/2021

   18 U.S.C. § 2252(a)(4)(B)            Possession of Child Pornography                                    09/09/2021               3




     The defendant is sentenced as provided in pages 2 through 6 of this Judgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.

     Count 2 is dismissed on the motion of the United States.

      It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
  restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.



                                                                            August 19, 2022
                                                                            Date of Imposition of Judgment



                                                                            Signature of Judge

                                                                            Claude M. Hilton, United States District Judge
                                                                            Name and Title of Judge




                                                                J.A. 044
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  AO 2458 (Rev. 09/19) (VAE l l/2l)Judgment in a Criminal Case                                                          Page 2 of6
           Sheet 2 - Imprisonment

  Case Number:                  1:22-cr-00051
  Defendant's Name:             McDonald, Stuart Clay


                                                                 IMPRISONMENT
  The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of SEVENTY-
  TWO (72) MONTHS on each of Counts I and 3 to run concurrently with each other.


  The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends that the defendant be designated to FCI Fort Dix.

  The Court recommends that the defendant be designated to a facility where he can receive drug treatment.

  The defendant is remanded to the custody of the United States Marshal.




                                                                     RETURN

  I have executed this judgment as follows: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Defendant delivered on                          to_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  at_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _- 1 with a certified copy of this Judgment.




                                                                      UNITED STA TES MARSHAL


                                                         By
                                                                      DEPUTY UNITED STATES MARSHAL




                                                                 J.A. 045
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  AO 2458 (Rev. 09/19) (VAE 11/21) Judgment in a Criminal Case                                                                    Page 3 of6
           Sheet 3 - Supervised Release


  Case Number:                   1:22-cr-00051
  Defendant's Name:              McDonald, Stuart Clay


                                                           SUPERVISED RELEASE

  Upon release from imprisonment, you will be on supervised release for a term of TEN ( I 0) YEARS on each of Counts 1 and
  3 to run concurrently with each other.



                                                     MANDATORY CONDITIONS

  1.   You must not commit another federal, state or local crime.
  2.   You must not unlawfully possess a controlled substance.
  3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease
       from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
       □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
       abuse. (check if applicable)
  4.   181   You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
       restitution. (check   if applicable)
  5.   181   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

  6.   181   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
       reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
  7.   □ You must participate in an approved program for domestic violence. (check if applicable)


  You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
  attached page.




                                                                 J.A. 046
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  i\O 24513 (Rev. 09/19) (VAE 11/ 21) Judgmc111 in a Cri minal Case                                                                    Page 4 of6
             Shcel 3 - Supervised Release


  Case Nu mber:                    I :22-cr-00051
  Defendant's 'ame:                McDonald, Stuart Clay


                                            ST ANDARD CONDITIONS OF SUPERVISION

  As pa11 of you r supervised release, you must comply with the following standard conditions of supervision. These cond itions are
  imposed because they establish the basic expectations for your behavior while on supervision and identify the minim um tools needed
  by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  I.     You must report to the probation office in the federa l judicial district where you are authorized to res ide within 72 hours of your
         release from imprisonment, un less the probation officer instructs you to report to a different probation office or within a differen t
         time frame.
  2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
         when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting perm ission from
         the cou11 or the probation officer.
  4.     You must answer m1thfully the questions asked by your probation officer.
  5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about you r living
         arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or ex pected change.
  6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items proh ibited by th e conditions of your supervision that he or she observes in plain view.
  7.     You must wo rk fu ll time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment you must try to find fu ll-time employment, unless the probation officer
         excuses you fro m do ing so. If you plan to change where you work or anything about your work (such as your position or your job
         responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least
          IO days in advance is not possible due to un anticipated circumstances, you must notify the probation officer withi n 72 hours of
         becoming aware ofa change or ex pected change.
  8.     You must not communicate or interact with someone you know is engaged in cri minal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getti ng the perm ission of
         the probation officer.
  9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
         was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
         tasers).
  I I.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the cou11.
  12.    If the probation officer detem1ines that you pose a risk to another person (including an organization), the probation officer may
         req uire you to notify the person abou t the risk and you must comply with that instruction. The probation officer may contact the
         person and confirm that you have notified the person about the risk.
  13.    You must fo llow the instructions of th e probation officer re lated to the conditions of supervision.



  U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the condi tions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For fw1her information regarding these conditions, see Oven,iew of Proba1ion and Supervised
 Release Condilions, availab le at: www.uscourts.gov


  Defendant's Signature _ _ _ __ _ _ _ __ _ _ _ __ _ _                           Date




                                                                      J.A. 047
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  AO 245B (Rev. 09/19) (VAE 11/21) Judgment in a Criminal Case                                                  Page 5 of6
           Sheet 3A - Supervised Release

  Case Num her:                 1:22-cr-00051
  Defendant's Name:             McDonald, Stuart Clay


                                       SPECIAL CONDITIONS OF SUPERVISION

  I) The defendant shall undergo substance abuse treatment and monitoring as directed by the probation officer.
  2) The defendant shall submit to polygraph testing as directed by the United States Probation Officer as part of the
     defendant's sex offender therapeutic program. The costs of the testing are to be paid by the defendant, as directed
     by the probation officer.
  3) The defendant shall undergo mental health treatment and monitoring as directed by the probation officer.
  4) The defendant shall not engage in employment or volunteer services that allow him access to computers or
     minors.
  5) The defendant shall not purchase, possess or view any sexually explicit material or images using young juvenile
     models under the age of 18 in any format including, but not limited to, in magazines, books, on the computer, or
     any electronic device, in videos, movies and television.
  6) The defendant shall have no contact with minors unless supervised by a competent, informed adult, approved in
     advance by the probation officer.
  7) The defendant shall not utilize any sex-related adult telephone services, websites, or electronic bulletin boards.
     The defendant shall submit any records requested by the probation officer to verify compliance with this
     condition including, but not limited to, credit card bills, telephone bills, and cable/satellite television bills.
  8) Pursuant to the Adam Walsh Child Protection and Safety Act of 2006, the defendant shall register with the state
     sex offender registration agency in any state where the defendant resides, works, and attends school, according to
     federal and state law and as directed by the probation officer.
  9) Pursuant to the Adam Walsh Child Protection and Safety Act of 2006, the defendant shall submit to a search of
     person, property, house, residence, vehicle, papers, computer, other electronic communication or data storage
     devices or media, and effects at any time, by any law enforcement or probation officer with reasonable suspicion
     concerning unlawful conduct or a violation of a condition of supervision, upon prior notification to and approval
     by the court or with a warrant.




                                                                 J.A. 048
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  AO 245B (Rev. 09/19) (VAE 11/21) Judgment in a Criminal Case                                                                        Page 6 of 6
           Sheet 7 - Denial ofFederal Benefits

  Case Number:                  I :22-cr-00051
  Defendant's
                                               CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment              Restitution           Fine
    TOTALS            $   200.00               $ TBD                  $ 0.00




                                                    SCHEDULE OF PAYMENTS
  Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

  The special assessment shall be do in full immediately.

  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
  due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
  Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

  Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
  assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
  including cost of prosecution and court costs.




                                                                 J.A. 049
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                            IN THE UNITED STATES DISTRICT COURT FOR THE
                                    EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division

         UNITED STATES OF AMERICA                            )
                                                             )
                       v.                                    )
                                                             )        Criminal No. I :22-cr-5 l
         STUART CLAY MCDONALD,                               )
                                                             )
                       Defendant.                            )

                                                     ORDER
                Upon consideration of the United States' Motion to Continue the forfeiture and restitution

         hearing, and for good cause shown, it is hereby


                ORDERED that said motion is Granted; and


                FURTHER ORDERED that this matter is hereby rescheduled from November 7, 2022, to

         December 12, 2022 at 10:00am for the forfeiture and restitution hearing.




                              •   -"J A,)~           ,a/
                ENTERED this ~ ~ day of             IVt.,-v-. 2022.




                                              J.A. 050
USCA4 Appeal:
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                             IN THE UNITED STATES DISTRICT COURT FOR THE
                                     EASTERN DISTRICT OF VIRGINIA
                                            Alexandria Division

         UNITED STATES OF AMERICA                              )
                                                               )
                        v.                                     )
                                                               )       Criminal No. 1:22-cr-51
         STUART CLAY MCDONALD,                                 )
                                                               )
                        Defendant.                             )


                       MOTION FOR A PRELIMINARY ORDER OF FORFEITURE

                Comes now the United States of America, by counsel, and moves this Honorable Court to

         enter a preliminary order of forfeiture in this case pursuant to Fed. R. Crim. P. 32.2(b).

         Specifically, the government seeks the forfeiture of one Seagate hard drive, serial number

         NA05H5FZ (“ the hard drive”). As explained in more detail below, the information contained in

         the presentence report supports the forfeiture of the hard drive.

                                            FACTUAL BACKGROUND

                The facts of this case are set forth in great detail in the presentence report (Document

         251). The government does not intend to repeat the facts of the case in detail, rather the

         government will only highlight those portions of the facts germane to the nexus between the

         property sought and the offenses of conviction.

                On July 15, 2021, Special Agents with the Federal Bureau of Investigation (FBI)

         executed a search warrant at the defendant’s residence located in Manassas, Virginia.

         Pursuant to the warrant, agents seized a number of electronic devices, including a Dell

         Ultrabook Latitude E7470, Service Tag 2YX9KC2 located on a desk in the defendant’s

         office. The defendant’s employer confirmed that the Dell laptop had been issued to the

         defendant, and thus the laptop belongs to his employer. Law enforcement’s examination of


                                                           1

                                               J.A. 051
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         the Dell laptop uncovered approximately 197 images and 22 videos of unencrypted files, and

         175 images and 86 videos of encrypted files, which depicted prepubescent and pubescent

         minors engaged in sexually explicated conduct including sexually explicit conduct involving

         toddlers, and images of bondage and bestiality.

                On September 9, 2021, the defendant was arrested in Prince William County by FBI

         Special Agents and the Prince William County Police Department. Located within a

         backpack carried by the defendant was a Seagate hard drive bearing serial number

         NA05H5FZ. The hard drive contained pictures of the defendant, documents from his

         employer bearing his name, and a bank statement addressed to the defendant. A forensic

         examination of the hard drive contained approximately 156 videos and images which

         depicted prepubescent and pubescent minors engaged in sexually explicit conduct. The

         forensic examination revealed the images charged in count three of the indictment.

                                            PROCEDURAL HISTORY

                On March 16, 2022, the federal grand jury sitting in Alexandria returned a true bill

         charging McDonald with one count of receipt of child pornography and two counts of child

         pornography possession (Document 27). On May 19, 2022, the defendant pled guilty to count

         one of the indictment alleging receipt of child pornography, in violation of 18 U.S.C. §

         2252(a)(2), and count three of the indictment alleging possession of child pornography, in

         violation of 18 U.S.C. § 2252(a)(4)(B) (Document 36). In the statement of facts, the defendant

         admitted that on September 9, 2021, he was carrying the hard drive in a backpack (Document 37,

         ¶ 6). The defendant also admitted that the hard drive contained pictures of him, documents

         from his employer bearing his name, a bank statement addressed to him, and videos and images

         that constituted child pornography. Id. On August 19, 2022, the defendant was sentenced to 72



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                                              J.A. 052
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         months imprisonment and 10 years of supervised release (Document 51). As the parties had not

         agreed on forfeiture, the government informed the court that it intended to seek forfeiture of

         electronic devices and the court scheduled a separate forfeiture hearing. A forfeiture hearing in

         this case is presently set for December 12, 2022 at 10:00 AM.

                                            STANDARDS GOVERNING

                18 U.S.C. § 2253(a) provides that defendants who are convicted “of an

         offense…involving a visual depiction described in section…2252…shall forfeit” three categories

         of property to the United States. Those categories of forfeitable property are: (1) any book,

         magazine, periodical, film, videotape, or other matter which contains a visual depiction described

         in 18 U.S.C. § 2251 et seq.; (2) any proceeds of the offense; and (3) any property used or

         intended to be used to commit or to promote the commission of the offense. Forfeiture is a

         mandatory aspect of the sentence to be imposed in this case. United States v. Blackman, 746

         F.3d 137, 143 (4th Cir. 2014) (“The word ‘shall’ does not convey discretion… The plain text of

         the statute thus indicates that forfeiture is not a discretionary element of sentencing.”). Courts

         may not deny forfeiture based on equitable considerations. Id. (“Insofar as the district court

         believed that it could withhold forfeiture on the basis of equitable considerations, its reasoning

         was in error.”). See also United States v. Sanders, No. 1:20-CR-143, 2022 WL 3572780, at *3

         (E.D. Va. Aug. 19, 2022) (“Because Section 2253(a)’s forfeiture provisions are mandatory,

         district courts lack authority to deny forfeiture even in the presence of compelling circumstances

         or equitable considerations.”).1




         1
           The Sanders case is currently on appeal in the Fourth Circuit—Sanders is appealing the
         forfeiture order. See United States v. Sanders No. 22-7054.
                                                           3

                                                J.A. 053
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                As the Court is aware, judicial criminal forfeitures are a multi-step process, with the steps

         being found in Fed. R. Crim. P. 32.2 and 21 U.S.C. § 853.2 The first step is the entry of a

         preliminary order of forfeiture or consent order of forfeiture at or prior to the sentencing,

         pursuant to Fed. R. Crim. P. 32.2(b). Fed. R. Crim. P. 32.2(b)(4)(A) provides that, in general, at

         the time of sentencing, the preliminary order of forfeiture becomes final as to the defendant, but

         not as to third parties. Where specific assets are forfeited, third party interests are dealt with in

         the ancillary proceeding, a quiet title-type process covered under 21 U.S.C. § 853(n) and Fed. R.

         Crim. P. 32.2(c). Indeed, Rule 32.2(b)(2)(A) provides that “[t]he court must enter the order

         without regard to any third party’s interest in the property. Determining whether a third party

         has such an interest must be deferred until any third party files a claim in an ancillary proceeding

         under Rule 32.2(c).” Accord United States v. Cox, 575 F.3d 352, 358 (4th Cir. 2009) (“Rule

         32.2 requires the issuance of a preliminary order of forfeiture when the proper nexus is shown,

         whether or not a third party claims and interest in the property.”). Once the government obtains

         a preliminary order of forfeiture with respect to specific property, Rule 32.2(b)(6) and (c) require

         that interested third parties be given notice of the forfeiture and that an ancillary proceeding be

         conducted.

                The United States must prove the nexus between the property to be forfeited and the

         offenses of conviction by a preponderance of the evidence. Libretti v. United States, 516 U.S.

         29, 116 S. Ct. 356 (1995) (criminal forfeiture is part of sentence and not a substantive element of

         offense, so “preponderance of the evidence” standard applies); United States v. Martin, 662 F.3d

         301, 307 (4th Cir. 2011) (“the government must establish a nexus between the property for



         2
          Although 21 U.S.C. § 853 is a drug forfeiture statute, its procedures apply even in this child
         pornography forfeiture accomplished under 18 U.S.C. § 2253 because of the provisions of 18
         U.S.C. § 2253(b).
                                                            4

                                                J.A. 054
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         which it is seeking forfeiture and the crime by a preponderance of the evidence”); United States

         v. Herder, 594 F.3d 352 (4th Cir. 2010) (“The burden is on the government to establish, by a

         preponderance of the evidence, that the property at issue is subject to forfeiture”). As for the

         entry of the preliminary order, Fed. R. Crim. P. 32.2(b)(1)(B) provides that “[t]he Court’s

         determination may be based on evidence already in the record . . . or information presented by

         the parties … after the verdict or finding of guilty.” See, e.g., United States v. Farkas, 474 Fed.

         Appx. 349, 360 (4th Cir. 2012) (under Rule 32.2(b)(1)(B), the Court may base its forfeiture

         determination on evidence already in the record and on any additional evidence or information

         submitted); United States v. Sabhnani, 599 F.3d 215, 262-63 (2d Cir. 2010) (forfeiture may be

         based on testimony in the record from the guilt phase of the trial); United States v. Capoccia, 503

         F.3d 103, 109 (2d Cir. 2007) (the Court may rely on evidence from the guilt phase of the trial,

         even if the forfeiture is contested; it is not necessary for the government to reintroduce that

         evidence in the forfeiture hearing). Reliable hearsay is admissible to establish forfeitability.

         Capoccia, 503 F.3d at 109 (because forfeiture is part of the sentencing, hearsay is admissible to

         establish forfeitability; United States v. Ivanchukov, 405 F.Supp.2d 708, 709 n.1 (E.D.Va. 2005)

         (because the forfeiture hearing is part of the sentencing, reliable hearsay is admissible at the

         forfeiture hearing).

                                                    ARGUMENT

            A. The Electronic Devices are Subject to Forfeiture, pursuant to 18 U.S.C. § 2253(a)(1) and

                (3).

                As described in the factual background section above, the hard drive that the government

         now seeks to have forfeited was forensically examined by the FBI and found to contain images

         constituting child pornography. As explained above, the hard drive sought is connected to count



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         three of the indictment. The defendant pled guilty to this count and agreed in the statement of

         facts that the device contained child pornography.

                Set against the above-described factual background, the hard drive at issue in this case is

         forfeitable under two theories. First, it is subject to forfeiture pursuant to 18 U.S.C. § 2253(a)(1)

         as a matter which contains a visual depiction described in 18 U.S.C. §§ 2251 and 2252A. In

         pleading guilty, the defendant does not contest that the images found on the hard drive form the

         basis of the counts in the indictment constituted visual depictions described in 18 U.S.C. §§ 2251

         and 2252A. See United States v. Warshak, 631 F.3d 266, 331 (6th Cir. 2010) (affirming District

         Court’s refusal to allow defendant, in the forfeiture phase of the case, to introduce evidence

         tending to show that his conduct was not illegal; in the forfeiture phase the legality of the

         conduct is “no longer a live issue” and the only question is the nexus between the property and

         the offense). As set forth in the PSR, the hard drive now sought by the government for forfeiture

         contained such visual depictions of child pornography. The aforementioned device is therefore a

         medium which contains the prohibited visual depictions and is therefore subject to forfeiture

         under 18 U.S.C. § 2253(a)(1). See Sanders, 2022 WL 3572780, at *4 (finding that 18 U.S.C. §

         2253(a)(1) clearly requires forfeiture of the matter or device on which the visual depiction is

         stored).

                The device sought is also property McDonald used to commit the offenses for which he

         pled guilty, making it forfeitable pursuant to 18 U.S.C. § 2253(a)(3). Where a defendant uses

         electronics to access or store child pornography, that electronic device is subject to forfeiture as

         facilitating property, as described in 18 U.S.C. § 2253(a)(3). See, e.g., United States v. Evers,

         669 F.3d 645, 660 (6th Cir. 2012) (where examination of computer hard drive revealed “the

         offending images,” the computer was subject to forfeiture); Sanders, 2022 WL 3572780, at *4



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         (finding electronic devices forfeitable under 18 U.S.C. § 2253(a)(3) where the devices were used

         to access and store visual depictions of child pornography). Again, the evidence described in

         detail in the PSR, showed that the electronic device and storage medium at issue was used to

         store child pornography. Since McDonald used the hard drive for this purpose, it is also subject

         to forfeiture pursuant to 18 U.S.C. § 2253(a)(3).

            B. The Hard Drive is Subject to Forfeiture in its Entirety.

                The use of electronic devices to store such illegal images subjects the devices to

         forfeiture in their entirety, to include any and all contents on the device. See, e.g., United States

         v. Noyes, 557 F. App’x. 125, 127-28 (3d Cir. 2014) (noting that property forfeited under § 2253

         is forfeited in its entirety; thus, when a computer is forfeited in a child pornography case, the

         data stored on the computer is forfeited as well); United States v. Wernick, 673 Fed. App’x. 21

         (2nd Cir. 2016) (affirming district court’s exercise of discretion not to grant motion for the return

         of untainted data that cannot be easily disentangled from tainted data with which it has been

         commingled), affirming United States v. Wernick, 2015 WL 8488774 (E.D.N.Y. Dec. 10, 2015)

         (following Noyes: defendant convicted of child pornography may be ordered to forfeit his

         computer and its peripherals without regard to their containing digital files that were unrelated to

         his criminal offense); Sanders, 2022 WL 3572780, at *7 (finding that a defendant convicted of

         child pornography offenses forfeited his electronic devices in their entirety and has no right to

         the return of noncontraband files stored on them). However, the Ninth Circuit takes a different

         view in United States v. Gladding, 775 F.3d 1149 (9th Cir. 2014), than the Third Circuit takes in

         Noyes, though the Ninth Circuit in Gladding never definitively ruled on the issue. Rather, the

         Ninth Circuit remanded the Gladding case to the District Court.




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                In Gladding, a defendant entered a guilty plea to receiving or distributing child

         pornography and possession of materials containing depictions of minors engaged in sexually

         explicit conduct. The defendant’s plea agreement included a provision that forfeited the

         computers used to commit the offenses. The government agreed to work with Gladding to

         retrieve the non-contraband files on the forfeited computer, after which point Gladding entered

         his plea as described above. After negotiations broke down, Gladding filed a motion for return

         of all non-contraband files on his computers. The U.S. District Court for the Eastern District of

         California then entered a forfeiture order that stated, in part: “The Preliminary Order of

         Forfeiture is made final as to contraband items only.” Gladding, 775 F.3d at 1151.

                The District Court denied the motion for return of property, prompting an appeal.

         Initially, the Ninth Circuit affirmed in an unpublished opinion, United States v. Gladding, 584 F.

         App’x. 464 (9th Cir. 2014). Following a rehearing, however, the Ninth Circuit reversed the

         District Court’s order and remanded the matter, holding that the government’s proffer to the

         District Court that it was almost impossible to separate the non-contraband files from those that

         were contraband did not constitute evidence. Gladding, 775 F.3d at 1153. That point of law is,

         of course, fairly basic and is reflected in a commonly given jury instruction in this District—that

         the comments of the attorneys are not evidence. The Ninth Circuit even noted that “[i]n the

         government’s view, the district court’s forfeiture order did not cover Gladding’s noncontraband

         files even though those files were intermingled with files containing child pornography.” Id.

         (emphasis added). The Ninth Circuit went on to observe that:

                This type of forfeiture order is uncommon according to the government. The
                government contends that, in the normal course, a defendant forfeits all the files
                on an electronic storage device when it forfeits the device itself, whether those
                files are contraband or not. We do not express an opinion on the validity of the
                district court’s order requiring Gladding to forfeit only contraband files….
                But the district court’s prior forfeiture order by its terms excluded those files,


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                instead stating the “Preliminary Order of Forfeiture is made final as to contraband
                items only.”

         Id. at 1153, n. 1 (emphasis added). Since the government in the Eastern District of California

         could not argue that the forfeiture of the devices necessarily included the forfeiture of the data on

         the devices, the government was left with the alternative argument that the difficulty and cost of

         separating the contraband from the non-contraband constituted a legitimate reason to retain

         Gladding’s property. Id. at 1154. On remand to the District Court, the parties ended up

         resolving the matter, obviating the need for further Court intervention. See United States v.

         Gladding, No. 1:09-cr-265 (E.D.Ca. Jan. 25, 2016) (Document 182—review hearing showing

         that the parties resolved the remanded issues).

                It should be noted that this case is not in the same posture as the Gladding case, where the

         order of forfeiture plainly covered only the contraband files within the devices and the

         government conceded as much. In addition, the government agreed to give copies of

         noncontraband materials to the defendant at the change of plea hearing. Here, the government

         has not agreed to give copies of noncontraband items within the hard drive to the defendant. In

         addition, the proposed order of forfeiture lists the devices with no caveats attached. While some

         of the comments in the Ninth Circuit’s Gladding opinion indicate that that Court would entertain

         a more general argument that the forfeiture of an electronic device in a child pornography case

         does not necessarily mean the data within that device is forfeited, the Ninth Circuit in Gladding

         never squarely reached the issue. The Court in Noyes, which reached the issue decided that the

         forfeiture of the device necessarily includes the forfeiture of all data therein, a conclusion which,

         as the government will explain, finds support in the plain language of the applicable forfeiture

         statute and a bedrock principle of forfeiture law—that forfeiture is mandatory.




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                 In the Sanders case, the defendant sought the return of certain noncontraband files

         contained on electronic devices subject to forfeiture, pursuant to 18 U.S.C. § 2253(a)(1) and (3)

         (Exhibit 1). Judge Ellis directly addressed the question of whether 18 U.S.C. Section 2253(a)(1)

         and (3) requires the forfeiture of the electronic devices in their entirety. Judge Ellis held,

         “Section 2253’s text makes unmistakably clear that the government’s position is correct; the

         electronic devices at issue are subject to forfeiture in their entirety under two subsections of §

         2253[(a)(1) and (3)].” Sanders, 2022 WL 3572780, at *4. As required by the Fourth Circuit in

         the Blackman decision, Judge Ellis further declined to consider any equitable considerations. Id.

         at*6. Even if he had, Judge Ellis stated that the equitable considerations still weighed in favor of

         the government. Id. Judge Ellis noted the burden that separating the contraband versus

         noncontraband files would impose on the government. Id. He further stated that it was the

         defendant himself who comingled his data, and noted that the purpose of forfeiture is punishment

         and deterrence. He stated that requiring the forfeiture of the devices in their entirety would serve

         a significant deterrent purpose. Id. Judge Ellis further considered the current case law that has

         addressed this issue and found that these cases also supported that Section 2253 requires the

         forfeiture of the device in its entirety. Id. at *5.

                 For instance, on United States v. Noyes, 557 F. App’x. 125 (3d Cir. 2014), the defendant

         had been convicted of transportation, receipt and possession of child pornography following a

         several day jury trial. Following the guilt phase of that trial, Noyes chose to exercise his right

         under Fed. R. Crim. P. 32.2(b)(5) to retain the jury for forfeiture. The jury found that Noyes

         used two computers to commit the child pornography offenses, and the Court issued a

         preliminary order of forfeiture accordingly. United States v. Noyes, 1:08-cr-55 (W.D.Pa. Apr.




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         13, 2011) (Document 155). The Court later entered a final order of forfeiture in the matter with

         respect to the two computers. Id. (Document 186).

                Noyes filed a motion for return of seized property seeking the return of all non-

         contraband data on the two forfeited computers. The District Court denied the motion and the

         Third Circuit affirmed. The Third Circuit in Noyes took the position that the defendant

         “requested the return of certain files and programs contained on the forfeited computers, but the

         computers as a whole, including all of their files and programs, were subject to the forfeiture

         order.” Noyes, 557 F. App’x. at 127 (emphasis added). The Third Circuit pointed to the child

         pornography forfeiture statute, the same statute at issue in this case, 18 U.S.C. § 2253(a)(3) and

         noted that nothing in the statute indicated that only a portion of computer can be forfeited. Id.

                Likewise, in United States v. Wernick, 148 F.Supp.3d 271 (E.D.N.Y. 2015), the

         defendant was convicted of receipt, distribution, possession and reproduction of child

         pornography, as well as enticing minors to engage in sexual activity. Id. at 272. At Wernick’s

         sentencing, the Court entered a consent order of forfeiture providing for the forfeiture of

         numerous electronic devices. Id. Wernick later filed a motion seeking the return of all contents

         on the electronic devices except for still images and videos, explaining that “[t]hat automatically

         excludes all contraband, such as child pornography, and, beyond that, obviates the need for a

         time-consuming culling of contraband from non-contraband images.” Id. at 273.

                The District Court held that both the order of forfeiture entered in Wernick’s case and 18

         U.S.C. § 2253 precluded the relief Wernick sought. Id. at 274-75. As to the order of forfeiture,

         the District Court cited two points:

                …the listing of the forfeited properties, considered in conjunction with (1) the
                explanation in the order that each of those items was “involved” in the counts of
                conviction, and (2) the resulting court-ordered forfeiture of all of the defendant’s



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                interest in such items (which, of semantic necessity, includes their contents in toto
                and related mirror-images), is fatal to his claim…

         Id. at 275 (emphasis in the original). The District Court in Wernick concluded that “[i]n sum,

         defendant’s effort to limit the scope of the Order to contraband is not only inconsistent with its

         language and with the terms of Section 2253(a) but is also contrary to the persuasive rationale set

         forth in Noyes.” Id. at 276. As explained herein, the same could be said in this case.

                On appeal, the Second Circuit stated that the district court did not err in denying

         Wernick’s Rule 41(g) motion. United States v. Wernick, 673 F. App’x 21, 25 (2d Cir. 2016).

         The court noted that Wernick did not seek files that could easily be disentangled from the

         devices; rather, he sought all non-pictorial files on the hard drive and meta data. Id. The Second

         Circuit in Wernick also noted that it was “impossible confidently to conclude that none of the

         data was used to facilitate the offenses of conviction (such as contact information for parties to

         the crimes or records of internet chats concerning the criminal activity).” Id. However, the

         Second Circuit stated that it was not deciding the question of whether defendants were entitled to

         data unconnected to the offense of conviction that is located on an electronic device that is itself

         forfeitable as property used to commit the offense, pursuant to 18 U.S.C. § 2253(a)(3). Id. at 26.

                As the Court is aware, it has become well-established that forfeiture is mandatory.

         United States v. Blackman, 746 F.3d 137, 143 (4th Cir. 2014) (statutory language providing “that

         the district court shall order forfeiture” meant forfeiture was mandatory). The fact that forfeiture

         is mandatory means that the Court must order the forfeiture of all assets covered by the forfeiture

         statute connected to the offense of conviction. See, e.g., United States v. Evick, 286 F.R.D. 296,

         298 (N.D.W.Va. 2012) (“…the Fourth Circuit has specifically ruled that a district court does not

         have the discretion to ignore a statutory forfeiture provision…this Court is required to impose

         statutory forfeiture provisions upon the conviction of a defendant”) (citing United States v.


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         Jalaram, Inc., 599 F.3d 347, 351 n.3 (4th Cir. 2010)). As one Appellate Court has observed, “the

         district court has no discretion to reduce or eliminate mandatory criminal forfeiture.” United

         States v. Newman, 659 F.3d 1235, 1240 (9th Cir. 2011). As referenced above, the proposed

         preliminary order of forfeiture in this case references two classes of property covered under 18

         U.S.C. § 2253—matter which contains child pornography and property facilitating the offenses.

         Specifically, in pertinent part 18 U.S.C. § 2253 provides:

                       (a) Property subject to criminal forfeiture.—A person who is convicted of
                an offense under this chapter involving a visual depiction described in section
                2251, 2251A, 2252, 2252A, or 2260 of this chapter or who is convicted of an
                offense under section 2252B of this chapter,, or who is convicted of an offense
                under chapter 109A, shall forfeit to the United States such person’s interest in—

                       (1) any visual depiction described in section 2251, 2251A, or 2252
                2252A, 2252B, or 2260 of this chapter, or any book, magazine, periodical, film,
                videotape, or other matter which contains any such visual depiction, which was
                produced, transported, mailed, shipped or received in violation of this chapter;

                        (3) any property, real or personal, used or intended to be used to commit
                or to promote the commission of such offense or any property traceable to such
                property.

         (emphasis added). Of course, in determining the meaning of a statute, “words will be interpreted

         as taking their ordinary, contemporary, common meaning.” United States v. Serafini, 826 F.3d

         146, 149 (4th Cir. 2016) (quoting Perrin v. United States, 444 U.S. 37, 432 (1979)). 18 U.S.C. §

         2253(a)(1) makes clear that forfeiture is not limited to the offending image itself, rather it

         includes the medium on which that image is stored—“any book, magazine, periodical, film,

         videotape, or other matter which contains any such visual depiction.” Under the statute as

         written, the Court cannot order only the forfeiture of the page in the magazine that has an image

         of child pornography, rather the whole magazine must be forfeited, even if it is otherwise full of

         completely innocent material. The statute, the application of which is mandatory and which may

         not be reduced, thus requires the forfeiture of the offending images and the electronic devices


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         those images were on. Judge Ellis agreed and determined in the Sanders case that the clear

         language of the statute requires the forfeiture of the device in its entirety. Sanders, 2022 WL

         3572780, at *6.

                Furthermore, the Court should be skeptical of a rule which obligates the government to

         expend considerable resources, both in time and money, to extract innocent data from a

         defendant’s computer when he chooses to store contraband on the same media along with the

         innocent data, something the defendant alone could have avoided had he simply not comingled

         his contraband with innocent data in the first place. Further, based on the above authorities, the

         Court is not writing on a blank slate with respect to the issue presented here. The statute at issue,

         18 U.S.C. § 2253 requires the forfeiture of any device containing child pornography and any

         device used as facilitating property. Under the statute, one need not pause to consider how much

         child pornography remains on the device, rather the whole device must be forfeited if used in this

         manner. Congress could have limited forfeitures under 18 U.S.C. § 2253 to the photos

         themselves, but they did not and Fourth Circuit precedent requires that the statute be given its

         plain meaning as written.

                The federal Courts in the United States that have squarely confronted and ruled on this

         issue have held that the whole device must be forfeited under 18 U.S.C. § 2253. Given the

         amount of data on the hard drive, the undertaking of separating contraband and noncontraband

         data would be time consuming and difficult. As the Court is aware, a great number of child

         pornography and child exploitation cases make their way through the federal Courts in the

         Eastern District of Virginia every year. Needless to say, if every one of those child pornography

         and exploitation defendants each year could force law enforcement agencies to engage in

         separating some noncontraband files from the electronic devices subject to forfeiture, it would be



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         an enormous drain on their resources. In so draining their resources, it would also take them

         away from their important mission of protecting children from predators.

                               PROCEDURE WITH RESPECT TO THIS MOTION

                Fed. R. Crim. P. 32.2(b)(4)(A) provides that, at sentencing, a preliminary order of

         forfeiture becomes final as to the defendant. Therefore, as a general rule, a preliminary order of

         forfeiture must be entered as to a defendant by the time of sentencing. See, e.g., United States v.

         Petrie, 302 F.3d 1280, 1284-85 (11th Cir. 2002) (preliminary order of forfeiture entered

         approximately six months after the defendant’s sentencing vacated because the District Court no

         longer had jurisdiction to enter the order). But see United States v. Martin, 662 F.3d 301, 307

         (4th Cir. 2011) (missing the sentencing deadline to enter a forfeiture order does not deprive the

         District Court of jurisdiction to do so, provided the Court makes clear prior to sentencing that it

         plans to order forfeiture); United States v. Mearing, Case No. 18-4026, at p. 4-5 (4th Cir. May

         29, 2018) (citing Martin). The government notes that under Local Criminal Rule 47, a defendant

         has fourteen days to file a response to this motion and register his objection to the forfeiture.

                Fed. R. Crim. P. 32.2(b)(4)(B) provides that the Court “must include the forfeiture when

         orally announcing the sentence or must otherwise ensure that the defendant knows of the

         forfeiture at sentencing.” That same rule also provides that the Court “must…include the

         forfeiture order, directly or by reference, in the judgment.”

                                                   CONCLUSION

                Since the hard drive contains child pornography that the defendant admitted that he

         possessed, it is subject to forfeiture pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3). The

         government therefore respectfully requests that the Court enter a preliminary order of forfeiture




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         forfeiting the electronic device to the United States. A proposed order is attached for the Court’s

         consideration.



                                                              Respectfully submitted,

                                                              JESSICA D. ABER
                                                              UNITED STATES ATTORNEY


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                                         CERTIFICATE OF SERVICE

                I hereby certify that, on the 14th day of November 2022, I electronically filed the

         foregoing with the Clerk of Court using the CM/ECF system which will send a notification of

         such filing (NEF) to all counsel of record.




                                               By:     /s/Annie Zanobini
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                             EXHIBIT 1




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                             IN THE UNITED ST ATES DISTRICT COURT FOR THE
                                     EASTERN DISTRICT OF VIRGINIA
                                            Alexandria Division

        UNITED ST ATES OF AMERICA,                            )
                                                              )
                        v.                                    )   Criminal Action No. l:20-cr-143
                                                              )
        ZACKARY ELLIS SANDERS,                                )
                 Defendant.                                   )

                                          MEMORANDUM OPINION

               A jury, following a seven-day trial, convicted Defendant Zackary Ellis Sanders of five

        counts of production of child pornography, six counts of receipt of child pornography, and one

        count of possession of child pornography. Now before the Court are the government's motion for

        a preliminary order of forfeiture (Dkt. 6 I 0) and defendant's motion for return of non-contraband

        seized property (Dkt. 607). The government seeks forfeiture of nine electronic devices, all of

        which were used in the commission of the offenses of conviction, and which were seized by FBI

        agents on February 12, 2020 in the course of executing a search warrant at Defendant's home.

        Defendant concedes that the electronic devices themselves are subject to mandatory forfeiture,

        but defendant nonetheless seeks the return of certain files contained on these devices, including

       defendant's business records and family photograph, which defendant argues are not subject to

        mandatory forfeiture. Defendant seeks an order directing the government to preserve and return

       copies of the non-contraband content on the devices. The motions have been fully briefed and a

        forfeiture hearing was held April 29, 2022. 1 The motions are therefore ripe for disposition.




        1 Ordinarily, a forfeiture order is entered at the time of sentencing, and sentencing in this case
        occurred on April I, 2022. At the time of defendant's sentencing, however, defendant requested
        additional time to respond to the government's proffered preliminary forfeiture order and
        requested that the forfeiture hearing be continued to a later date. See Defendant's Reply in
        Support of Defendant's Motion for Return of Property, United States v. Sanders, 1:20-cr-00143



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                                                          I.

               The factual and procedural background of this case has been recounted in prior Orders

        and need not be fully repeated here. See, e.g., Sealed Order, United States v. Sanders, 1:20-cr-

        143 (E.D. Va. Apr. 15, 2022) (Dkt. 642) (summarizing defendant's convicted offenses and the

        trial evidence supporting those convictions). In essence, in October 2021, following a seven-day

        trial, defendant was convicted by a jury of twelve counts of possession, receipt, and production

        of child pornography. The trial evidence established that Defendant coerced, persuaded, and

        enticed minor victims to record videos of themselves engaged in sexualized conduct (e.g.

        slapping their testicles) and then to send those videos to Defendant. The trial evidence also

        established that Defendant amassed a collection of child pornography from various websites and

        that Defendant stored that child pornography on various electronic devices. As a result, the

        government seeks forfeiture of the following nine electronic devices, all of which contain child

        pornography or were used in commission of the offenses of conviction:

               (a) I 8 I - 4GB Sandisk Cruzer Edge thumb drive (" I 81 "');

               (b) l 82 - HP Elite Book 755 laptop ("182'");

               (c) 183 - Lexar 3208 thumb drive ("183");

               (d) 185 - HP laptop SIN: 5CH1262Y5Y (""185"");

               (e) 186 - HP laptop S/N: CNF8255WH5 (''186");

               (f) 1819-Apple iPad, SIN: DMPVGGCPHDDV ("1819");


        (E.D.Va. Mar. 31, 2022) (0kt. 612 at 1). Defendant's motion to continue the forfeiture hearing
        was granted, and the forfeiture hearing was continued until Aril 29, 2022.

        During defendant's sentencing, counsel for both parties agreed that Fourth Circuit precedent
        established that a sentencing court may retain jurisdiction to enter a forfeiture order after
        sentencing, provided that, as occurred here, the sentencing court makes clear at the time of
        sentencing that a forfeiture order would be forthcoming at a later time. See United States v.
        i'vlartin, 662 F.3d 30 l, 307 (4th Cir. 2011 ).

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                (g) l 822 - Apple iPad, SIN: DMPHM3K7DVGF ("l 822");

                (h) l 824 - Apple iPhone, FCC ID: 8CG-E2430A ("I B24"); 2 and

                (i) 1B27 - Apple iPhone SIN; C39V J0XDJCL6 ("1 B27").

                Trial testimony and admitted evidence establishes that all of these electronic devices

        contained child pornography and were used by Defendant in the commission of the offenses of

        conviction. Specifically, trial testimony included:

            •   Special Agent Christopher Ford testified that he imaged and examined devices l B 1, 182,
                l 83, and 185, and that those devices each contained images of child pornography
                (relating to the possession of child pornography charges).

            •   Agent Ford also testified that he examined I 819 and that, based on Agent Ford's
                examination, I 819 was used to chat online with minors to produce and receive child
                pornography.

            •   Agent Ford testified that he examined 1822 and that l 822 was used to chat online with
                minors to produce and receive child pornography.

            •   Agent Ford testified that he examined l 827 and that 1827 was used to receive child
                pornography.

                In addition to the trial testimony, the government submitted two declarations in support

        of forfeiture. First, Special Agent Emily Eckert submitted a declaration in support of the

        government's forfeiture motion in which Eckert explained that a forensic examination of the

        electronic devices found images and videos of child pornography on each device. See

        Declaration of Special Agent Emily T. Eckert, United States v. Sanders, 1:20-cr-00143 (E.D.Va.

        Mar. 29, 2022) (Dkt. 610-1 ). Second, FBI Special Agent Andrew Kochy also submitted a

        declaration in support of the government's forfeiture motion in which Agent Kochy described

        the burden the government would bear if the government were required to review the files on

        these electronic devices and segregate contraband from non-contraband files. See Declaration of

        2
          The government's proposed forfeiture order incorrectly identified device 1B24 as an Apple
        iPad, see Dkt. 610, but the government corrected this error during the April 22 forfeiture hearing.

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        Special Agent Andrew Kochy, United States v. Sanders, 1:20-cr-00143 (E.D.Va. Mar. 29, 2022)

        (0kt. 610-1 at 7). Specifically, Agent Kochy stated that an FBI agent would be required to

        ''inspect every picture, text message, email, document, and file" on these devices to ensure that

        the files Defendant seeks contain no contraband or evidence of Defendant's crimes. 3 Dkt. 610-1

        at 9. Thus, agents would be required to engage in the time-consuming effort of reviewing each

        file for contraband content before separating contraband content in order to separate contraband

        from non-contraband files.

                                                          III.

               The forfeiture of property in child pornography prosecutions is governed by 18 U.S.C.

        § 2253. In essence, the parties dispute the proper scope of that statutory provision. Section

        2253(a) provides that defendants who are convicted of child pornography offenses are required

        to forfeit certain property used in connection with those offenses. See 18 U .S.C. § 2253(a).

        Because Section 2253(a)'s forfeiture provisions are mandatory, district courts lack authority to

        deny forfeiture even in the presence of compelling circumstances or equitable considerations. In

        this respect, the Fourth Circuit has been clear that "[t]he plain text of the statute thus indicates

        that forfeiture is not a discretionary element of sentencing." United States v. Blackman, 746 F.3d

        137, 143 (4th Cir. 2014). Indeed, in Blackman, the Fourth Circuit explicitly held that the district

        court erred in ''believe[ing] that it could withhold forfeiture on the basis of equitable

        considerations." Id. Thus, equitable considerations must play no role in determining whether the

        electronic devices are subject to forfeiture in their entirety.




        3
         As discussed in more detail below, the term "contraband" refers to all property subject to
        mandatory forfeiture. The term "contraband" encompasses not only images of child
        pornography, but also includes any electronic files used in the commission of the convicted
        offenses as well as any information identifying or relating to the minor victims in this case.

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                The government bears the burden of "establish[ing] a nexus between the property for

        which it is seeking forfeiture and the crime by a preponderance of the evidence." United States v.

        Martin, 662 F.3d 30 l, 307 (4th Cir. 2011 ). The government has clearly satisfied its burden in this

        case, as the trial evidence and the declarations of Special Agents Eckert and Kochy, see 0kt.

        610-1, establish that all nine electronic devices at issue here contain visual depictions of child

        pornography and were used by defendant in the commission of his child pornography offenses. 4

        Defendant does not contest that all nine electronic devices arc subject to forfeiture.

                Although the parties agree that the nine electronic devices are subject to mandatory

        forfeiture under§ 2253, the parties disagree about whether§ 2253 applies to non-contraband

        files stored on those devices. The government argues that the provisions of§ 2253

        unambiguously require forfeiture of the electronic devices in their entirety, and that the

        defendant is not entitled to the return of certain non-contraband files stored on those devices. See

        Dkts. 610, 641. Defendant, in contrast, argues that the forfeiture statute does not apply to the

        non-contraband files contained on those files, and that the government is required to return to

        defendant non-contraband files which the government can easily identify and separate from the

        contraband files. Specifically, the defendant seeks the return of certain allegedly non-contraband

        files-business records and family pictures-stored on the devices designated as 1B2, l B 19, and

        1B27.




        4
          Under Rule 32.2(b)(l)(B), Fed. R. Crim. P., the determination of a nexus between the property
        and the crime of conviction "may be based on evidence already in the records ... or information
        presented by the parties ... after the verdict or finding of guilty." Rule 32.2(b)(l)(B); accord
        United States v. Farkas, 474 Fed. App'x. 349,360 (4th Cir. 2012) (holding that a district court
        may rely on additional evidence submitted during sentencing in determining the scope of a
        forfeiture order). Thus, the declarations of Special Agents Eckert and Kochy are properly
        considered as part of the factual record at this stage of proceedings.

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                Section 2253(a) specifically identifies three categories of property subject to mandatory

        forfeiture:

                      ( 1) any book, magazine, periodical, film, videotape, or other matter which
                           contains any such visual depiction [of child pornography], which was
                           produced, transported, mailed, shipped or received in violation of this
                           chapter;

                      (2) any property, real or personal, constituting or traceable to gross profits or
                          other proceeds obtained from such offense; and

                      (3) any property, real or personal, used or intended to be used to commit or to
                          promote the commission of such offense or any property traceable to such
                          property.

                      18 U.S.C. § 2253(a).

                Notably, nowhere does the statute provide that only some portion of the property

        containing child pornography should be subject to forfeiture. Nor does the statute provide that

        non-contraband material on the devices should be separated from contraband materials on the

        devices and returned to a defendant. Instead, the statute clearly requires forfeiture of "any ...

        matter which contains" a visual depiction of child pornography, and thus requires the forfeiture

        not only of the visual depiction itself, but also the matter or device on which that visual depiction

        is stored. 18 U.S.C. § 2253(a)(l). Accordingly, any and all property used to commit a child

        pornography offense must be forfeited to the government under§ 2253(a)(3). 5 The statute on its

        face thus requires that Defendant must forfeit the nine electronic devices in their entirety. And as




        5
         This result is also consistent with the Fourth Circuit's interpretation of forfeiture provisions in
        other areas of criminal laws. For example, the Fourth Circuit has held that the forfeiture laws
        governing drug prosecutions, see 21 U.S.C. § 88 l (a), requires forfeiture of an entire property
        even if drug sales occurred only on a small portion of that property. See United States v. Santoro,
        866 F.2d 1538, 1542-43 (4th Cir. 1989) (holding that the statutory text, and not the defendant's
        "subjective characterization of the property," must "serve as the legal basis" for determining
        what property is subject to forfeiture).

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       discussed below, none of Defendant's arguments against forfeiture are persuasive and thus

        Defendant's opposition to forfeiture of the entire device must fail.

               Because the parties disagree on the scope of 18 U.S.C. § 2253, the question presented in

        this matter is a question of statutory interpretation. Thus, the analysis must "begin, as always in

       deciding questions of statutory interpretation, with the text of the statute." Othi v. Holder, 734

        F.3d 259,265 (4th Cir. 2013). Section 2253's text makes unmistakably clear that the

        government's position is correct; the electronic devices at issue are subject to forfeiture in their

       entirety under two subsections of§ 2253.

               First, the electronic devices are subject to forfeiture under § 2253(a)(l) because they are

       ·'any ... other matter which contains any such visual depiction" of child pornography. 18 U.S.C.

        § 2253(a)(l ). There is no dispute that each of the nine electronic devices contain images of child

        pornography, and thus each electronic device falls within the scope of§ 2253(a)(l). Notably,

        Section 2253(a)( l) makes no exception for non-contraband material contained on the electronic

        devices, and instead requires that any and all matter containing child pornography (i.e. the nine

       devices at issue here) are subject to forfeiture. To the contrary, § 2253(a)( l) clearly requires

        forfeiture of the matter containing the visual depictions-i.e. the electronic storage devices.

                Second, the nine electronic devices are also subject to forfeiture in their entirety under

        § 2253(a)(3), which requires forfeiture of "any property, real or personal, used or intended to be

        used to commit or to promote the commission of such offense or any property traceable to such

        property." 18 U.S.C. § 2253(a)(3). Here, the electronic devices the government seeks to be

        forfeited quality as property used to commit the offenses, given that these electronic devices

        were all used by the defendant to access and store visual depictions of child pornography.

        Defendant also used these electronic devices (i) to direct his minor victims to produce sexually



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        explicit images of themselves and (ii) to receive those images from his victims. See 0kt. 610-1 at

        4-5. Thus, these electronic devices were also used to facilitate the convicted offenses of

        production and receipt of child pornography. Like Section 2253(a)(l ), Section 2253(a)(3) applies

        to any property used to commit a child pornography offense and does not contain an exception

        for non-contraband portions of property. Accordingly, many of the electronic devices are subject

        to forfeiture in their entirety under§ 2253(a)(3).

               Thus, there is no doubt that the plain and unambiguous text of 18 U.S.C. § 2253(a)

        requires the forfeiture of the electronic devices in their entirety if the devices contain child

        pornography or were used to commit child pornography offenses. As the Fourth Circuit has

        made clear in statutory interpretation cases, where, as here, "the text is unambiguous, [the]

        inquiry is complete ... Taylor v. Grubbs, 930 F.3d 611, 616 (4th Cir. 2019) (citing Nat'/ Ass 'n of

        1'v((rs. v. Dep't ofDef,-V.S. - - , 138 S. Ct. 617,631 (2018)). Indeed, the Supreme Court

        has observed that criminal forfeiture provisions "punish wrongdoing ... [and] deter future

        illegality," Kaley v. United States, 571 U.S. 320,323 (2014). And the plain language of§

        2253(a) reflects Congress's clear purpose to deter and prevent further child pornography

        offenses. As discussed below, a review of persuasive caselaw confirms this result.

               Although the Fourth Circuit has not ruled on this precise issue, two well-reasoned

        opinions of other federal courts of appeals analyzing this issue have reached the conclusion that

        in child pornography cases, non-contraband files stored on contraband electronic devices must be

        forfeited along with the devices themselves. In United States v. Noyes, 557 Fed. App'x. 125 (3d

        Cir. 2014), the Third Circuit held that electronic devices used in connection with a child

        pornography conviction were subject to forfeiture in their entirety, including all of the files,

        contraband and non-contraband, stored on those devices. As occurred here, the defendant in



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        Noyes requested an order requiring the government to return to defendant any non-contraband

        electronic files stored on those devices. The Noyes Court denied this request, observing that the

        forfeiture statute in child pornography cases required defendants to forfeit "any property, real or

        personal, used or intended to be used to commit or to promote the commission of such offense or

        any property traceable to such property.'· Noyes, 556 Fed. App'x at 127 (citing 18 U.S.C. §

        2253(a)(3)). The Noyes Court explained that "[t]here is nothing in the statute which indicates that

        only a portion of the property can be forfeited," Noyes, 557 Fed. App'x at 127, and accordingly

        the Noyes Court held that the child pornography forfeiture statute required forfeiture of the

        electronic devices as well as all files stored on those devices, including non-contraband files.

                The Second Circuit reached a similar conclusion in Unired Srares v. Wernick, 673 Fed.

        App'x. 21, 25 (2d Cir. 2016). There, as here, a defendant convicted of a child pornography

        offense sought return of non-contraband files stored on an electronic device subject to mandatory

        forfeiture under 18 U.S.C. § 2253(a)(3). The Second Circuit denied defendants request,

        explaining that in child pornography prosecutions electronic devices containing child

        pornography were ;'still forfeitable [in their entirety] even if commingled with legitimate

        property." Wernick, 673 Fed. App'x at 25. The Second Circuit also explained that such a request

        would be difficult to grant even if defendant identified specific files, as "[i]t is impossible

        confidently to conclude that none of the data requested was used to facilitate the offenses of

        conviction (such as contact infommtion for parties to the crimes or records of internet chats

        concerning the criminal activity)." Id.

                In his briefs opposing forfeiture, defendant cites various out-of-circuit cases to argue that

        the electronic devices are not subject to forfeiture in their entirety. But this caselaw fails to

        persuade, as none of the cases cited by defendant involve construction of 18 U.S.C. § 2253, the



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        governing statute in this case. Accordingly, none of these cases are applicable and therefore these

        cases do not suggest, yet alone require, a conclusion different from the result reached here

                Defendant argues that an opinion of the Ninth Circuit, United States v. Gladding, 775

        F.3d 1149 (9th Cir. 2014), reached the opposite result and requires that the government return

        defendant's non-contraband files. This is an inaccurate reading of Gladding. The Gladding Court

        interpreted a district court's forfeiture order, not the text of§ 2253(a). At issue in Gladding was

        whether the district court's forfeiture order which excluded "noncontraband files even though

        those files were intermingled with files containing child pornography," id. at 1153, nonetheless

        applied to non-contraband files. The government in Gladding sought forfeiture of the non-

        contraband files notwithstanding that those files were not included in the forfeiture order. The

        Ninth Circuit acknowledged that "this type of forfeiture order [issued in Gladding] is

        uncommon ... " because "in the normal course, a defendant forfeits all the files on an electronic

        storage device when it forfeits the device itselt~ whether those files are contraband or not." Id. at

        1153, n. I. But the government in Gladding never argued that the forfeiture order should be

        amended to cover all the files on the electronic devices, and there is no indication that the

        Gladding Court considered the proper interpretation of§ 2253(a). To the contrary, the Ninth

        Circuit explicitly "d[id] not express an opinion on the validity of the district court's order

        requiring [defendant] to forteit only contraband files" and further, the Gladding Court declined

        to ·'preclude the district court from amending its forfeiture order on remand to include the

        noncontraband files that [defendant] seeks in his motion to the extent permitted by law." Id.

        Thus, the Gladding Court expressly declined to consider the issue presented in this case, namely

        whether the child pornography forfeiture statute, 18 U.S.C. § 2253(a), requires forfeiture of all

        files housed on electronic storage devices if those devices are used to commit child pornography



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        offenses. Accordingly, Gladding does not suggest that defendant should prevail on his motion

        for return of non-contraband property.

               Defendant also cites additional caselaw which does not involve application of§ 2253(a)

        and is therefore inapplicable to the instant case. For example, defendant cites United States v.

        Conrad, 2013 WL 4028273, No. 3:12-cr-00134-K-34 (TEM) (M.D. Fla. May 14, 2013), which

        Defendant claims stands for the proposition that courts have developed a standard practice for

        separating contraband and non-contraband materials in forfeiture disputes. But Conrad involved

        a motion for return of property under Rule 41, Fed. R. Crim. P., and the opinion relied on by

        defendant does not even cite, yet alone analyze, 18 U.S.C. § 2253(a), which controls the

        mandatory forfeiture in this case. Defendant also cites United States v. Reaid, 4: 10-cr-00042

        (N.D. Fl., June 11, 2012) for the proposition that courts may order the return of non-contraband

        property. Once again, however, the Reaid opinion did not entail an analysis of§ 2253(a); that

        opinion dealt instead with a motion for return of property under Rule 41. Thus, the Reaid opinion

        does not concern the proper scope of§ 2253(a), which, as discussed above, compels the

        forfeiture of the electronic devices in their entirety even if the device contains some non-

        contraband material. In sum, defendant relies on inapplicable and unpersuasive cases, none of

        which interprets§ 2253(a), the statute that undoubtedly governs this child pornography forfeiture

        dispute.

               As discussed above, the plain text of§ 2253(a) requires forfeiture of the electronic

        devices in their entirety, and the Fourth Circuit has held that courts imposing mandatory

        forfeiture under§ 2253(a) may not decline to require forfeiture based on equitable

        considerations. See Blackman, 746 F.3d at 143. But even if equitable considerations were




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        considered, it is clear that those considerations favor a ruling requiring Defendant to forfeit the

        electronic devices in their entirety.

                First, the government has demonstrated, through trial testimony and declarations

        submitted in support of the instant forfeiture motion, that compliance with defendant's request

        for return of some files would impose an unwarranted and substantial burden on government

        resources. In his declaration, FBI Special Agent Kochy advised that it would take considerable

        time for FBI forensic examiners to comb through the electronic devices at issue and segregate

        contraband from non-contraband files. See 0kt. 610-2. The government also notes that the task

        of separating contraband from non-contraband files is more complicated than merely separating

        pornographic images from non-pornographic ones. For example, the trial evidence in this case

        demonstrated that the Defendant offered employment in his businesses to several of the minor

        victims. Thus, some of the business files the Defendant seeks to be returned may contain

        information identifying defendant's minor victims, and thus such files could only be returned to

        the Defendant with identifying information redacted. See 18 U.S.C. § 3509, 3771. It would

        necessarily take detailed review of each file to ensure that no contraband material was

        inadvertently disclosed to the defendant. This review would require government personnel to

        devote substantial time; given the number of child pornography cases prosecuted in this District,

        manual review of every electronic device subject to forfeiture would be entirely unworkable

        given finite government resources. 6



        6
          Defendant, in his briefing on this issue, has offered to pay the government for the costs of
        identifying and returning to defendant the non-contraband files stored on the electronic devices.
        Defend ant's offer to pay the government is insufficient. As the government rightly notes,
        however, even if defendant assisted with the cost of reviewing the files, an FBI technician would
        still be required to review the files and determine which were contraband and which were not
        contraband. This would require that FBI personnel take time away from other jobs, which cannot
        be compensated for by Defendant's payments.
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               Second, any burden to the Defendant in this case is a result of the Defendant's own

       wrongdoing. It is clear that the Defendant is the one who decided to commingle family

       photographs and business records with images of child pornography. Given that the purpose of

       criminal forfeiture is to punish and deter criminals, equity requires a denial of Defendant's

       motion. Forfeiture of the devices in their entirety also serves a significant deterrent purpose. As

       the Fourth Circuit has observed, ''the substantive purpose of criminal forfeiture is not to provide

        protection for defendants but to deprive criminals of the fruits of their illegal acts and deter

        future crimes." Martin, 662 F.3d at 309. Forfeiture of the electronic devices in their entirety is a

        significant deterrent to those who consider trafficking in images of child pornography.

                                                          IV.
                In sum, Defendant asks for the creation of an exception to a statute's mandatory statutory

        forfeiture requirement, based on the premise that it is unfair to deprive Defendant of family

        photographs and business records stored on the forfeited devices. But the exception Defendant

        seeks comes not from the statute's clear text, which contains no such exception for non-

        contraband files housed on a contraband device; instead, Defendant's proposed exception comes

        from reliance on equitable considerations. But the Fourth Circuit has explicitly held that

        sentencing courts may not deny forfeiture based on equitable consideration in cases involving

        forfeiture under 18 U.S.C. § 2553. See Blackman, 746 F.3d at 143 ("Insofar as the district court

        believed that it could withhold forfeiture on the basis of equitable considerations, its reasoning

        was in error."). Instead, the plain and unambiguous text of§ 2253(a) requires that the

        government's motion for forfeiture be granted, the defendant's motion for the return of non-

        contraband property be denied, and that the electronic devices at issue be forfeited in their

        entirety.



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                  An Order reflecting the issues in this Memorandum Opinion will issue separately.

                  The Clerk is directed to send a copy of this Memorandum Opinion to all counsel of

        record.

                  Alexandria, Virginia
                  August 19, 2022


                                                                            T. S. Ellis, ill
                                                                            United States Di




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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                       EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division

         UNITED STATES OF AMERICA                              )
                                                               )
                          v.                                   )
                                                               )       Criminal No. 1:22-cr-51
         STUART CLAY MCDONALD,                                 )
                                                               )
                          Defendant.                           )


                                   PRELIMINARY ORDER OF FORFEITURE

                   WHEREAS, on May 19, 2022, defendant Stuart Clay McDonald pled guilty to count one

         of the indictment alleging receipt of child pornography, in violation of 18 U.S.C. § 2252(a)(2),

         and count three of the indictment alleging possession of child pornography, in violation of 18

         U.S.C. § 2252(a)(4)(B);

                   AND WHEREAS, the Court’s jurisdiction is founded upon 18 U.S.C. §§ 2253(a)(1) and

         (a)(3);

                   AND WHEREAS, on November 14, 2022, and pursuant to 18 U.S.C. ' 2253, the United

         States filed a Motion for Preliminary Order of Forfeiture requesting the forfeiture of a Seagate

         hard drive, serial number NA05H5FZ;

                   AND WHEREAS, the Court finds the government has established the requisite nexus

         between the property to be forfeited and the offenses of conviction as prescribed by Rule

         32.2(b)(1)(A);

                   NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

         THAT:

                   1.     The following property is forfeited to the United States pursuant to 18 U.S.C. §§

         2253(a)(1) and (a)(3):

                          (a) Seagate hard drive, S/N NA05H5FZ.


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                2.      The government is hereby authorized to seize and take exclusive custody and

         control of the forfeited asset, which is hereby forfeited in its entirety, including any hardware, as

         well as any software or data contained on it.

                3.      Upon the seizure of any property, the government shall, to the extent practicable,

         provide direct written notice to any persons known to have alleged an interest in the seized

         property, and shall publish notice of this order in accordance with Federal Rule of Criminal

         Procedure 32.2(b)(6).

                4.      Any person, other than the defendant, asserting any legal interest in the property

         may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,

         petition the Court for a hearing to adjudicate the validity of their alleged interest in the property.

                5.      Following the Court's disposition of all timely petitions filed, a final order of

         forfeiture shall be entered. If no third party files a timely petition, this order shall become the

         final order of forfeiture, as provided by Federal Rule of Criminal Procedure 32.2(c)(2), and the

         United States shall have clear title to the property, and shall dispose of the property in

         accordance with law.

                6.      Pursuant to Rule 32.2(b)(4)(B), this order of forfeiture shall be included in the

         Judgment imposed in this case.



                        Dated this _______ day of ____________________ 2022.


                                                         ____________________________________
                                                         UNITED STATES DISTRICT JUDGE




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         I Ask For This:

         Jessica D. Aber
         United States Attorney


         By:    /s/ Annie Zanobini
                Annie Zanobini
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                California State Bar No. 321324
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division

          UNITED STATES OF AMERICA
                                                      Case No. 1:22-CR-51
                    v.
                                                      Hon. Claude M. Hilton
          STUART CLAY MCDONALD,
                                                      Hearing: December 12, 2022
                     Defendant.


          MR. MCDONALD’S OBJECTION TO ENTRY OF PRELIMINARY ORDER
                OF FORFEITURE PROFFERED BY THE GOVERNMENT
               Defendant Stuart Clay McDonald, through undersigned counsel, hereby

         opposes entry of the proposed preliminary order of forfeiture proffered by the

         government. The government’s motion, which sets forth the procedural history,

         proposes entry of an order that would effectuate Mr. McDonald’s forfeiture of any

         interest in a Seagate hard drive “including any . . . software or data contained on it.” 1

               Mr. McDonald agrees that 18 U.S.C. § 2253(a)(1) provides that he forfeits any

         interest in any contraband found on the Seagate hard drive (namely child

         pornography images that underlie a portion of his guilty plea), and 18 U.S.C. §

         2253(a)(3) provides that he forfeits the hard drive itself. However, the statute doesn’t

         require forfeiture of any interest in non-contraband data that happen to also be on

         that hard drive, such as family pictures and software development files he created.

         Accordingly, he respectfully requests that the Court not enter the government’s

         proposed order, and instead enter the defense’s proposed order, Exhibit 1



               1   Gov’t Mot., ECF No. 55 at 1-3; Gov’t Prop. Order, ECF No. 55-2.



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                                     GOVERNING STANDARDS
               “Before the Court may enter a preliminary order of forfeiture, it must first

         determine if Congress has statutorily authorized the remedies requested, whether

         forfeiture of the property sought is warranted, and if the procedures for awarding

         such remedies have been followed.” United States v. Poulin, 690 F. Supp. 2d 415, 422

         (E.D. Va. 2010), aff'd, 461 F. App'x 272 (4th Cir. 2012).

               Forfeiture is a creature of statue, and limited by the text of the relevant

         forfeiture provision. Thus, the Rules of Criminal Procedure provide that, where the

         government seeks forfeiture, a “court must determine what property is subject to

         forfeiture under the applicable statute.” Fed. R. Crim. P. 32.2(b)(1)(A) (emphasis

         added); see also United States v. Blackman, 746 F.3d 137, 143 (4th Cir. 2014)

         (forfeiture is “mandatory in cases where the statute applied” (emphasis added)); §

         26.6(d) Forfeiture, 6 Crim. Proc. § 26.6(d) (4th ed.) (“[t]he scope of assets subject to

         forfeiture is limited by statute to that property possessing a prescribed relationship

         with the criminal activity.” (Emphasis added)).

               If, as here, “the government seeks forfeiture of specific property, the court must

         determine whether the government has established the requisite nexus between the

         property and the offense.” Fed. R. Crim. P. 32.2(b)(1)(A). The government bears the

         burden of establishing “a nexus between the property for which it is seeking forfeiture

         and the crime by a preponderance of evidence.” United States v. Martin, 662 F.3d

         301, 307 (4th Cir. 2011) (noting that the preponderance of evidence standard is set

         forth in case law, not Rule 32.2).




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                                              ARGUMENT
               The government contends that the hard drive is forfeited pursuant to 18 U.S.C.

         § 2253(a)(1), which mandates forfeiture of contraband visual images themselves or

         “any book, magazine, periodical, film, videotape, or other matter which contains any

         such visual depiction,” as well as pursuant to §2253(a)(3), which mandates forfeiture

         of “any property . . . used . . . to commit or promote” child pornography offenses. And,

         the government assumes, if the hard drive is forfeited pursuant to these provisions,

         then so too is everything on it, whether contraband or not.

               The government’s position ignores that, as outlined above, a defendant forfeits

         nothing unless a statute explicitly provides for such forfeiture, and fails to consider

         limits to forfeiture in these cases found in the text of § 2253 itself. Further, the

         government fails to adequately consider what does and does not constitute part of the

         hard drive. As explained below:

               •    the non-contraband files are not forfeit pursuant to § 2253(a)(3) because
                    such files were not used to commit the offense, and they are not part of the
                    hard drive itself;
               •    a hard drive does not fall within “other matter which contains” any child
                    pornography, as that phrase is used § 2253(a)(1); and
               •    even if a hard drive itself can be such a “matter” subject to forfeiture
                    pursuant to § 2253(a)(1), the text does not provide that a defendant forfeits
                    non-contraband files that happen to be stored in such “matter.”

         I.    The non-contraband files are not forfeit pursuant to § 2253(a)(3).
               A.      The Court must determine what constitutes the “property” subject to
                       forfeiture pursuant to § 2253(a)(3), that is, what constitutes the “hard
                       drive.”
               Section 2253(a)(3) provides that a person convicted of an offense under Chapter

         110 of Title 18 involving certain types of visual depictions (child pornography) “shall



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         forfeit to the United States such person’s interest in . . . (3) any property, real or

         personal, used or intended to be used to commit or to promote the commission of such

         offense or any property traceable to such property.” (Emphasis added.)

               “Property,” in this context, is a defined term. Specifically, § 2253(b)

         incorporates by reference “Section 413 of the Controlled Substances Act (21 U.S.C. §

         853), with the exception of subsections (a) and (d) . . .” As a result, the following

         applies when construing § 2253(a)(3):

                      Meaning of term “property”
                      Property subject to criminal forfeiture under this section
                      includes—
                      (1) real property, including things growing on, affixed to,
                      and found in land; and
                      (2) tangible and intangible personal property, including
                      rights, privileges, interests, claims, and securities.
         18 U.S.C. § 853(b).

               There is no dispute that Mr. McDonald used the hard drive to commit his

         offense. Nor does the defense dispute that a hard drive is “property,” as used in §

         2253(a)(3) and § 853(a). It is tangible personal property. See § 853(a)(2). But the

         government skips over the need to define the limits of that “property,” i.e., where the

         “hard drive” begins and ends, or what constitutes the “hard drive.” Instead, the

         government simply assumes that the hard drive necessarily includes both the hard

         drive and all of the other intangible property on the hard drive, i.e., that everything

         on the hard drive constitutes part of it.




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                But this is not how courts usually approach the question of how much of

         something the government may forfeit in a given case. That is, even when statutes

         provide for forfeiture of any “lot,” “tract,” “real property,” or any other type of property

         in its entirety, determining if there is a nexus between the defendant’s crime and a

         portion of the lot, tract, or property is only part of the analysis. The Court must also

         determine what constitutes the “tract” or “property” in question. And to do that, courts

         may not simply leap to gut conclusions about where a forfeitable piece of property

         begins or ends, or what is part of it, as the government would have the Court do here.

         Instead, courts must look to logical outside sources to define what constitutes a

         forfeitable item. Doing so in this case leads to the conclusion that the hard drive does

         not include the data on it, which is in fact separate intangible property.

                       1.     The Fourth Circuit has long recognized that a court must not
                              presume what constitutes forfeitable property.
                The Fourth Circuit has long recognized this step. In United States v. Reynolds,

         the Fourth Circuit considered how much real property the defendant forfeited

         pursuant to a civil forfeiture provision as a result of using only some of it for drug

         distribution. Reynolds, 856 F.2d 675, 675-76 (4th Cir. 1988). Section 881(a)(7) of title

         21 provides for civil forfeiture of “all real property, including any right, title, and

         interest in the whole of any lot or tract of land and any appurtenances or

         improvements, which is used, or intended to be used, in any manner or part, to

         commit, or to facilitate the commission of” controlled substance offenses. (Emphasis

         added.) The Fourth Circuit determined that this language made plain that Congress




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         contemplated use of this provision to forfeit the entirety of any tract of land that had

         been used, even in part, in drug distribution. Reynolds, 856 F.2d at 676.

                But the defendant noted that this did not resolve everything, because “the

         forfeiture statute does not define ‘tract . . .’” Id. at 676-77. Addressing this, the Court

         did not side with either party’s subjective interpretation of what portion of the land

         at issue constituted the “tract” that defendant forfeited. Rather, it cast about for

         available objective evidence, concluding that the “natural source” for definition of

         what made up the entire tract subject to forfeiture in a particular case was “the

         instrument creating an interest in the property[.]” Id. at 676-77.

                The Fourth Circuit took the same approach a year later in United States v.

         Santoro, 866 F.2d 1538, 1540 (4th Cir. 1989)In that case, a drug distribution

         defendant argued (among other things) that the sentencing court had unjustly

         forfeited all of 26 acres of land “bisected by a road and . . . taxed as two separate

         parcels,” given that she had only distributed drugs on the portion of the land that was

         on one side of the road, and a small portion of it at that. Id. Following the logic of

         Reynolds, the court agreed that it was essential to carefully determine what

         constituted the forfeitable “tract.” Indeed, it explicitly rejected the notion that what

         made up the forfeitable “property” should be determined through “subjective

         characterizations of the property[.]” Id. at 1543. Instead, the court found, there must

         be some objective authority on how to define the property. Id. Citing Reynolds, the

         court concluded that “[t]he whole of any lot or tract of land must be determined from




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         the duly recorded instruments and documents filed in the county offices where the

         defendant property is located.” Id.

                      2.     Courts relying on these Fourth Circuit cases have applied this
                             logic in the context of criminal forfeitures pursuant to 21 U.S.C.
                             § 853 and 18 U.S.C. § 2253, which “do not clearly define what
                             constitutes one piece of ‘property’.”
               Just as 21 U.S.C. § 881 provides no guidance on how to define the forfeitable

         “tract” or “lot” at issue in a particular case, neither 21 U.S.C. § 853 nor 18 U.S.C. §

         2253 specify how a court is to determine what constitutes a particular piece of

         property subject to forfeiture in a given case. Confronting this, courts have followed

         the Fourth Circuit’s lead, recognizing that they must accordingly use objective,

         “natural sources” for the definition of what constitutes a forfeitable “property” in a

         particular case.

               For example, in United States v. Bieri, the government sought forfeiture of four

         tracts of a dairy farm pursuant to 18 U.S.C. § 853(a)(2) based on evidence that the

         defendants had used a house and outbuildings on only the fourth tract to grow and

         distribute controlled substances. Bieri, 21 F.3d 819, 820-21 (8th Cir. 1994).

         Confronted with the defense argument that the statute and Eighth Amendment

         permitted only forfeiture of the fourth tract, the court determined that it first “must

         define what portion of the [the defendant’s] farm is ‘property’ subject to forfeiture

         under section 853.” Id. at 823.

               The court noted that, in § 853, “Congress plainly provided for forfeiture of

         property even where only a portion of it was used for the prohibited purposes . . .”

         Bieri, 21 F.3d at 823. But, the court found, “[t]here remains some uncertainty in spite


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         of the clear language of the statute because the statute does not clearly define what

         constitutes one piece of ‘property.’” Id. (emphasis added).

               Relying in part on the Fourth Circuit, the Eighth Circuit ruled that “the

         natural source for defining ‘property’ subject to forfeiture is the instrument creating

         the defendant's interest in the property.” Id. at 824 (citing Reynolds, 856 F.2d at 676-

         77, and United States v. Smith, 966 F.2d 1045, 1054 (6th Cir. 1992)). Applying this

         principle, the court noted that the defendants had acquired all four contiguous tracts

         “as a whole” at the same time as a single unit through a single deed. Id. The court

         concluded that “these facts indicate that the property is in fact a single unit for

         purposes of section 853(a).” Id..

               Likewise, in another case about a farm comprised of multiple tracts of land

         that also cited to the Fourth Circuit decisions in Reynolds and Santoro, the Sixth

         Circuit ignored the government’s subjective characterization that the defendant

         “treated the farm as one single unit” and instead looked to the “the instruments and

         documents” that created the defendant’s interest in the tracts to determine what

         constituted the forfeitable “property.” United States v. Smith, 966 F.2d at 1054. Thus,

         the Sixth Circuit ruled that the defendant did not forfeit every one of four tracts of

         land making up one farm pursuant to § 853(a) because “Smith initially obtained his

         interest in the whole of each of the four tracts by virtue of the four separate deeds[,]”

         and the government did not establish that all tracts had in fact facilitated the

         defendant’s drug offenses. Id. at 1054 & 1055-56.




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               Courts have extended this approach to questions of what constitutes the

         “property” that child pornography defendants forfeit pursuant to § 2253(a)(3). For

         instance, in United States v. Hull, the government sought to forfeit land, on which

         sat a house, both of which belonged to a man who had been convicted of child

         pornography offenses. Hull, 606 F.3d 524, 526 (8th Cir. 2010). The court quickly

         dismissed the defendant’s argument that the government hadn’t shown that the

         home had been ”used” to commit or promote his child pornography offenses, noting

         that the home had afforded privacy, a place to store a computer, and a means to access

         the internet wirelessly, among facilitation. Id. at 527-28.

               Most pertinent to the instant case, the defendant then argued that if the house

         was forfeitable on those grounds, then that did not mean the “entire acreage” on

         which it sat was as well, that is, that only the house was forfeit. Id. at 528. Citing

         Bieri, the Eight Circuit disagreed, finding no reason to depart from it and other cases

         which had “concluded, with respect to other criminal forfeiture statutes . . . that ‘the

         natural source for defining ‘property’ subject to forfeiture is the instrument creating

         the defendant’s interest in the property.’” Id.

               Courts following the logic of Reynolds proceed the same way even when what

         is to be forfeited is something other than real property: assuming a property is

         forfeitable, they determine what constitutes the property in question by reference to

         objective extrinsic evidence. For example, in United States v. One 1998 Tractor, 288

         F. Supp. 2d 710, 712 (W.D. Va. 2003), a civil forfeiture case, the government claimed

         that a defendant who had pled guilty to hauling contraband cigarettes in the cab of



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         his tractor forfeited both the tractor and a trailer belonging the defendant, arguing

         that the court should consider the tractor-trailer as one “vehicle” that the applicable

         statute said would be forfeited if it was involved in transporting contraband. One

         1998 Tractor, 288 F. Supp. at 712 ; see 18 U.S.C. § 80303 (providing for forfeiture of

         “an aircraft, vehicle, or vessel involved in transporting contraband” (emphasis

         added)). Id. The defendant did not dispute that his tractor was forfeit, but he argued

         that the trailer used to haul it was not forfeit because the government had not proven

         a nexus between the crime and the trailer itself. Id.

                Following the Fourth Circuit precedent discussed above, the district court

         turned to objective extrinsic evidence to define exactly what constituted the forfeited

         “vehicle” in this case, again looking to whatever created the defendant’s interest in

         the tractor to define it. Id. Because the “tractor and trailer were purchased

         separately, had separate titles, and separate vehicle identification numbers,” the

         court found that they were not one in the same, so the trailer was not part of the

         vehicle, and not forfeit. Id.

                B.     The cases on which the government relies are unpersuasive because,
                       among other things, they fail to consider the preliminary issue of what
                       constitutes the “property” subject to forfeiture.
                All of the cases discussed above, including Reynolds and Santoro from the

         Fourth Circuit, and Bieri and Hull, which apply the logic of those cases to 21 U.S.C.

         § 853 and 18 U.S.C. § 2253, establish that if the parties dispute whether something

         is part of a forfeitable piece of property or, instead, a separate piece of property, the




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         first step the court must undertake is to determine what constitutes the property in

         question, and to do so, the court must look to objective extrinsic evidence.

                None of the cases cited by the government bind this Court. They are also not

         persuasive because although almost every one of them cites to Hull, they all skipped

         this step, instead simply assuming that what the defendant sought to not forfeit was

         part of the indisputably forfeitable “property.”

                For example, the government relies on United States v. Noyes, an unpublished

         Third Circuit opinion. 557 F. App’x. 125, 126 (3d Cir. 2014). The case concerned an

         order forfeiting the defendant’s interest in two computers pursuant to § 2253(a)(3),

         reflecting a jury finding that he had used the computers in child pornography

         offenses. Noyes, 557 F. App’x. at 126. The defendant filed a Rule 41 motion for return

         of the non-contraband files on the computers. Id.

                The court alluded to the Hull principle that a court must first establish what

         constitutes the property the government seeks to forfeit: it quoted Hull for proposition

         that “once it is established that the ‘property’ subject to forfeiture consists of the entire

         acreage, nothing in the statute allows the court to order forfeiture of less than this

         property.” Id. at 127 (quoting Hull, 606 F.3d at 528-29) (emphasis added). But despite

         thus noting that one must establish what the property in question consists of before

         ordering forfeiture, the court skipped over that step in the case before it. The court

         did not pause to consider whether anything other than its subjective view established

         that the non-contraband files the defendant sought return of actually were part of the

         “computers” the jury determined to be forfeitable. Instead, the court assumed they


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         were, and accordingly put the onus on the defense to find something explicit in the

         text of the statute stating that “only a portion of the ‘property’ can be forfeited.’”

         Noyes, 557 Fed. Appx. at 127.

               The court’s approach in Noyes – placing the burden on the defendant to prove

         the files were not forfeitable, rather than requiring the government to prove that they

         were – likely also reflected the procedural posture, as the defendant in that case did

         not object to the initial forfeiture order, and instead filed a motion pursuant to Rule

         41. See Id. at 126-27. Here, of course, there is no dispute that the burden is on the

         government to establish that the non-contraband files are part of the hard drive, and

         forfeit. United States v. Martin, 662 F.3d 301, 307 (4th Cir. 2011). 2

               Wernick, another unpublished opinion relied upon by the government, this one

         from the Second Circuit, is also unpersuasive for several reasons. Like Noyes, it

         concerns a post-forfeiture Rule 41 motion, so different standard and burdens applied

         than do here. Wernick, 673 Fed. Appx. 21, 25 (2d Cir. 2016). Wernick also waived any

         right to contest forfeiture, another circumstance not applicable here. Id. at 25.

         Finally, in Wernick, the Second Circuit specifically stated that it was not deciding the

         issue presented here: “whether defendants in some case may retain interests in data




               2 In contrast, once proceedings have concluded and a forfeiture order has been
         entered, if the defendant files a Rule 41 motion to return property, the defendant
         bears the burden initial burden of showing that they are lawfully entitled to the
         property. United States v. Lindsey, 202 F.3d 261 (4th Cir. 2000) (noting that if the
         defense shows a lawful claim to the property, the burden shifts back to the
         government to show a legitimate reason to retain the property).


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         unconnected to criminal activity that is stored on the hard drive that is itself

         forfeitable” under § 2253(a)(3). Id. at 25-26.

               As for the lower court opinion in Wernick, upon which the government relies

         somewhat, it is unpersuasive for the reasons the Second Circuit opinion is, and

         because it relies heavily on Noyes. See United States v. Wernick, 148 F. Supp. 3d 271

         (E.D.N.Y. 2015) (relying on rationale of Noyes). 3


               Like the opinions in Noyes and Wernick, United States District Judge Ellis’s

         opinion in United States v. Sanders starts by simply assuming that the non-

         contraband files the defendant sought to not forfeit in that case were part of the hard

         drive at issue, rather than by a probing of whether they were or were not. Sanders,

         No. 1:20-CR-143, 2022 WL 3572780, *1, *4 (E.D. Va. Aug. 19, 2022) (concluding that

         non-contraband files were forfeit “given that” the devices on which they were housed


               3  The lower court opinion Wernick also stated that the data the defendant
         sought to have returned to him “was intertwined with its contraband counterparts,”
         Wernick, 148 F. Supp. 3d at 276. Likewise, the Second Circuit stated in passing that
         “[p]roperty that is traceable to an offense is still forfeitable even if commingled with
         legitimate property.” Wernick, 673 Fed. Appx. at 25; see also United States v.
         Sanders, No. 1:20-CR-143, 2022 WL 3572780, at *5 (E.D. Va. Aug. 19, 2022) (relying
         on this statement).
                  The government does not rely on these statements, and with good reason. First,
         the principles that these courts are alluding to applies to forfeiture of the proceeds of
         illicit activities, not at issue in Wernick or here. See United States v. Banco Cafetero
         Panama, 797 F.2d 1154, 1161 (2d Cir. 1986) (“The cash in the hands of the bank does
         not cease to be ‘traceable proceeds’ just because it is commingled with the bank's other
         cash.”), cited by Wernick, 673 F. App’x 21. Second, the Second Circuit courts never
         explained the basis for concluding that non-contraband files were “intertwined” or
         “commingled” with contraband in those cases, and that is not true here. The files on
         Mr. McDonald’s hard drive are each severable from the hard drive.




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         were used to commit the offenses). The Sanders opinion also follows in the steps of

         Noyes and Wernick by shifting the burden to the defendant to find an explicit

         protection of his rights in the statute, rather than requiring the government to prove

         the statue authorized forfeiture. Id. (declining to find non-contraband files were not

         forfeited in part because the “statute does not contain an exception for non-

         contraband portions of property”). Accordingly, in addition to not binding this Court,

         the Sanders opinion is not persuasive in light of the language in the statute, and the

         more persuasive guidance provided by Reynolds, Santoro, Bieri, Smith, Hull, and One

         1988 Tractor. 4


               In sum, the government cites no decision from a Court of Appeals squarely

         holding that 2253(a)(3) authorizes forfeiture of non-contraband files that happen to

         be on a forfeit hard drive. Indeed, two of the Court of Appeals opinions the

         government dwells on take care to state that they are not opining on that question.

         Wernick, 673 Fed. Appx. at 25-6; United States v. Gladding,775 F.3d 1149, 1153 n.1

         (9th Cir. 2014) (“We do not express an opinion on the validity of the district court's

         order requiring Gladding to forfeit only contraband files.”). Instead, the government

         relies on inapposite cases analyzing post-forfeiture Rule 41 motions, and one district

         court opinion that relies on them. Further, the pronouncements in these cases

         concerning defendants’ claims to the non-contraband files fail to take account of

         Circuit Court precedent, including from the Fourth Circuit, clarifying that the court




               4   The defendant in Sanders did not point Judge Ellis to this line of cases.


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         must carefully examine what constitutes a forfeitable property, and craft the

         forfeiture order accordingly.

               C.     The government offers no evidence to contradict the objective evidence
                      from common experience that the non-contraband files in this case do not
                      constitute a part of the “hard drive.”
               Again, the defense does not dispute that the hard drive is a piece of tangible

         property that was used to commit Mr. McDonald’s offenses, because he used it to store

         child pornography. As such, the hard drive is forfeitable pursuant to 18 U.S.C. §

         2253(a)(3). But, following Reynolds and Santoro from this Circuit, as well as Hull,

         Bieri, and One 1998 Tractor, which rely on those case, this Court must determine

         what constitutes the hard drive, just as those courts determined what constituted the

         “farms” and “vehicles” at issue in those cases.

               The government offers its subjective view that the hard drive includes its

         contents, contraband and non-contraband, but courts have rejected the notion that

         subjective impressions define what constitutes a particular property. Santoro, 866

         F.2d at 1543. Instead, the court should follow the lead of other courts and turn to the

         most “natural” objective and extrinsic sources for definition of this property.

               In cases concerning real estate or other very expensive property like tractors

         and trailers, courts look to transaction histories, or title documents and the like, for

         evidence of what constitutes a particular piece of property, as discussed above. See,

         e.g., Bieri, 21 F.3d 819 at 823 (examining deeds, conveyances, and other evidence,

         such as whether tracts are contiguous); One 1998 Tractor, 288 F. Supp. 2d at 713

         (examining titles, purchases, and VINs of purported “vehicle” parts). Here, nothing



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         of the sort is available. But the “natural sources” to which the Court may turn to

         define the property subject to forfeiture here are common experience and common

         sense, particularly where the government (the party with the burden) offers no

         evidence of what constitutes the property.

               Common experience informs that hard drives designed for storage, like the

         external Seagate hard drive at issue here, are separate from their contents. Indeed,

         they are typically empty when purchased from retailers, just as file cabinets typically

         are empty when purchased. See United States v. Williams, 592 F.3d 511, 523 (4th Cir.

         2010) (analogizing hard drives to file cabinets in case concerning scope of authority

         to search hard drive). Most have experience with loading data and files onto hard

         drives: these data and files are typically purchased or obtained from other sources (as

         in the case of word processing files, music files, gaming files, or cryptocurrency), or

         are created by a computer user, as in the case of one’s own pictures, writing, or (in

         Mr. McDonald’s case) software coding. Either way, the files on a hard drive almost

         always have independent value, are servable and could be stored elsewhere, do not

         depend on a particular hard drive to be usable, and often constitute intellectual

         property; the hard drive is nothing more than storage for other data files.

               Land or other real property sales often contemplate the simultaneous sale of

         homes or other matters attached to or in the land. At least this is common enough,

         and land typically valuable enough on its own, that what conveys with real property

         is usually written down in contracts, titles, deeds, and other written instruments.

         Likewise, what conveys with a tractor or trailer, or a tug or barge, is also usually



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         reduced to writing, given that there could be doubt about such things. But no one

         would expect that purchase of a storage hard drive would include conveyance of a

         previous owners’ data or files. Instead, just as anyone purchasing a file cabinet, even

         second hand, would expect it to arrive empty, anyone purchasing a storage hard drive

         would not expect to also receive someone else’s family photos, music mp3 files, coding

         files, or cryptocurrency. In short, in any other context, no reasonable person would

         consider the files we store on drives like the Seagate hard drive to be one and the

         same with those drives. 5

               The government – which is the party with the burden of establishing what is

         forfeit – has offered no source of evidence contradicting the natural, common-sense

         conclusion that the files on the drive do not constitute part of the hard drive.

         Accordingly, the Court should conclude that the non-contraband files are not part of

         the hard drive, and accordingly not forfeit pursuant to 18 U.S.C. § 2553(a)(3). 6




               5  Likewise, given common practice and common sense, no reasonable person
         would expect to receive all of the jewelry or other valuable tangible property in a home
         upon purchase of the home. Thus, it makes perfect sense that a court would not even
         consider that jewelry in a home that was not proceeds of drug trafficking could be
         forfeited simply by virtue of it having been found in a home that had been used to
         promote that trafficking. See United States v. Juluke, 426 F.3d 323, 328 (5th Cir.
         2005) (reversing forfeiture of jewelry found in home used for trafficking “[b]ecause
         the Government produced no evidence from which the district court could infer that
         the jewelry seized from the . . . home was proceeds of the drug activity that formed
         the basis for Juluke's convictions”).
               6  The contraband files on the hard drive are also not forfeit simply because they
         are “part” of the hard drive, but they are nevertheless forfeit pursuant to the explicit
         text of 18 U.S.C. § 2253(a)(1), as discussed below.


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         II.   The non-contraband files are not forfeit pursuant to § 2253(a)(1).
               The government asserts that 18 U.S.C. § 2253(a)(1) also provides that Mr.

         McDonald forfeits his interests in the non-contraband files on the hard drive in

         addition to the hard drive. That provision provides for forfeiture of certain visual

         depictions (referred to here as “child pornography” for ease of reference) “or any book,

         magazine, periodical, film, videotape, or other matter which contains any such visual

         depiction, which was produced, transported, mailed, shipped or received in violation

         of this chapter.” 18 U.S.C. § 2253(a)(1) (emphasis added).

               The government takes for granted that a hard drive falls within the meaning

         of “other matter which contains any such visual depictions” as it is used in §

         2253(a)(1), and presumes that if a matter is forfeitable, then so too is everything in

         it. But the statute reveals that neither presumption is correct.

               A. The hard drive itself is not subject to forfeiture under 18 U.S.C. § 2253(a)(1)
                  because it is not “other matter which contains any such visual depiction” as
                  that phrase is used in the statute.
               Whether a hard drive is “other matter” under § 2253(a)(1) is a question of

         statutory interpretation. “When interpreting a statute, courts must ‘first and

         foremost strive to implement congressional intent by examining the plain language

         of the statute.’” United States v. George, 946 F.3d 643, 645 (4th Cir. 2020) (quoting

         United States v. Abdelshafi, 592 F.3d 602, 607 (4th Cir. 2010)). If the plain language

         is unambiguous, the inquiry ends there. Lee v. Norfolk S. Ry. Co., 802 F.3d 626, 631

         (4th Cir. 2015). The plainness or ambiguity of statutory language is determined by

         “reference to the language itself, . . . the specific context in which that language is




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         used, and the broader context of the statute as a whole.” Id. (quoting Yates v. United

         States, 574 U.S. 528, 537 (2015)).

               The text, context, and structure of § 2253 compel the conclusion that “other

         matter which contains any such visual depiction” as used in 18 U.S.C. § 2253(a)(1)

         refers not to anything that takes up space (i.e., any matter) which contains child

         pornography, but rather a narrower universe of “matter.” Specifically, the general

         term “other matter which contains any such visual depiction” in this provision

         encompasses only matters containing images of child pornography that cannot be

         extracted from the matter without materially altering or destroying that matter. This

         does not include hard drives.

                       1. The text of § 2253(a)(1) reveals that “other matter” includes only
                          matters from which child pornography cannot be extracted without
                          altering the matter.
                There is no definition of “other matter” in § 2253, so the Court must first look

         to the word’s ordinary, dictionary meaning. George, 946 F.3d at 646. The relevant

         dictionary definitions of “matter” range from “the substance of which a physical object

         is composed” and “material substance that occupies space.” 7 Applying this definition

         might suggest that essentially anything could be forfeit in these cases.

               But “whether a statutory term is unambiguous . . . does not turn solely on

         dictionary definitions of its component words.” Yates v. United States, 574 U.S. 528,




               7   Matter, Merriam-Webster.com, https://www.merriam-webster.com
         /dictionary/matter (last visited Nov. 28, 2022). There is no legal definition. See
         Matter, BLACK'S LAW DICTIONARY (11th ed. 2019).


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         537 (2015) (internal citations omitted). “Rather, the plainness or ambiguity of

         statutory language is determined [not only] by reference to the language itself, [but

         as well by] the specific context in which that language is used, and the broader context

         of the statute as a whole.” Id. (internal citations omitted). “Ordinarily, a word’s usage

         accords with its dictionary definition. In law as in life, however, the same words,

         placed in different contexts, sometimes mean different things.” Id. When a term as

         broad as “other matter” appears in a statute, the text is better read within “specific

         context in which the language is used.” Id. at 546.

               As the Supreme Court explained in Yates v. United States, two related

         principles that guide courts’ efforts to ensure they do not read terms more broadly

         than Congress intended are noscitur a sociis and ejusdem generis. Noscitur a sociis

         counsels that a word “is known by the company it keeps,” and applying it helps to

         “avoid ascribing to one word a meaning so broad that it is inconsistent with its

         accompanying words.” Id. at 553 (internal citations omitted). Ejusdem generis

         “counsels [that] where general words follow specific words in a statutory

         enumeration, the general words are [usually] construed to embrace only objects

         similar in nature to those objects enumerated by the preceding specific words.” Id.

         (internal citations omitted).

               In Yates, a plurality of the Supreme Court applied these principles to conclude

         that the term “tangible object,” which appears in the obstruction statute 18 U.S.C. §




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         1519, does not include fish. 8 In Yates, a commercial fisherman who had ordered his

         crew to toss illegally caught fish back into the ocean to prevent government agents

         from spotting that he had violated fishing regulations was charged of violating 18

         U.S.C. § 1519. Yates, 574 U.S. at 531. That provision provides that “[w]hoever

         knowingly alters, destroys . . . any record, document, or tangible object . . . .” and the

         government argued that the fish thrown back into the water were “tangible objects,”

         relying on the dictionary definition. Id. The Supreme Court rejected this

         “unrestrained” interpretation of the phrase because “tangible object” was “last in a

         list of terms that begins ‘any record [or] document,” and “is therefore appropriately

         read to refer, not to any tangible object, but specifically to the subsect of tangible

         objects involving records and documents, i.e., objects used to record or preserve

         information.” Id. at 544. The Court also observed that “Congress would have had no

         reason to refers specifically to ‘record’ or ‘document’” had Congress “intended ‘tangible

         object’ in 1519 to be interpreted so generically as to capture physical objects as

         dissimilar as documents and fish.” Id.

               The same principles apply here. The term “other matter which contains any

         such visual depiction” is extremely broad, but it appears after a list of more specific

         “matters.” The doctrines of noscitur a sociis and ejusdem generis dictate that

         interpretation of the phrase must be “construed to embrace only objects similar in

         nature to those objects enumerated by the preceding specific words.” Yates, 574 U.S.



               8 Justice Alito concurred with the Court’s judgment and also relied on ejusdem
         generis in his concurring opinion. Yates, 574 U.S. at 550 (Alito, J., concurring).


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         at 553. Further, Congress if intended this provision to provide for forfeiture of

         absolutely anything that takes up space and that can contain child pornography, it

         would have had no reason to specifically list “book, magazine, periodical, film, [and]

         videotape” ahead of “other matter . . .” The Court must avoid rendering these more

         specific matters listed mere surplusage. See id. at 544, 545 (disapproving of

         government’s reading of “tangible object” in part because it rendered previous more

         specific examples of tangible objects “misleading surplusage”).

               Thus, to “avoid . . . giving unintended breadth to the Acts of Congress,” the

         Court must conclude that, just as “tangible object” in § 1519 includes only tangible

         objects “within the subset of tangible objects involving records and documents, i.e.,

         objects used to record or preserve information,” id. at 544, “other matter which

         contains any such visual depiction” must include only matters within the subset of

         matters containing child pornography that share a feature common to books,

         magazines, periodicals, films, and videotapes which contain child pornography into a

         subset.

               At least one feature unites the books, magazines, periodicals, films, and

         videotapes into one subset of matter. Specifically, they are all vessels for audiovisual

         content from which images cannot be extracted without altering them. For example,

         one cannot extract child pornography from a book containing child pornography

         without destroying the book as it existed (i.e., destroying its original form), and the

         same is true for a magazine, periodical, file, or videotape containing child

         pornography. Accordingly, the only way to ensure that child pornography contained



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         in these matters is taken out of circulation is to remove the matters in their entirety

         from circulation (or destroy them before returning them to the defendant, which

         would have the same effect and serve little purpose).

                  A related feature that unites the specific items listed in § 2253(a)(1) is that

         those that contain child pornography rarely if ever contain a great deal of innocent

         material. For example, child pornography did not often appear in books, magazines,

         or videotapes that were not dedicated to that content. Thus, forfeiture of these

         matters would rarely even risk forfeiture of innocent property with independent

         value.

                  Applying the principles set out in Yates, as the Court must, compels the

         conclusion that “other matter” as used in § 2253(a)(1) refers only to matters that

         share these qualities with books and the other specific items that precede “other

         matter” in that provision.

                  Hard drives are inherently unlike these items on both counts. A hard drive is

         simply a storage device. Files can be added and easily removed from a hard drive

         without changing the drive at all. And it is not unusual at all for hard drives to include

         both child pornography and completely unrelated and innocent files. On both counts,

         the same could be said for computers more generally, floppy disks and jump drives,

         as well as file cabinets, bureaus, safe deposit boxes, and innumerable other things

         that take up space and thus fall within the dictionary definition of “matter.” Thus,

         hard drives and many other items are outside of the items Congress meant to target




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         for forfeiture as “other matter which contains any such visual depiction” in §

         2253(a)(1).

                       2.    The structure of § 2253 as a whole supports the conclusion that
                             this narrower interpretation of “matter” is the right one.
               Section 2253(a) is divided into three sections. The second, (a)(2), plainly targets

         the proceeds of child pornography offenses. The third, (a)(3), serves to target anything

         of value used to commit these offenses. This will always include any containers used

         to store and hide child pornography. 9 Thus, because (a)(3) will always serve to ensure

         forfeiture of containers for child pornography, subsection (a)(1) must be interpreted

         to have some purpose other than simply ensuring that all containers of child

         pornography are forfeited, or else it is superfluous, a reading the Court must “resist.”

         Yates, 574 U.S. at 543 (“We resist a reading of § 1519 that would render superfluous

         an entire provision passed in proximity as part of the same Act”).

               And (a)(1) does have a purpose distinct from (a)(3). The text of the entire

         subsection shows that the focus of (a)(1) is ensuring that that images of child

         pornography, wherever they are found, are taken out of circulation. Indeed,

         subsection (a)(1) begins by stating that the defendant forfeits “any visual depiction”

         described in certain child pornography statutes. § 2253(a)(1).

               This context must inform the interpretation of “any book, magazine, periodical,

         film, videotape, or other matter which contains any such visual depiction” in (a)(1).



               9  Indeed, the defense concedes that § 2253(a)(3) justifies forfeiture of the
         container for child pornography in this case, the hard drive itself, as Mr. McDonald
         used it to possess child pornography, as charged in Count Three.


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         And it suggests that Congress did not include that clause because it was focused on

         depriving the defendant of any containers used to hold child pornography – (a)(3)

         already covers that. Rather, Congress added (a)(1) to rid defendants, and the

         community, of these harmful images.

               When the images are on matters like hard drives, computers, jump drives, file

         cabinets, bureaus, and briefcases and the like, forfeiture of the images alone, as

         contemplated by the first part of subsection (a)(1), accomplishes this goal of the

         subsection. But where the images are part of a magazine, book, videotape and the

         like, not only are the images likely the focus of those “matters,” and pervasive within

         them, but the images also cannot be easily removed from those matters. As such, the

         only way to accomplish this goal of (a)(1) is to remove the entire matter from

         circulation.

               Thus, given that (a)(1) is focused on removing these images from circulation,

         Congress appears to have included the “or any book . . . or other matter . . .” clause to

         remove any doubt that the defendant forfeits any claim to these images not only when

         they can be segregated from other objects without destroying those objects and

         rendering them useless to the defendant, but also – even if – they happen to be found

         in vessels from which the images cannot be segregated.

               Thus, the interplay among (a)(2), (a)(3), and (a)(1) in § 2253 provides additional

         support for the conclusion that Congress crafted (a)(1) as it did – placing the “or other

         matter” clause after a specific list of items that cannot be easily segregated from their




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         contents – with the intent to restrict the meaning of “other matter” to other such

         items.

                        3.     The government cites only one case holding that a hard drive is a
                               “matter,” and that case is neither binding, nor persuasive.
                  As support for the proposition that § 2253(a)(1) provides for forfeiture of hard

         drives, the government cites a single district court opinion, Judge Ellis’s opinion in

         Sanders, 2022 WL 3572780. ECF No. 55 at 6, citing Sanders, 2022 WL 3572780 at

         *4. But the defendant in that case did not argue that “other matter” in § 2253(a)(1)

         does not include storage hard drives, and did not engage in the close analysis of the

         text and context of that provision set out above. As a result, Judge Ellis did not have

         an opportunity to consider the argument that hard drives fall within the “other

         matter” contemplated by § 2253(a)(1). Sanders is accordingly not persuasive

         authority on this subject, in addition to not being binding upon this Court.

                  B.    Even if the hard drive is subject to forfeiture under 18 U.S.C. 2253(a)(1),
                        the non-contraband files that happen to reside on the hard drive are not.
                  Even if the Court disagrees with the defense’s reading of “other matter” in §

         2253(a)(1) as excluding hard drives, nothing in the statute indicates that the non-

         contraband stored inside such matters should also be subject to forfeiture.

                  The government argues that the files are forfeit unless the defense can point

         to language explicitly stating that defendants may keep this property. But this

         argument of the government seeks to evade the fact that the government has the

         burden to establish that the statute mandates forfeiture. It is not the defense’s

         burden to establish that it does not. Moreover, one would not expect a statute to state




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         what a defendant does not forfeit – he forfeits nothing unless the statute says he does.

         See Fed. R. Crim. P. 32.2(b)(1)(A)

               The fact of the matter is that the relevant language states that a defendant in

         this type of case “shall forfeit . . . any . . . matter which contains” child pornography.

         It does not say he shall forfeit “any . . . matter . . . and anything else found in that

         matter.” The lack of any textual support for the notion that defendants forfeit non-

         contraband that is not otherwise forfeitable should settle this case.

               And, as discussed at length in Part I, the non-contraband files are property in

         their own right, separate from the hard drive, just as physical child pornography is

         often separate from its containers. Consider a filing cabinet in which a defendant

         stored physical images of child pornography. The first part of section 2253(a)(1)

         explicitly states that the defendant would “forfeit” their interests in those “visual

         depictions…” And if the court determined that the file cabinet qualified as a “matter

         which contain[ed]” child pornography as used in that provision, notwithstanding the

         above arguments, the statute also explicitly would call for forfeiture of that matter.

         But the statute provides no textual support for the idea that a defendant in such a

         case would also forfeit non-contraband family photos or intellectual property that

         happened to be in the forfeitable file cabinet. Nor does it provide support for the idea

         that such a defendant would forfeit non-contraband material that happened to be in

         a hard drive, which is essentially an electronic file cabinet. See Williams, 592 F.3d

         511, 523 (4th Cir. 2010) (“At bottom, we conclude that the sheer amount of

         information contained on a computer does not distinguish the authorized search of



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         the computer from an analogous search of a file cabinet containing a large number of

         documents.”).

                Because the government can point to nothing in § 2253 explicitly providing

         that Mr. McDonald forfeits his interest in non-contraband property, the Court should

         reject the government’s proposed order.

         III.   The rule of lenity dictates that this Court resolve any ambiguity about
                the scope of 18 U.S.C. § 2253 in Mr. McDonald’s favor.
                When presented with ambiguity in a criminal statute, “the ambiguity must be

         resolved in favor of lenity of the accused.” George, 946 F.3d at 645 (quoting United

         States v. Sheek, 990 F.2d 150, 153 (4th Cir. 1993)). This guards against “extend[ing]

         criminal liability beyond that which Congress has plainly and unmistakably

         proscribed.” Id. (quoting United States v. Hilton, 701 F.3d 959, 966 (4th Cir. 2012)).

         The rule of lenity unequivocally “applies to sentencing as well as substantive

         provisions.” United States v. Batchelder, 442 U.S. 114, 121 (1979).

                Accordingly, if any ambiguity survives the Court’s analysis of 18 U.S.C. § 2253,

         the Court must choose the construction yielding the least amount of forfeiture, or at

         least not resulting forfeiture of non-contraband property that was not used in his

         offense. See United States v. R.L.C., 503 U.S. 291, 293 (1992).

         IV.    Any inconvenience to the government is not relevant.
                Both the government’s motion and the opinion in Sanders assert that it would

         be burdensome for the government to identify non-contraband files, and either

         remove them from the hard drive or provide Mr. McDonald with copies of them. The

         Court should ignore these claims because they are irrelevant.


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               As the government states over and over again in its motion, equitable

         considerations are not part of the calculus in forfeiture proceedings. ECF No. 55 at 3,

         citing United States v. Blackman, 746 F.3d 137, 143 (4th Cir. 2014); Sanders, 2022

         WL 3572780, at *3. This principle applies to defendants and to the government in

         equal force. “The law contains no ‘inconvenience exception” to the proposition that

         seized property should be returned to its lawful owner in the absence of a continuing

         Government interest.” Wiebe v. National Security Administration, R&R, ECF No. 67

         at 14-15, 2012 U.S. Dist. LEXIS 131708, *24 (filed Sep. 14, 2012) (finding irrelevant

         government arguments regarding ‘undue burden’ it would suffer to sift through and

         return the [files in electronic devices] defendant sought in Rule 41 proceeding); Order

         Adopting R&R; ECF No. 78.

               As established above, Congress did not provide for forfeiture of non-contraband

         data files that happen to be found on hard drives that contained child pornography.

         They are not forfeit pursuant to § 2253(a)(3) because they do not constitute part of

         the hard drives on which they are stored. They are not forfeit pursuant to § 2253(a)(1)

         because storage hard drives are not contemplated by that provision and, even if they

         are, nothing in the text suggests that non-contraband files on such drives are forfeit

         because they happen to be on those drives. If Congress determines that its decisions

         about what a defendant forfeits pursuant to § 2253, as reflected in its text, failed to

         sufficiently account for the challenge of returning non-contraband electronic files to

         defendants in these cases, Congress may change the text of its statute. Until it does

         so, this Court must follow the law as written.



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                                             CONCLUSION
               For the foregoing reasons, and such others as may be offered at the upcoming

         hearing on this matter, Mr. McDonald respectfully requests that the Court not enter

         the government’s proposed order, and instead enter the defense’s proposed

         preliminary order of forfeiture.

               Respectfully submitted on November 28, 2022.

                                                        STUART CLAY MCDONALD
                                                        by counsel:

                                                        Geremy C. Kamens
                                                        Federal Public Defender for the
                                                        Eastern District of Virginia

                                                        by:________s/_______________
                                                        Ann Mason Rigby
                                                        VA Bar No. 92996
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                                                        1650 King Street, Suite 500
                                                        Alexandria, Virginia 22314
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                                                        ann_rigby@fd.org




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                                 PRELIMINARY ORDER OF FORFEITURE


               WHEREAS, on May 19, 2022, defendant Stuart Clay McDonald pled guilty to

        count one of the indictment alleging receipt of child pornography, in violation of 18

        U.S.C. § 2252(a)(2), and count three of the indictment alleging possession of child

        pornography, in violation of 18 U.S.C. § 2252(a)(4)(B);


               AND WHEREAS, the Court’s jurisdiction is founded upon 18 U.S.C. §§

        2253(a)(1) and (a)(3);


               AND WHEREAS, on November 14, 2022, and pursuant to 18 U.S.C. § 2253,

        the United States filed a Motion for Preliminary Order of Forfeiture requesting the

        forfeiture of a Seagate hard drive, serial number NA05H5FZ;


               AND WHEREAS, the Court finds the government has established the

        requisite nexus between certain visual depictions on that hard drive and the

        offenses of conviction as prescribed by Rule 32.2(b)(1)(A), insofar as these certain

        visual depictions are of the type described in 18 U.S.C. § 2253(a)(1);


               AND WHEREAS, the Court finds that the government has established the

        requisite nexus between that Seagate hard drive, serial number NA05H5F, and the

        offenses of conviction as prescribed by Rule 32.2(b)(1)(A) insofar as the hard drive

        was “used or intended to be used to commit or to promote the commission of such

        offense or any property traceable to such property,” as contemplated in 18 U.S.C. §

        2253(a)(3);




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               AND WHERAS, the Court finds that the government has not established a

        nexus between the non-contraband files and data on the Seagate hard drive as

        prescribed by Rule 32.2(b)(1)(A), which means that they are not forfeit pursuant to

        18 U.S.C. § 2253;


               NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

        DECREED THAT:


               1. The following property is forfeited to the United States pursuant to 18

        U.S.C. § 2253 (a)(3):


               (a) Child pornography found on Seagate hard drive, S/N NA05H5FZ,

        pursuant to 18 U.S.C. § 2253(a)(1); and


               (b) Seagate hard drive, S/N NA05H5FZ, a hardware device, pursuant

        to 18 U.S.C. § 2253(a)(3).


               2. The government is hereby authorized to seize and take exclusive custody

        and control of the forfeited assets. The government is not authorized to seize and

        take exclusive custody and control of the non-contraband data and files found on the

        Seagate hard drive, S/N NA05H5FZ.


               3. Upon the seizure of any forfeited property, the government shall, to the

        extent practicable, provide direct written notice to any persons known to have

        alleged an interest in the seized property, and shall publish notice of this order in

        accordance with Federal Rule of Criminal Procedure 32.2(b)(6).




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               4. Any person, other than the defendant, asserting any legal interest in the

        property may, within thirty days of the publication of notice or the receipt of notice,

        whichever is earlier, petition the Court for a hearing to adjudicate the validity of

        their alleged interest in the property.


               5. Following the Court's disposition of all timely petitions filed, a final order

        of forfeiture shall be entered. If no third party files a timely petition, this order shall

        become the final order of forfeiture, as provided by Federal Rule of Criminal

        Procedure 32.2(c)(2), and the United States shall have clear title to the property,

        and shall dispose of the property in accordance with law.


               6. Pursuant to Rule 32.2(b)(4)(B), this order of forfeiture shall be included in

        the Judgment imposed in this case.


                      Dated this _______ day of ____________________ 2022.


                                                  ____________________________________


                                                  UNITED STATES DISTRICT JUDGE




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                            IN THE UNITED STATES DISTRICT COURT FOR THE
                                    EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division

        UNITED STATES OF AMERICA                             )
                                                             )
                       v.                                    )
                                                             )       Criminal No. 1:22-CR-51
        STUART CLAY MCDONALD,                                )
                                                             )
                       Defendant.                            )


                            UNITED STATES’ REPLY ON DEFENDANT’S BRIEF

                                         REGARDING FORFEITURE

               Comes now the United States of America, by counsel, and offers its reply to the

        defendant’s brief regarding forfeiture (Dkt. 57). For the reasons articulated below and in the

        Government’s Motion for Entry of a Preliminary Order of Forfeiture (Dkt. 55), the hard drive is

        forfeitable in its entirety, pursuant to 18 U.S.C § 2253(a)(1) and (a)(3). Moreover, a rule

        requiring the government to separate the noncontraband files from the contraband materials

        would place an undue and unreasonable burden on limited government resources.

                                           PROCEDURAL HISTORY

                On May 19, 2022, the defendant pled guilty to Count One of the Indictment alleging

        receipt of child pornography, in violation of 18 U.S.C. § 2252(a)(2), and Count Three of the

        Indictment alleging possession of child pornography, in violation of 18 U.S.C. § 2252(a)(4)(B)

        (Dkt. 36). On August 19, 2022, the defendant was sentenced to 72 months imprisonment and 10

        years of supervised release (Dkt. 51). As the parties had not agreed on forfeiture, the

        government informed the court that it intended to seek forfeiture of electronic devices and the

        court scheduled a separate forfeiture hearing. On November 14, 2022, the government filed a

        motion for a preliminary order of forfeiture, and on November 28, 2022, defense filed an




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        objection to the entry of a preliminary order of forfeiture. A forfeiture hearing in this case is

        presently set for December 12, 2022 at 10:00 AM.

                                                       ARGUMENT

               A. The statute and case law makes clear that the electronic devices are forfeited in their
                  entirety under 18 U.S.C. § 2253(a)(1) and (a)(3).


               The issue before this Court is the same issue Judge Ellis faced in United States v.

        Zachary Sanders, No. 1:20-CR-143, 2022 WL 3572780 (E.D. VA. Aug, 19, 2022) —it is no

        different. The issue before this Court is whether the criminal statute governing forfeiture in child

        pornography cases, 18 U.S.C. § 2253(a)(1) and (a)(3), requires the forfeiture of the electronic

        devices in their entirety. Based on a reading of the statute and the case law, the answer to that

        question is yes. The Court need not engage in a lengthy examination of the definition of the

        word “property” or “matter” or what constitutes a “hard drive” in order to answer that question.

               Defense counsel in Sanders also argued that non-contraband files are property in their

        own right, and specifically discussed the definition of “property” at oral argument and in their

        briefs. (United States v. Zachary Sanders, 1:20-CR-143, Dkt. 608, pp. 3-5; Dkt 667, p. 25, lines

        8-13; Dkt. 632, pp. 1, 5-7.) Thus, Judge Ellis heard the argument that noncontraband files

        constituted separate property and that such files were not subject to forfeiture under 18 U.S.C. §

        2253(a). Based on the language of Section 2253(a), Judge Ellis came to the same conclusion as

        the court in United States v. Noyes, 557 F. App’x. 125, 127 (3d Cir. 2014): “Notably, nowhere

        does the statute provide that only some portion of the property containing child pornography

        should be subject to forfeiture.” Sanders, 2022 WL 3572780, at *4.       In holding that the plain

        text of Section 2253(a) requires the forfeiture of the electronic devices in their entirety, Judge

        Ellis also noted that this result was consistent with Fourth Circuit precedent in other areas of




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        criminal law. See Sanders, 2022 WL 3572780, at *4, n. 5 (citing United States v. Santoro 866

        F.2d 1538, 1542-43 (4th Cir. 1989)).

                  In addition to Sanders, the federal Courts that have squarely confronted and ruled on this

        issue have held that the whole device must be forfeited under 18 U.S.C. § 2253.1 The Third

        Circuit in Noyes took the position that the defendant “requested the return of certain files and

        programs contained on the forfeited computers, but the computers as a whole, including all of

        their files and programs, were subject to the forfeiture order.” United States v. Noyes, 557 F.

        App’x. 125, 127 (3d Cir. 2014) (emphasis added). The Third Circuit pointed to the child

        pornography forfeiture statute, the same statute at issue in this case, 18 U.S.C. § 2253(a)(3), and

        noted that nothing in the statute indicated that only a portion of a computer must be forfeited. Id.

        It is true that, unlike in this case, at the time when Noyes requested the return of noncontraband

        files, the District Court had already entered a preliminary order of forfeiture. The Court noted

        that to the extent Noyes’s motion was a direct challenge to the forfeiture order, his appeal should

        be dismissed as untimely because he did not challenge the scope of the forfeiture order on direct

        appeal. However, the Court went on to consider his motion to the extent that it was properly

        construed as a motion to return property pursuant to Federal Rule of Criminal Procedure 41(g),

        asking whether the property he sought returned was subject to forfeiture. The Court thus

        proceeded to interpret 18 U.S.C. § 2253, the statute at issue here, and observed that nothing in

        that statute suggested that only a portion of the device should be forfeited. See id. Thus, the

        court in Noyes directly addressed the issue this Court now faces, and concluded that the

        forfeiture of the devices necessarily includes the forfeiture of all data therein.




        1
            The United States addressed this issue in great detail in its previous filing. See Dkt. 55.



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                In making this determination, the Court in Noyes looked to the 8th Circuit’s decision in

        United States v. Hull, 606 F.3d 524 (8th Cir. 2010). The defendant in Hull was convicted of two

        counts of distribution of child pornography, in violation of 18 U.S.C. § 2252(a)(1). Id. at 525.

        The district court ordered the forfeiture of Hull’s real property, which included 19 acres of land,

        pursuant to 18 U.S.C. § 2253(a)(3). Id. Hull argued that even if the government could forfeit

        his residence, the government could not forfeit the remaining acreage—which included

        outbuildings and farm and pasture land—as the remaining acreage was not used in the

        commission of the offense. Id. at 528. The court rejected the defendant’s argument, noting that

        there was no basis to sever the property, and that all the land should be treated as a single piece

        of property, pursuant to 18 U.S.C. § 2253. Id. The court noted that there was nothing in the text

        of Section 2253(a)(3) that allowed for the subdivision of the property.

                The upshot of Noyes and Hull is clear: 18 U.S.C. § 2253(a)(3)’s provision requiring

        forfeiture of “any property, real or personal, used or intended to be used to commit or to promote

        the commission of [a child pornography offense]” clearly requires the forfeiture of the electronic

        devices in their entirety. Similarly, 18 U.S.C. § 2253(a)(1) means what it says when it provides

        for forfeiture of any “matter which contains any such visual depiction [of minors engaged in

        sexually explicit conduct].” Thus, the court should enter the preliminary order of forfeiture and

        deny the defendant’s request that the government return the non-contraband data.


                B. The separation of all of the “non-contraband data” from the hard drive would create
                   an undue and unreasonable burden on limited government resources.


                Given the amount of data stored on the hard drive device, the undertaking of separating

        contraband and noncontraband data proposed by the defendant here would be prohibitively

        difficult.




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               In their response, the defense states that they are seeking the return of all noncontraband

        files on the hard drive subject to forfeiture. The amount of data that can be stored on an

        electronic device like a hard drive is enormous. Even assuming the FBI could separate the data,

        the FBI would have to conduct a painstaking review of all the data provided to defense to ensure

        that not a single contraband file was given to defense—a process that would a substantial amount

        of time. Therefore, it would be difficult and take considerable time and resources for a forensic

        examiner to disentangle the noncontraband data from the contraband data on this device.

               In short, the difficulty of separating the contraband from the noncontraband material on

        the defendant’s devices is a legitimate feasibility concern. In addition, it would be an enormous

        strain on government resources, especially when it was the defendant who chose to store

        contraband on the same hard drive along with the noncontraband data, something he could have

        avoided had he not commingled the data in the first place. The government therefore strongly

        objects to the defendant’s instant request, not just because of the undue burden it places on the

        government, but because it is inconsistent with the controlling forfeiture statute and relevant

        precedent. Accordingly, this Court should deny the defendant’s motion for return of property.




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                                                      CONCLUSION

                For the foregoing reasons, the requested relief is both contrary to the law of forfeiture,

        and further would impose an undue burden on limited government resources. The government

        therefore respectfully requests that the Court enter a preliminary order of forfeiture forfeiting the

        hard drive in its entirety.



                                                              Respectfully submitted,

                                                              JESSICA D. ABER
                                                              UNITED STATES ATTORNEY

                                                       By:    /s/ Annie Zanobini_____
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                                        CERTIFICATE OF SERVICE

               I hereby certify that, on December 1, 2022, I electronically filed the foregoing with the

        Clerk of Court using the CM/ECF system which will send a notification of such filing (NEF) to

        all counsel of record.




                                                     By:     /s/ Annie Zanobini_____
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


          UNITED STATES OF AMERICA
                                                      Case No. 1:22-CR-51
                   v.
                                                      Hon. Claude M. Hilton
          STUART CLAY MCDONALD,
                                                      Hearing: December 12, 2022
                    Defendant.



            DEFENDANT’S SUPPLEMENT TO OPPOSITION TO ENTRY OF
         GOVERNMENT’S PROFERRED PRELIMINARY ORDER OF FORFEITURE

               Stuart Clay McDonald, through undersigned counsel, hereby respectfully

         submits supplemental authority supporting his position that the Court should not

         enter the preliminary order of forfeiture proffered by the government, and should

         instead enter the preliminary order proffered by the defense. 1

               Among other things, the government’s motion asserts that (1) Mr. McDonald’s

         Seagate storage hard drive is forfeit pursuant to 18 U.S.C. § 2253(a)(1) because it

         qualifies as “other matter which contains any” visual depiction of child pornography;

         and (2) if the hard drive is forfeit pursuant to this provision, then so is everything in

         it, even innocent non-contraband files that have no independent nexus to the offense




               1 The government’s motion and proposed order are filed at ECF Nos. 55 and
         55-1. The defense’s opposition and proposed order are filed at ECF No. 57 and 57-1.
         The government’s reply is filed at ECF No. 58. The matter is scheduled for a hearing
         on December 12, 2022. Counsel for the government has informed undersigned counsel
         that the government does not oppose the filing of this supplement, and does not seek
         a continuance of the hearing.



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         conduct. Gov’t Mot., ECF No. 55. Mr. McDonald disagrees on both counts, as set forth

         in his opposition brief. Def. Opp., ECF No. 57, Section II.A, at 18-26. 2

                This supplement will demonstrate that case law concerning the interpretation

         of “other matter” in the phrase “books, magazines, periodicals, films, video tapes, or

         other matter which contain[s] any visual depiction” in another provision in Chapter

         110, 18 U.S.C. § 2252(a)(4), and a related provision in a prior version of the

         Sentencing Guidelines (U.S.S.G. 2G2.4(b)(2), now deleted), provides further support

         for the view that the hard drive is not forfeit pursuant to 18 U.S.C. § 2253(a)(1).

                                    BACKGROUND & SUMMARY
               Until it was deleted from the U.S. Sentencing Guidelines Manual in 2004,

         U.S.S.G. § 2G2.4(b)(2) provided for a two-level enhancement in child pornography

         offenses where the “offense involved possessing ten or more books, magazines,

         periodicals, films, video tapes, or other items, containing a visual depiction involving

         the sexual exploitation of a minor.” U.S.S.G. § 2G2.4 (emphasis added). 3 Similarly,

         until it was amended in 1998, 18 U.S.C. § 2252(a)(4) prohibited the possession of “3

         or more books, magazines, periodicals, films, video tapes, or other matter which

         contain any visual depiction” of child pornography. (Emphasis added.) 4 That is, both



               2 Mr. McDonald agrees that the hard drive is “property” forfeit pursuant to
         another provision, 18 U.S.C. § 2253(a)(3) because it was used to commit Mr.
         McDonald’s offense. ECF No. 57 at 4. But the property comprising the hard drive does
         not include the non-contraband files on the hard drive. See id. Sec. I, at 4-17.
               3 This guideline was removed in 2004 through Amendment 664 to the
         Guidelines.
               4 In 1998, Congress amended subsection (a)(4) “by striking ‘3 or more’ each
         place that term appears and inserting ‘1 or more,’” and providing the affirmative



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         provisions listed a very general term (“other matter which contain . . .” “other items

         containing . . . ”) after the very same list of specific matters / items that appears in 18

         U.S.C. § 2253(a)(1) regarding forfeiture.

               Defendants caught with child pornography located on computer devices sought

         to avoid application of these provisions with the argument that “other items” and

         “other matter” in these provisions referred to computer hard drives or other physical

         containers for child pornography (as the government contends in this case), not the

         computer files that resided on such devices. Thus, they argued, they were not guilty

         of § 2252(a)(4) unless they possessed three or more hard drives with child

         pornography on it, for example, and should not incur the enhancement in §

         2G2.4(b)(2) unless they possessed 10 or more such devices – no matter how many

         computer files containing child pornography they possessed.

                In each such case the defense has located, the government disagreed, arguing

         that the “other matter” and “other items” referred not to hard drives, but rather to

         the computer files that contained the child pornography. And in all but one case,

         courts – including the Fourth Circuit – agreed with the government, finding that the

         general phrases “other items” and “other matter” as they appear in these contexts

         referred to computer files. Moreover, in these cases, the government and the courts




         defense that now appears in § 2252(c). Protection of Children from Sexual Predators
         Act of 1998, PL 105–314, October 30, 1998, 112 Stat 2974. Unless otherwise noted,
         citations to 18 U.S.C. § 2252(a)(4) herein are to the version as it existed before this
         amendment.



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         reached this conclusion through analysis similar to that advanced by Mr. McDonald

         in this case (which contradicts the government’s current approach).

                                             ARGUMENT
         I.    Every court that has considered the issue has concluded that “other
               items” in U.S.S.G. § 2G2.4(b)(2) includes computer files.
               One of the most-often cited cases on these questions is United States v. Fellows,

         157 F.3d 1197 (9th Cir. 1998). The defendant in Fellows argued that the enhancement

         in U.S.S.G. § 2G2.4(b)(2) should not apply to him although he had possessed far in

         excess of 10 computer graphics files depicting child pornography, since they were all

         found on one computer – just one “item containing” child pornography, according to

         the defendant. Fellows, 157 F.3d at 1199, 1201. Agreeing with the government, the

         Ninth Circuit disagreed that the phrase “other items containing” should be

         interpreted at its most broad, and concluded that the files were the “other items” in

         such a case, not the hard drive. Id. at 1201.

               More specifically, the Ninth Circuit wrote:

                      The commonality between the “items” specifically
                      enumerated in the section is that they are all discrete
                      containers for visual depictions capable of being separately
                      manipulated and distributed.
                      The closest cousin to “books, magazines, periodicals, films,
                      [or] video tapes” in the computer is a computer file. Visual
                      depictions in a computer are compiled and stored in
                      graphics files, much like photographs are compiled and
                      stored in books or magazines. As the district court
                      recognized, the computer user can separately view, copy,
                      delete, or transmit each discrete graphics file. Like the
                      other “items” listed in the guideline section, a graphics file
                      can store one or more visual depictions. The similarities
                      between computer graphics files and the other “items” are
                      manifest. Because the graphics file is the container used for



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                      compiling and storing visual depictions in a computer, it
                      qualifies as an “item” under the plain language of U.S.S.G.
                      § 2G2.4(b)(2).
         Fellows, 157 F.3d at 1201 (emphasis added). Further, the Ninth Circuit specifically

         disagreed with the defendant that “other item” in the guideline “is property defined

         as a computer hard drive, not a graphics file.” Id.

                      A computer hard drive is much more similar to a library
                      than a book; the hard drive is much more similar to a
                      library than a book . . . . Each file within the hard drive is
                      akin to a book or magazine within that library. Thus, the
                      files, not the hard drive, count as ‘items’ under” the
                      guideline.
         Id. (emphasis added).

               Several Courts of Appeals have relied on these passages and the holding from

         Fellows, including the Fourth Circuit. See United States v. Michalec, 176 F.3d 476 at

         *2 (4th Cir. April 6, 1999) (Table Decision) (citing favorably Fellows and other cases

         finding that “a computer file containing visual depictions of child pornography rather

         than the hard drive, is an ‘item’ within the meaning of USSG § 2G2.4(b)(2)”); United

         States v. Thompson, 281 F.3d 1088, 1092 (10th Cir. 2002) (agreeing with Fellows and

         other circuits that files, not hard drives, are “other items” in the guideline, and noting

         that Amendment 592 to the guideline confirms this reading, insofar as it added

         “clarifying” commentary that a computer file qualifies as one item); United States v.

         Harper, 218 F.3d 1285, 1287 (11th Cir. 2000) (citing Fellows and others in course of

         agreeing with the government and district court that the key is that “each file on a

         disk is separately acquirable, accessible, and distributable; hence each file, and not

         the entire disk, equates with a book or magazine as in section 2G2.4(b)(2)”); United




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         States v. Demerritt, 196 F.3d 138, 141 (2d Cir. 1999) (agreeing with Fellows and

         others that files are “other items” for purposes of the guideline because “[c]omputer

         files, like books, magazines, and video tapes, are “discrete containers for visual

         depictions capable of being separately manipulated and distributed”); see also United

         States v. Mittermayr, 225 F.3d 651, 651 (3d Cir June 22, 2000) (Table Decision)

         (affirming district court’s application of guideline for 10 or more “other items” where

         single hard drive contained thousands of child pornography files), and Answering

         Brief for Appellee, United States of America, United States v. Mittermayr, Case No.

         99-5773, 2000 WL 344447733 (filed D. Del. Mar. 20, 2000) (reflecting government

         argument, citing Fellows, that, “[l]ike books and magazines, computer graphics files

         separately can be viewed, copied, deleted, and transmitted”); United States v. Hall,

         142 F.3d 988, 998-99 (7th Cir. 1998) (deciding before Fellows that guideline applied

         “because computer files are the equivalent of ‘items’” in the guideline).

         II.   Following Fellows, the Eight Circuit has concluded that “other
               matters” in 18 U.S.C. § 2252(a)(4) includes computer files, and the only
               decision that has disagreed has been called into question.
               In United States v. Vig, 167 F.3d 443, 447 & n.6 (8th Cir. 1999), the Eight

         Circuit also cited the Ninth Circuit’s logic in Fellows as it considered what fell within

         “other matter” in the version of 18 U.S.C. § 2252(a)(4) applicable at the time. Again,

         at the time, the provision prohibited the possession of “3 or more books, magazines,

         periodicals, films, video tapes, or other matter which contain any visual depiction” of

         child pornography. 18 U.S.C. § 2252(a)(4) (emphasis added).




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               And, just as the Ninth Circuit found that “other items” at the end of that list

         refers to computer files rather than hard drives, the Eighth Circuit found that “other

         matter” as it appears at the end of § 2252(a)(4) also referred to computer files. Thus,

         the court agreed with the government that what was important to determining the

         guilt of an individual who possessed visual depictions of child pornography “saved in

         three or more computer image files that were located on only a single computer hard

         drive” was the number of computer files a defendant possessed, not how many

         computers or hard drives he possessed. Vig, 167 F.3d at 446, 447, 447 n.6 (also

         determining that the pertinent definition of “contain” as used in the statute is “[t]o

         have as contents or constituent parts; comprise; include,” and citing Random House

         Webster’s Unabridged Dictionary 438 (2d ed. 1997)).

               Only one court has disagreed with all of these courts (and the government) that

         “other matter” in the old version of § 2252(a)(4) refers to computer files as opposed to

         the machine. In United States v. Lacy, the Ninth Circuit agreed with defendant that

         “the ‘matter’ is the physical medium that contains the visual depiction – in this case,

         the hard drive of Lacy’s computer and the disks found in his apartment.” Lacy, 119

         F.3d 742, 748 (9th Cir. 1997). Thus, the court vacated convictions because the jury

         had not been instructed that they must find that defendant knew files containing

         child pornography images remained on his hard drive, where the defendant had

         admitted to downloading the files, but claimed not to know they remained on the

         drives at the time the government charged he possessed them. Id.




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                But this decision predated the same circuit’s decision in Fellows, 157 F.3d

         1197, and the many decisions noted above. Moreover, multiple courts have called its

         weight into question, including the Fourth Circuit. See Michalec, 176 F.2d at *1.

         III.   The holdings and logic reflected in these decisions support Mr.
                McDonald’s conclusion that hard drives are not “other matter” as that
                phrase is used in 18 U.S.C. § 2253(a)(1).
                In sum, phrasing very similar to the key phrase in 18 U.S.C. § 2253(a)(1),

         calling forfeiture of visual depictions of child pornography and “any book, magazine,

         periodical, film, videotape, or other matter which contains any such visual depiction”

         (emphasis added), appeared in very related provisions of law and the guidelines,

         U.S.S.G. § 2G2.4(b)(2), and 18 U.S.C. § 2252(a)(4). The government itself argued that

         the general term at the end of the list in these provisions (“other items” in U.S.S.G. §

         2G2.4(b)(2), and “other matter” in § 2252(a)(4)), referred not to hard drives or other

         physical containers or media, but rather to computer files. Courts have almost

         uniformly agreed. Moreover, they have done so based on an approach similar to that

         employed by Mr. McDonald.

                Specifically, the reasoning in Fellows and the cases that follow its lead reflect

         the principle that one cannot begin to interpret the very general phrase “other

         matters [items] that contain visual depictions” in these provisions without

         considering the very specific terms that precede it, and how they cabin the more

         general terms. As Mr. McDonald has argued, the court must determine both what

         unifies the specific terms in the list, and what distinguishes them all from other items




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         / matters / objects / things that might qualify as “other matters” viewed at its most

         general. ECF No. 57 at 21-24.

               Mr. McDonald has proposed that the defining characteristic of all of the specific

         terms before “other matter” in § 2253(a)(1) (that is, books, magazines, periodicals,

         films, and videotapes) is that child pornography found in these matters cannot be

         segregated from them without destroying them. Id. The conclusion that computer

         files would fall within “other matter,” whereas hard drives would not, flows neatly

         from this reading of the terms in the list.

               Review of the cases above has also highlights that the specific items / matters

         in the recurring list all can “contain” child pornography in the sense that they can

         “consist wholly or in part: comprise; include” child pornography, as opposed to merely

         “hold” the child pornography in a physical sense, as other items / matters might. See

         Vig, 167 F.3d at 447 n.6. 5 Put another way, as the government put it in their brief

         before the Third Circuit in Mittermayr, the specific items / matters in the list are all

         media for the communication of child pornography, not just “mere storage device[s][.]”

         See Answering Brief for Appellee, United States of America, United States v.

         Mittermayr, Case No. 99-5773, 2000 WL 344447733. And they are all “discrete

         containers for visual depictions capable of being separately manipulated and

         distributed.” Fellows, 157 F.3d at 1201; see also Demerritt, 196 F.3d at 141 (same);



               5 See also United States v. Dauray, 215 F.2d 257, 260 (2d Cir. 2000) (discussing
         two definitions of “to contain” in the course of applying rule of lenity to vacate
         conviction of defendant pursuant to § 2254(a)(4) after concluding terms were
         ambiguous as to whether “other matter” included loose paper images).



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         Harper, 218 F.3d at 1287 (stating that items that count for the guideline are

         “separately acquirable, accessible, and distributable”).

               All of these observations are consistent: Every specific matter / item on the list

         is a capable of being comprised in whole or in part of child pornography. As a result,

         they are all media for the communication of child pornography. Although they may

         need something else to be viewable (like a videotape player or hard drive), these items

         / matters comprise the “content,” which can be segregated from any larger containers

         (a library, a box of videotapes, a hard drive), and separately accessed, possessed, and

         transferred. Further, they cannot be subdivided without materially altering them:

         one cannot rip a page from a book or an image from a computer file without changing

         the content, and thus changing the item or matter itself. That is, not only may a

         person acquire, access, or distribute these items / matters, as the courts above noted,

         but if a person does choose to access, acquire, or distribute these items / matters, the

         child pornography will necessarily travel with the items / matters.

               None of this is true of many other items / matters / objects / things that take

         up space and function as storage containers: libraries, boxes of videotapes, file

         cabinets, or hard drives. Thus, whereas computer files are “other items” as that

         phrase appears in U.S.S.G. § 2G2.4(b)(2), and “other matters” as that phrase appears

         in 18 U.S.C. § 2252(a)(4) and § 2253(a)(1), hard drives are not.

                                            CONCLUSION
               For these reasons, those previously given, and such others as may be advanced

         at the upcoming hearing regarding forfeiture, Mr. McDonald respectfully renews his




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         request that the Court deny the government’s motion and instead enter the

         preliminary order of forfeiture proffered by the defense, ECF No. 57-1.

               Respectfully submitted on December 8, 2022.

                                                      STUART CLAY MCDONALD
                                                      by counsel:

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            1                       UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
            2                            ALEXANDRIA DIVISION
            3

            4   UNITED STATES OF AMERICA       )
                                               )
            5                                  )
                     VS.                       ) 1:22-CR-51 CMH
            6                                  )
                                               ) ALEXANDRIA, VIRGINIA
            7                                  )   JANUARY 20, 2023
                                               )
            8   STUART CLAY MCDONALD           )
                _______________________________)
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                _______________________________________________________________
           14
                                 TRANSCRIPT OF FORFEITURE HEARING
           15                  BEFORE THE HONORABLE CLAUDE M. HILTON
                                   UNITED STATES DISTRICT JUDGE
           16   _______________________________________________________________
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           24   Proceedings reported by stenotype, transcript produced by
           25   Julie A. Goodwin.


                                                                 Julie A. Goodwin, CSR, RPR

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            1   (JANUARY 20, 2023, 10:08 A.M., OPEN COURT.)
            2               THE COURTROOM DEPUTY:        Criminal Number 2022-51, United
            3   States of America versus Stuart Clay McDonald.
            4               MR. ZANOBINI:   Good morning, Your Honor.         Annie
            5   Zanobini and Patricia Haynes on behalf of the United States.
            6               THE COURT:   All right.      Good morning.
            7               MS. RIGBY:   Good morning, Your Honor.         Ann Mason Rigby
            8   on behalf of Mr. McDonald.       And Your Honor has excused Mr.
            9   McDonald's presence in light of his waiver, his right to be
           10   present.
           11               THE COURT:   Very well.
           12                 And you-all have been able to agree on this?
           13               MR. ZANOBINI:   Your Honor, we have been able to agree
           14   on the restitution order, which I, with the assistance of the
           15   Court Security Officer, can hand up to Your Honor.             But, no, we
           16   have not been able to agree as to the forfeiture.
           17               THE COURT:   All right.      Is there anything you want to
           18   tell me?
           19               MR. ZANOBINI:   Yes, Your Honor.
           20                 The government is prepared to offer evidence from
           21   the special agent regarding the burden of separating the --
           22               THE COURT:   You can take your mask off when you're
           23   speaking.
           24               MR. ZANOBINI:   Yes, Your Honor.        I apologize.
           25                 Your Honor, the government is prepared to offer


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            1   evidence from a special agent regarding the burden of
            2   separating the contraband and noncontraband data.            If Your
            3   Honor doesn't think that's necessary, the government can offer
            4   argument regarding the issue in front of the Court whether
            5   Title 18, United States Code, Section 2253 requires the
            6   forfeiture of the hard drive at issue in its entirety, or the
            7   government can simply answer any questions the Court may have
            8   as the United States has laid out its position in detail in its
            9   brief.
           10                  So the government would ask the Court how you would
           11   like us to proceed.
           12              THE COURT:   Well, why don't you tell me whatever you
           13   want to tell me, what I should do.
           14              MR. ZANOBINI:    Well, Your Honor, the government
           15   believes that you should enter the United States' proposed
           16   preliminary order of forfeiture.         As defense here does not
           17   dispute that the nexus -- that there's a nexus between the hard
           18   drive and the offense of conviction, so the government would
           19   say that the hard drive is subject to forfeiture pursuant to
           20   Title 18, United States Code, Section 2253.
           21                  And as the device contains child pornography, and
           22   it was used to commit count three, for which the defendant was
           23   convicted, so the question the government would say is facing
           24   the Court is the same question faced by Judge Ellis in the
           25   Sanders case, which is whether Section 2253 requires the


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            1   forfeiture of the device in its entirety.          And the answer to
            2   that question is yes.
            3                 In addition, the government notes the difficulty in
            4   separating the noncontraband and contraband files will place an
            5   undue burden on the government.
            6                 Now, the United States doesn't believe the defense
            7   disputes the burden, but if it would help the Court in
            8   making -- if it would help the Court, the government is willing
            9   and able to put on evidence regarding the burden that it would
           10   take to separate the contraband and noncontraband evidence in
           11   this case.    But if the Court just simply thinks that we should
           12   address, you know, the statutory interpretation argument, I'm
           13   prepared to do that as well.
           14             THE COURT:    All right.      Let's hear what the other side
           15   has to say.
           16             MS. RIGBY:    Your Honor, the government is correct that
           17   the defense does not dispute that there is a nexus between the
           18   hard drive and the offense in question, but that entirely
           19   evades the issue here.
           20                 The issue is not whether the hard drive was
           21   property used, as 2253(a)(3) requires.         The issue is whether
           22   the files on the hard drive that are not child pornography were
           23   used to commit the offense.      The answer is they were not and,
           24   therefore, they are not forfeitable.
           25                 The government says the property -- the device was


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            1   used to commit the offense.       Yes, that is correct.       The device
            2   was used.
            3               THE COURT:   Well, doesn't that end the inquiry?
            4               MS. RIGBY:   It doesn't, Your Honor, because the
            5   question before the Court, I would say, is -- turning to
            6   2253(a), which the government is relying on this morning
            7   principally -- excuse me, (a)(3), which is the provision that
            8   provides that property used to commit the offense is
            9   forfeitable.
           10                 The question before the Court is --
           11               THE COURT:   Well, that was the hard drive.        The hard
           12   drive was used to obtain the pornography.
           13               MS. RIGBY:   You're right, Your Honor.        And we do not
           14   dispute that the hard drive should be forfeited.           The question
           15   is whether everything on the hard drive should be forfeited.
           16   The question before the Court is what is the property.
           17                 We have cited to the Court a slew of cases
           18   beginning with cases from the Fourth Circuit that show that the
           19   Court is -- must first determine what is the property.             And in
           20   every case, starting with cases in the Fourth Circuit, the
           21   Courts say, you have to define what is the property, and to do
           22   that you have to look --
           23               THE COURT:   That's why I asked you the last
           24   question --
           25               MS. RIGBY:   Yes.


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            1               THE COURT:   -- that I asked.      And I'll ask it again.
            2   Did you define the property?        The hard drive was used to obtain
            3   the pornography.
            4                  Now, that's what was used, regardless of what was
            5   on it.    It could have been blank; could have whatever.            But
            6   that's what was used.
            7               MS. RIGBY:   Yes, Your Honor.
            8               THE COURT:   They didn't use any of the particulars of
            9   what may or may not have been stored.
           10               MS. RIGBY:   Correct.
           11               THE COURT:   The hard drive was used.         And I'm
           12   wondering why that doesn't just simply end the inquiry.
           13               MS. RIGBY:   Because the hard drive is separate from
           14   the files on the hard drive.        You can take files -- you can put
           15   files on; you can take them off.         They are separate property.
           16                  The files we're talking about, the type of files
           17   that are usually on a hard drive, are property.
           18                  They may be MP3 files.      Those are music files.
           19   They belong to somebody else.        You purchase them; you put them
           20   on there.
           21                  They may be software files, like a WordPerfect
           22   program, which nobody has ever said in the last 15 years --
           23               THE COURT:   Okay.
           24               MS. RIGBY:   -- or a Word program.       You purchased that.
           25   That is a separate piece of property, and you put it on the


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            1   hard drive.        And --
            2               THE COURT:      Well, didn't that -- didn't he take the
            3   risk of losing that, when you put it on something that you're
            4   using to get involved in a criminal activity?
            5                  Why should the government have the burden to
            6   separate it out once you've used it to engage in criminal
            7   activity?
            8               MS. RIGBY:      So the Court's first question, did a
            9   person take the risk.         And the answer to that is no, because
           10   the law does not provide for forfeiture of everything in a
           11   container that is forfeitable.              So, no, the risk was not taken
           12   by Mr. McDonald in this case.
           13                  And in terms of the burden, Your Honor, the
           14   government has cited to the Court, as have I, numerous cases
           15   that say the burden is irrelevant.
           16                  The burden is absolutely irrelevant.             This is Mr.
           17   McDonald's property.        That is the starting proposition, and
           18   the -- the government absolutely may forfeit certain things.
           19   They may forfeit what Congress has said they may forfeit, and
           20   Congress has not said that Mr. McDonald forfeits everything
           21   within the hard drive because the hard drive begins and ends
           22   with the hardware that makes up the hard drive.
           23               THE COURT:      But the hard drive is hardly a container.
           24   It's not like seizing a container that they store a number of
           25   items.    Send to some -- search somebody's house for contraband


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            1   or other items of unlawful activity, and you start going
            2   through storage matters.          Here, he actually used the hard drive
            3   to commit the offense.
            4              MS. RIGBY:     The hard drive -- I would disagree with
            5   the Court.     The hard drive is a container.          It's a container of
            6   files.    In fact, the government argues that it's a container,
            7   and that's why they say (a)(1) applies.            We haven't gotten to
            8   that.    But there's no dispute from the government that a hard
            9   drive is a container.
           10                  Files are intangible.        We can't pick them up, but
           11   that doesn't mean we can't store them somewhere.             And the place
           12   we store them are on floppy disks, hard disks, hard drives,
           13   jump drives.       They are storage devices.
           14                  And the container itself, the hard drive was used.
           15   Don't dispute that.       You know, we -- we don't dispute that the
           16   hard drive itself was used.
           17                  But the Fourth Circuit and all of the cases
           18   following the Fourth Circuit in forfeiture context have said,
           19   The Court must first determine where does the property begin
           20   and where does it end.        And in -- in a case about land, that
           21   means sometimes the land that the defendant has been using as
           22   part of the same farm is not forfeitable, or not forfeit,
           23   excuse me, even if the land on the other side of the street is.
           24                  In the case of a tractor-trailer, I cited to the
           25   Court.    You know, the tractor was used to haul cigarettes.


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            1   Well, that doesn't mean the trailer was, so -- and because they
            2   can be separated, they can be sold separately sometimes, the
            3   Court has to decide.
            4                 What about in this case.        Right?      And in looking at
            5   the -- in those cases, the courts can look to instruments
            6   defining the sale.     And they determine where does the property
            7   begin and where does it end looking at that.
            8                 And here, the government hasn't given you anything
            9   and there are no receipts, but we know from common experience
           10   that when you buy a hard dive it comes empty.             It is an empty
           11   container waiting to be filled with other property.
           12                 And, Your Honor, that is why the -- the hard
           13   drive is -- excuse me.      The hard drive is property, but not
           14   everything on it is -- is property.
           15             THE COURT:    All right.       I understand your position.
           16                 You want to respond to that?
           17             MR. ZANOBINI:     Yes, just a couple -- yes, Your Honor,
           18   just briefly.
           19                 The government would agree with Your Honor, you
           20   know, in terms of the burden being on the government.             If every
           21   defendant in a child pornographer -- a child pornography case
           22   could force law enforcement agencies to engage in separating
           23   these files, it would be an enormous strain on their resource,
           24   especially when it was the defendant who chose to store
           25   contraband on the same media along with his noncontraband data.


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            1   Something he could have avoided had he not commingled the data
            2   in the first place.
            3                 And the government would state here that the
            4   statute at issue, 2253, is not ambiguous.           It clearly requires
            5   the forfeiture of the device in its entirety, both because it's
            6   the other matter which contains a visual depiction.            Right?
            7                 The statute says in part that defendants convicted
            8   of an offense involving a visual depiction described in 2252
            9   shall forfeit any book, magazine, periodical, film, videotape
           10   or other matter which contains a visual depiction.            Thus, the
           11   language makes very clear that it's not just the visual
           12   depiction itself that is forfeitable.          Rather, the statute
           13   makes clear it includes the matter on which that image is
           14   stored.
           15                 In addition, as Your Honor has stated, the hard
           16   drive is also forfeitable as facilitating property, as property
           17   used in or involved in the offense under 2253(a)(3).
           18                 The cases the government cites, which directly
           19   interpret 2253, the forfeiture statute at issue here, are
           20   all -- all agree with that interpretation.
           21                 So, the -- the Court is not working with no case
           22   law on this issue.     There is limited case law.         But the case
           23   law on this issue has found that 2253 requires the forfeiture
           24   of the device in its entirety.
           25             THE COURT:    Well --


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            1               MS. RIGBY:   Your Honor, may I respond --
            2               THE COURT:   Yes.
            3               MS. RIGBY:   -- to just two of those points?
            4               THE COURT:   Yes.
            5               MS. RIGBY:   Well, potentially three, Your Honor, if
            6   the Court will allow me.
            7                 Sticking with (a)(3) for the moment, on -- on the
            8   burden issue again, even the government has acknowledged in its
            9   briefs that the burden to the government is irrelevant.               It
           10   absolutely is.    The question is, what does the statute provide
           11   for.
           12                 If -- if Congress someday decides that this is too
           13   much of a burden, it's for Congress to fix.           There is no
           14   evidence whatsoever that Congress contemplated the burden at
           15   all, and -- and the Court should not at all.              It is not
           16   relevant.    That is clear from the law.
           17                 The government notes that there are cases that
           18   agree with the government's position, or that support the
           19   government's position.      As we laid out in our brief, that is
           20   not precisely correct because none of those cases, for several
           21   reasons -- first of all, in none of those cases was -- was the
           22   posture the same.    In all of those cases, there had already
           23   been a preliminary order entered, and the defendant was seeking
           24   return on Rule 41 grounds which shifts the burden a little bit
           25   away from the government and toward the defense.


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            1                 Further, Your Honor, in none of those cases were
            2   any of the arguments we've raised raised with the Courts.
            3                 Further, all of those cases rely on the Hull case
            4   from the Eighth Circuit.       If I -- if I'm correct, it's the
            5   Eighth Circuit.   And the Hull case itself acknowledges that
            6   first the Court must establish what the property is.
            7                 Nobody -- nobody argued in those cases that the
            8   files on the hard drive were not part of the property.            And
            9   they certainly didn't raise in those cases the line of cases
           10   that we've raised before the Court, starting with the Fourth
           11   Circuit in Reynolds, that show the Court how to define the
           12   property.
           13                 I am unclear to what extent the government is
           14   relying on (a)(1) at this point, but -- but since they raised
           15   it, Your Honor, we absolutely disagree.         As the Court knows,
           16   that a hard drive constitutes an other matter as that phrase is
           17   used in 2253(a)(1).
           18                 The government cites no binding authority on either
           19   of those provisions, and particularly on (a)(1).          The
           20   government has absolutely refused to even tangle with the issue
           21   of whether other matter includes a hard drive, in light of all
           22   the law we cited to the Court which begins with the Supreme
           23   Court case of Yates, and did not respond at all to the
           24   supplement that we provided the Court showing that in other
           25   context right within Chapter 110, courts have determined that


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            1   other matter or other item, when that phrase follows the same
            2   phrase that appears in 2253, does not include hard drives, but
            3   rather refers to only items that contain child pornography,
            4   meaning that they are comprised of child pornography.
            5                 The Court is not -- excuse me.           The government
            6   hasn't responded to any of that, Your Honor.                I won't repeat
            7   every argument in our brief, unless the Court has questions on
            8   that.   I think it is absolutely clear that other matter does
            9   not refer to the hard drive.
           10             THE COURT:      All right.       Well, I agree with you.      I'm
           11   not worried about the -- or I don't think I should be worried
           12   about what burden would be put on the government to do one
           13   thing or another.      That has nothing to do with it.
           14                 But I do have to determine what property was used
           15   in the commission of this crime and subject to the forfeiture.
           16   And I find that this hard drive was used in the commission of
           17   this crime.       And I think it's entirely different than --
           18   certainly not on all fours, but partially now different pieces
           19   of real estate.      You go to the real estate that was used and
           20   forfeit it.
           21                 The tractor and the trailer is entirely different
           22   as I see it.
           23                 This hard drive was used to obtain the pornography
           24   and is therefore subject to forfeiture, and I would so find.
           25                 Now, this order of forfeiture, it's okay subject to


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            1   my ruling.    I mean, you don't have any objection to the order
            2   that the government presented?
            3              MS. RIGBY:   Other than that of --
            4              THE COURT:   Other than my ruling --
            5              MS. RIGBY:   Correct.
            6              THE COURT:   -- you don't have any problem with it.
            7              MS. RIGBY:   Correct, Your Honor.
            8              THE COURT:   Okay.   Then I'll go ahead and enter that a
            9   little later on in the morning along with this order of
           10   restitution.
           11              MS. RIGBY:   Well, Your Honor, I'm sorry.        May I
           12   clarify?
           13                 Is the Court's order that the --
           14              THE COURT SECURITY OFFICER:       Come to the podium.
           15              MS. RIGBY:   Thank you, sir.
           16                 Is the Court's order that the property is subject
           17   to forfeiture under 2253(a)(3)?
           18              THE COURT:   Yes, that's what the order says.         Isn't
           19   it?
           20              MS. RIGBY:   I want to clarify.       I think the order
           21   says --
           22              THE COURT:   I'll take a look --
           23              MS. RIGBY:   -- (a)(3) and (a)(1), and I would like the
           24   Court to specify.
           25              THE COURT:   I don't think I need to do that.         I'm


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            1   forfeiting the hard drive.
            2              MS. RIGBY:   Well, I can assure you, Your Honor, we're
            3   going to -- I know that we'll be appealing, and I think the
            4   order --
            5              THE COURT:   That's fine.      They'll -- you can sort it
            6   out there.
            7              MS. RIGBY:   Very well, Your Honor.
            8              MR. ZANOBINI:   Thank you, Your Honor.
            9              THE COURT:   All right.      Thank you.
           10                (PROCEEDINGS CONCLUDED AT 10:26 A.M.)
           11                                    -oOo-
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                                                                                        17

            1   UNITED STATES DISTRICT COURT        )
            2   EASTERN DISTRICT OF VIRGINIA        )
            3

            4                 I, JULIE A. GOODWIN, Official Court Reporter for
            5   the United States District Court, Eastern District of Virginia,
            6   do hereby certify that the foregoing is a correct transcript
            7   from the record of proceedings in the above matter, to the best
            8   of my ability.
            9                 I further certify that I am neither counsel for,
           10   related to, nor employed by any of the parties to the action in
           11   which this proceeding was taken, and further that I am not
           12   financially nor otherwise interested in the outcome of the
           13   action.
           14                 Certified to by me this 3RD day of FEBRUARY, 2023.
           15

           16

           17

           18                                     __/s/___________________________
                                                  JULIE A. GOODWIN, RPR
           19                                     Official U.S. Court Reporter
                                                  401 Courthouse Square
           20                                     Eighth Floor
                                                  Alexandria, Virginia 22314
           21

           22

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                              IN THE UNITED STATES DISTRICT COURT FOR HE
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                                      EASTERN DISTRICT OF VIRGINIA                               •         20       tG?l            it
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                                             Alexandria Division
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        UNITED STATES OF AMERICA                              )                     ~~-...,...Al.E'XAN.__D_,:R::c.:,:Vl~RG~IN~IA-'_'··'.J
                                                                                                                                            I,
                                                              )
                         v.                                   )
                                                              )       Criminal No. 1:22-cr-5 l
        STUART CLAY MCDONALD ,                                )
                                                              )
                         Defendant.                           )


                                  PRELIMINARY ORDER OF FORFEITURE

                  WHEREAS, on May 19, 2022, defendant Stuart Clay McDonald pied guilty to count one

        of the indictment alleging receipt of child pornography, in violation of 18 U.S.C. § 2252(a)(2),

        and count three of the indictment alleging possession of child pornography, in violation of 18

        U.S.C. § 2252(a)(4)(B);

                  AND WHEREAS, the Court's jurisdiction is founded upon 18 U.S.C. §§ 2253(a)(l) and

        (a)(3);

                  AND WHEREAS, on November 14, 2022, and pursuant to 18 U.S.C. § 2253, the United

        States filed a Motion for Preliminary Order of Forfeiture requesting the forfeiture of a Seagate

       hard drive, serial number NA0SHSFZ;

                  AND WHEREAS, the Court finds the government has established the requisite nexus

       between the property to be forfeited and the offenses of conviction as prescribed by Rule

       32.2(b)(1 )(A);

                  NOW, THEREFOR E, IT IS HEREBY ORDERED, ADJUDGED , AND DECREED

       THAT:

                  1.     The following property is forfeited to the United States pursuant to 18 U.S.C. §§

       2253(a)(l) and (a)(3):

                         (a) Seagate hard drive, SIN NA05H5FZ.

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               2.      The government is hereby authorized to seize and take exclusive custody and

        control of the forfeited asset, which is hereby forfeited in its entirety, including any hardware, as

        well as any software or data contained on it.

               3.      Upon the seizure of any property, the government shall, to the extent practicable,

        provide direct written notice to any persons known to have alleged an interest in the seized

        property, and shall publish notice of this order in accordance with Federal Rule of Criminal

        Procedure 32.2(b)(6).

               4.      Any person, other than the defendant, asserting any legal interest in the property

        may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,

        petition the Court for a hearing to adjudicate the validity of their alleged interest in the property.

               5.       Following the Court's disposition of all timely petitions filed, a final order of

        forfeiture shall be entered. If no third party files a timely petition, this order shall become the

        final order of forfeiture, as provided by Federal Rule of Criminal Procedure 32.2(c)(2), and the

        United States shall have clear title to the property, and shall dispose of the property in

        accordance with law.

               6.      Pursuant to Rule 32.2(b)(4)(B), this order of forfeiture shall be included in the

        Judgment imposed in this case.



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                                                        UNITED STATES DISTRICT JUDGE



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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

        UNITED STATES OF AMERICA                            )
                                                            )
              v.                                            )     Case No. 22-cr-51
                                                            )
        STUART CLAY MCDONALD                                )     Hon. Claude M. Hilton
                                                            )
                     Defendant.                             )

                                      NOTICE OF APPEAL

              The defendant in the above-styled case hereby notes his appeal to the United

        States Court of Appeals for the Fourth Circuit from the preliminary forfeiture order

        entered in this court on the 20th day of January, 2023 (ECF Doc. No. 64).

              Respectfully submitted on January 26, 2023.



                                        STUART CLAY MCDONALD
                                        by counsel:

                                        Geremy C. Kamens
                                        Federal Public Defender

                                       _________________s/_____________
                                       Ann Mason Rigby
                                       Assistant Federal Public Defender
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                                       1650 King Street, Suite 500
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